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                                                                     2021 Sep-15 PM 04:06
                                                                     U.S. DISTRICT COURT
                                                                         N.D. OF ALABAMA




                   EXHIBIT 61
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Adam Jones                                                                                                  12/7/2020
                                                   Page 1                                                      Page 2
            IN THE UNITED STATES DISTRICT COURT              1                 STIPULATION
        FOR THE NORTHERN DISTRICT OF ALABAMA                 2                 IT IS STIPULATED AND AGREED
                WESTERN DIVISION                             3       by and between the parties through their
                                                             4       respective counsel that the VIDEO AND ZOOM
      CASE NUMBER                                            5       DEPOSITION of ADAM JONES may be taken
      7:19-cv-00403-RDP                                      6       before Nancy W. Pannell, Certified
                                                             7       Shorthand Reporter and Notary Public,
      ADAM JONES and JOSHUA HASTINGS,                        8       State at Large, at the Birmingham
                Plaintiff(s),                                9       Reporting Tuscaloosa Office, WorkSouth
      vs.                                                   10       Tuscaloosa, 1409 Northbank Parkway, Suite
      BUZZFEED, INC., BUZZFEED NEWS, BEN SMITH,             11       200, Tuscaloosa, Alabama, on DECEMBER 7,
      and KATIE J. M. BAKER,                                12       2020, commencing at approximately 9:07
                Defendant(s).                               13       a m.
                                                            14                 IT IS FURTHER STIPULATED AND
      VIDEO AND ZOOM DEPOSITION TESTIMONY OF:               15       AGREED that the signature to and the
                  ADAM JONES                                16       reading of the deposition by the witness
                                                            17       IS waived, the deposition to have the same
      DECEMBER 7, 2020                                      18       force and effect as if full compliance had
      9:07 a.m.                                             19       been had with all laws and rules of Court
      COURT REPORTER:                                       20       relating to the taking of depositions.
      NANCY W. PANNELL, CCR                                 21                 IT IS FURTHER STIPULATED AND
      The reading and signing of this deposition            22       AGREED that it shall not be necessary for
      has been waived                                       23       any objections to be made by counsel to


                                                   Page 3                                                      Page 4
  1     any questions, except as to form or                  1                INDEX
  2     leading questions, and that counsel for              2
  3     the parties may make objections and assign           3       EXAMINATION BY:                PAGE NO.
  4     grounds at the time of trial or at the               4   MS. BOLGER                      10
  5     time said deposition is offered in                   5   CERTIFICATE                     392
  6     evidence, or prior thereto.                          6
  7                                                          7
  8                                                          8               INDEX OF EXHIBITS
  9                                                          9
 10                                                         10       PREVIOUSLY MARKED DEFENDANT'S EXHIBITS
 11                                                         11       REFERENCED AND ATTACHED TO DEPOSITION
 12                                                         12
 13                                                         13   2     Felony Packet          267
 14                                                         14   15 Timeline of Rondini Case,         253
 15                                                         15        1-23
 16                                                         16   16 SOP, Page 24-105             42
 17                                                         17   17 Tuscaloosa News Article           387
 18                                                         18   18 Grand Jury Report of M.         302
 19                                                         19        Rondini, Page 106-148
 20                                                         20   25 Email, Jones-Hastings 0187         339
 21                                                         21
 22                                                         22
 23                                                         23       DEFENDANT'S EXHIBITS:              PAGE NO.



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                                     Page 5                                           Page 6
  1   26 Adam Jones CV,               30        1          APPEARANCES
  2     Jones-Hastings 0452-0453                2
  3   27 IACP Sexual Assault           61       3   FOR THE PLAINTIFF(S):
  4     Incident Reports                        4     MR. BOBBY H. COCKRELL, JR.
  5     Investigative Strategies, 8             5     MR. G. SCOTCH RITCHEY, JR. (Part in
  6     pages                                   6     person and part zoom)
  7   28 Transcription of           83          7     COCKRELL, COCKRELL, TOWNSEND &
  8     Jones/Rondini conversation,             8     RITCHEY, LLP
  9     3 pages                                 9     1409 UNIVERSITY BOUELVARD
 10   29 Video Interview Transcript     158    10     TUSCALOOSA, ALABAMA 35401
 11     of Rondini, 71 pages                   11
 12   30 Video Interview Transcript     224    12   FOR THE DEFENDANT(S): (Via Zoom)
 13     of Rondini, 48 pages                   13     MS. KATHERINE M. BOLGER
 14   31 Email, Jones-Hastings 224      265    14     MS. KATHLEEN FARLEY
 15   32 Affidavit of Adam Jones, 5     307    15     DAVIS, WRIGHT, TREMAINE, LLP
 16     pages                                  16     1251 AVENUE OF THE AMERICAS
 17   33 Email chain, Jones-Hastings 317       17     21ST FLOOR
 18     0193-0204                              18     NEW YORK, NEW YORK 10020-1104
 19   34 Email, Buzzfeed01630          321     19
 20   35 Screen shots of Facebook      352     20     MR. JOHN G. "J. T." THOMPSON
 21     comments, Jones-Hastings               21     LIGHTFOOT FRANKLIN & WHITE
 22     0434-0441                              22     400 NORTH 20TH STREET
 23   36 Medical Records, 81 pages       378   23     THE CLARK BUILDING


                                     Page 7                                           Page 8
  1       BIRMINGHAM, ALABAMA 35203             1             I, Nancy W. Pannell, a
  2                                             2   Certified Shorthand Reporter of
  3    ALSO PRESENT:                            3   Birmingham, Alabama, and a Notary Public
  4      Josh Hastings                          4   for the State of Alabama at Large, acting
  5      Allen Eaves, videographer              5   as Commissioner, certify that on this
  6                                             6   date, pursuant to the Federal Rules of
  7                                             7   Civil Procedure and the foregoing
  8                                             8   stipulation of counsel, there came before
  9                                             9   me at the offices of Birmingham Reporting
 10                                            10   Tuscaloosa office, WorkSouth Tuscaloosa,
 11                                            11   1490 Northbank Parkway, Suite 200,
 12                                            12   Tuscaloosa, Alabama, commencing at
 13                                            13   approximately 9:07 a.m. on DECEMBER 7,
 14                                            14   2020, ADAM JONES, witness in the above
 15                                            15   cause, for oral examination, whereupon the
 16                                            16   following proceedings were had:
 17                                            17
 18                                            18
 19                                            19            VIDEOGRAPHER: We are now on
 20                                            20   the record. This is the video deposition
 21                                            21   of Adam Jones, Case Number
 22                                            22   7:19-cv-00403-RDP in the United States
 23                                            23   District Court for the Northern District


                                                                 2 (Pages 5 to 8)
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Adam Jones                                                                          12/7/2020
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  1   of Alabama, Western Division.                  1              MR. COCKRELL: Yes.
  2             Today's date is December the         2              MR. THOMPSON: Yes.
  3   7th, 2020. The time is 9:07 a m. Would         3              EXAMINATION
  4   counsel introduce yourself into the            4   BY MS. BOLGER:
  5   record, after which the court reporter         5   Q. Hi, Investigator Jones. My name
  6   will swear in the witness.                     6   is Kate Bolger, as I said, and I'm a
  7             MS. BOLGER: Good morning,            7   lawyer and I represent BuzzFeed. Have you
  8   everybody. Kate Bolger from Davis,             8   ever been deposed before?
  9   Wright, Tremaine on behalf of the              9   A. Yes, ma'am.
 10   defendants BuzzFeed, Katie Smith, and Ben     10   Q. In what circumstances have you
 11   Smith -- Katie Baker and Ben Smith.           11   been deposed?
 12             MR. THOMPSON: J. T.                 12   A. It was a deposition, I can't
 13   Thompson also here on behalf of the           13   remember who subpoenaed me for the
 14   defendants.                                   14   deposition. It was in regards to the Bunn
 15             MR. COCKRELL: Bob Cockrell          15   case and the Rondini lawsuit.
 16   for the plaintiffs.                           16   Q. And was that the only time you've
 17             MR. RITCHEY: Scotch Ritchey         17   been deposed?
 18   for the plaintiffs.                           18   A. Yes, ma'am.
 19             ADAM JONES,                         19   Q. Great. Well, just to refresh your
 20   being first duly sworn, was examined and      20   recollection, the way this process works
 21   testified as follows:                         21   is I ask some questions and you give me
 22             COURT REPORTER: Thank you.          22   some answers.
 23   Usual stipulations?                           23         I do tend to talk rather quickly.

                                      Page 11                                          Page 12
  1    I think Nancy must take long naps after       1   attorneys?
  2    she's done writing down a deposition for      2   A.     An hour couple of weeks ago in the
  3    me. If I talk too quickly, please just        3   office.
  4    tell me to slow down and I will promise to    4   Q.     Great. Did you review any
  5    try.                                          5   documents before you came here today?
  6         You and I should try not to talk         6   A.     I looked through the case file.
  7    over each other, so I'll let you finish       7   Q.     And when you say case file, do you
  8    talking, you let me finish talking and        8   mean the felony packet or something else?
  9    every answer you give me should be            9   A.     Yes, felony packet.
 10    audible, so in other words, don't shake      10   Q.     Did you read any of the
 11    your head or nod; just say yes or no. Are    11   transcripts of the depositions that have
 12    you with me so far?                          12   already taken place in this matter?
 13    A. Yes, ma'am.                               13   A.     No.
 14    Q. Great. Bob or Scotch may from             14   Q.     Have you spoken to Captain Hood
 15    time to time object to something I'm         15   about his deposition?
 16    saying. Unless they instruct you to          16   A.     No.
 17    answer -- instruct you not to answer, you    17   Q.     What about Captain Hart?
 18    can still answer the question, okay?         18   A.     No.
 19    A. Okay.                                     19   Q.     What about your wife?
 20    Q. Great. Did you do anything to             20   A.     We just talked about she was
 21    prepare for this deposition today?           21   nervous, and as far as the substance we
 22    A. Just spoke with the attorneys.            22   haven't talked about it.
 23    Q. How long did you speak with the           23   Q.     Okay, great. Do you have a social


                                                                    3 (Pages 9 to 12)
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Adam Jones                                                                          12/7/2020
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  1    media account?                                1   around Samantha.
  2    A. No.                                        2   Q. Okay. And your father was a
  3    Q. Accounts?                                  3   pastor; correct?
  4    A. No.                                        4   A. Yes, ma'am.
  5    Q. So you don't have a Twitter                5   Q. What was the name of his church?
  6    handle?                                       6   A. Phillips Chapel Freewill Baptist
  7    A. No, ma'am.                                 7   Church.
  8    Q. Or a Facebook page?                        8   Q. And is he still a pastor there?
  9    A. No.                                        9   A. He is, yes, ma'am.
 10    Q. Or an Instagram account or                10   Q. How long has he been the pastor
 11    anything like that?                          11   there?
 12    A. No, ma'am.                                12   A. I believe it was 1982 so he's been
 13    Q. When were you born?                       13   there several years.
 14    A.                      .                    14   Q. That's a really long time. That's
 15    Q. And where were you born?                  15   amazing. How big is that congregation?
 16    A. Tuscaloosa County.                        16   A. It's a small country church. I
 17    Q. And have you lived in Tuscaloosa          17   would probably say less than 50 on Sunday
 18    County your whole life?                      18   morning.
 19    A. Yes, ma'am.                               19   Q. And does your mom work outside the
 20    Q. Where did you grow up                     20   home?
 21    specifically?                                21   A. She's retired.
 22    A. North Tuscaloosa County. They             22   Q. What did she do before she
 23    call it the McConnells community, but it's   23   retired?

                                      Page 15                                           Page 16
  1    A. She was an x-ray technician for            1   Q. Your wife's name is Nicole?
  2    the University Medical Center and she's       2   A. Yes.
  3    been retired about five or six years now.     3   Q. And how long have guys been
  4    Q. Okay. Did you have any -- do you           4   married?
  5    have any brothers or sisters?                 5   A. 22 years.
  6    A. I have a brother.                          6   Q. You got married young. Do you
  7    Q. What's your brother's name?                7   guys have any children?
  8    A. Paul.                                      8   A. Two children.
  9    Q. Does Mr. Jones live in Tuscaloosa          9   Q. And how old are your kids?
 10    County?                                      10   A. My daughter is 21 and my son is
 11    A. He does.                                  11   17.
 12    Q. And are you guys -- do you live           12   Q. What's your daughter's name?
 13    close to each other?                         13   A. Mackenzie.
 14    A. He actually lives next door to my         14   Q. And where does Mackenzie live?
 15    parents so we're about 15 minutes apart.     15   A. She lives just down the road from
 16    Q. And what does your brother do?            16   me, probably a couple hundred yards from
 17    A. He currently works for the                17   us.
 18    probation and paroles office, state of       18   Q. I like your strategy of keeping
 19    Alabama.                                     19   your kids close. What's your boy's name?
 20    Q. Are you guys close?                       20   A. Cody.
 21    A. We are.                                   21   Q. You said Cody is 17?
 22    Q. And you are married; right?               22   A. Yes, ma'am.
 23    A. Yes, ma'am.                               23   Q. And I assume he lives with you?


                                                                  4 (Pages 13 to 16)
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Adam Jones                                                                           12/7/2020
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  1    A. He does.                                   1   Q. Other than the house you live in,
  2    Q. Where does he go to school?                2   do you own any other properties?
  3    A. Tuscaloosa County High.                    3   A. No.
  4    Q. And how long have you lived in             4   Q. I think I know the answer to this
  5    your house?                                   5   question, but I'm going to ask it any way,
  6    A. We built it in October -- I'm              6   have you ever been arrested?
  7    sorry, we moved in September of 2005 so       7   A. No.
  8    15 years.                                     8   Q. Neither have I.
  9    Q. And what's your address?                   9        Have you ever been sued by
 10    A.                                   ,       10   anybody?
 11                    .                            11   A. Just by the Rondini family.
 12    Q. Is Coker a small town?                    12   Q. And can you tell me what that
 13    A. It is. It's -- there's several            13   lawsuit was about?
 14    communities, I guess you could say, Buhl,    14   A. It was a wrongful death suit.
 15    Elrod, Coker. They're all a part of          15   Q. And it was by Michael and Cindy
 16    Tuscaloosa County.                           16   Rondini?
 17    Q. And before you lived in your house        17   A. Yes, ma'am.
 18    that you moved into in September of 2005,    18   Q. And how was that resolved, at
 19    where did you live?                          19   least when it comes to you?
 20    A. I lived at                       in       20   A. Best I understand it, the judge
 21    Northport.                                   21   dismissed it.
 22    Q. How long were you there?                  22   Q. Do you understand why the judge
 23    A. I believe it was four years.              23   dismissed it?

                                      Page 19                                           Page 20
  1    A. I don't -- I don't remember                1   A.     Yes, ma'am.
  2    exactly.                                      2   Q.     Why did Mr. Dillard represent Josh
  3    Q. Did the judge reach a decision --          3   and not you, if you know?
  4    when it came to you, did the judge reach a    4   A.     Well, we work for two separate
  5    decision on whether the claim had merit or    5   entities. Josh Hastings works for the
  6    not or was it based on the fact that, for     6   sheriff's office. I worked for the city
  7    example, you were immune from liability?      7   of Tuscaloosa.
  8    A. I don't think it was immunity.             8   Q. And that's because the makeup of
  9    I'm not sure. I don't remember.               9   what was once the Violent Crimes Unit --
 10    Q. Okay. Who was your lawyer in that         10   sorry, what was once the Homicide Unit is
 11    case?                                        11   now the Violent Crimes Unit, is it was a
 12    A. I was represented by Chris                12   task force made up of law enforcement
 13    McIlwain, city of Tuscaloosa.                13   officers from different agencies; correct?
 14    Q. So you didn't have to hire a              14   A.     Yes, ma'am.
 15    private lawyer; the city hired a lawyer?     15   Q.     You were a part of that task force
 16    A. Yes, ma'am.                               16   as an officer in the Tuscaloosa Police
 17    Q. Was Mr. Joel Dillard involved in          17   Department; correct?
 18    the defense of that action?                  18   A.     Yes, ma'am.
 19    A. He represented Josh, the                  19   Q.     And Josh Hastings was an officer
 20    sheriff -- the sheriff's office. He          20   in the Tuscaloosa Sheriff's Office;
 21    represented the sheriff's office.            21   correct?
 22    Q. When you say he represented Josh,         22   A.     Yes, ma'am.
 23    you mean Josh Hastings; right?               23   Q.     Have you ever sued anybody other


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Adam Jones                                                                          12/7/2020
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  1   than BuzzFeed?                                1   Q. Kind of a nice story. So you guys
  2   A. No, ma'am.                                 2   didn't go to high school together?
  3   Q. Do you and your family belong to a         3   A. Right.
  4   church?                                       4   Q. And are you -- do you attend
  5   A. Yes.                                       5   church on the weekends?
  6   Q. What church is that?                       6   A. I don't.
  7   A. Well, I actually still belong to           7   Q. So I take it then you're not
  8   my dad's church. We go to, or we went to      8   actively involved in any groups at church?
  9   Northport Baptist Church. As far as a         9   A. No, ma'am.
 10   membership, I'm a member at my dad's         10   Q. Would you say you're actively or
 11   church. My wife is actually a member of      11   are you involved in any community groups?
 12   her church where she grew up in. We just     12   A. No, ma'am.
 13   never moved a membership to a church         13   Q. You don't belong to any kind of
 14   together.                                    14   club?
 15   Q. And what is your wife's church?           15   A. No.
 16   A. Five Points Baptist.                      16   Q. Is there a Fraternal Order of
 17   Q. Is your wife also a Tuscaloosa            17   Police in Alabama?
 18   neighborhood -- sorry, Tuscaloosa native?    18   A. It is.
 19   A. Yes, ma'am.                               19   Q. Have you ever belonged to the
 20   Q. Where did you guys meet?                  20   Fraternal Order of Police?
 21   A. She actually worked with my mother        21   A. Yes, ma'am.
 22   at University Medical Center and my mother   22   Q. When were you part of that
 23   introduced us.                               23   organization?

                                     Page 23                                           Page 24
  1    A. While I was an active police              1   as strict as most people.
  2    officer.                                     2   Q. That's all right. I'm a Yankees
  3    Q. Did that involve going to meetings        3   fan. I know that's a tough thing to say,
  4    of any kind or is it just a membership       4   but I just figured I should mention my
  5    card?                                        5   loyalties.
  6    A. It's really just a membership             6        And where do you currently work?
  7    card. They do have meetings, but I didn't    7   A. Work for the University of
  8    ever attend any meetings.                    8   Alabama.
  9    Q. When was the last time you and            9   Q. What job do you have there?
 10    your family went to church?                 10   A. I work in environmental health and
 11    A. I guess it would have been Easter        11   safety. I'm a health -- environmental
 12    of this year. We went to my dad's church.   12   hazard technician.
 13    Q. Do you play any sports?                  13   Q. Can you tell me what that means
 14    A. I used to; don't anymore.                14   you do?
 15    Q. What did you used to play?               15   A. We inspect the buildings for fire
 16    A. I played football, baseball and          16   and life safety, you know, make sure the
 17    basketball in high school.                  17   fire alarms are working and up to date.
 18    Q. And how about as a grown man, for        18   The smoke detectors are working and up to
 19    lack of a better term?                      19   date. They have batteries. Fire
 20    A. I played softball, church softball       20   extinguishers are charged. You know, exit
 21    for it's probably been 15 years ago.        21   routes are open and exit doors are
 22    Q. What's your baseball team?               22   accessible to make sure everybody can get
 23    A. The Braves. I don't follow them          23   out of a building just in case of an


                                                                 6 (Pages 21 to 24)
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Adam Jones                                                                           12/7/2020
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  1    emergency.                                    1   this position, and I'm thankful for it,
  2    Q. And how long have you worked               2   but that was really -- it was just a
  3    there?                                        3   decision that me and my wife made.
  4    A. February 3rd, 2020, was when I             4   Q. When you said you hit your 20-year
  5    started.                                      5   mark, does that mean that you left your
  6    Q. So it's a pretty new job?                  6   pension vested?
  7    A. Yes, ma'am.                                7   A. Yes, ma'am. The city of
  8    Q. The world kind of fell apart               8   Tuscaloosa had a private pension. It's
  9    shortly after you took the job; right?        9   not state-based or anything and there is a
 10    A. That's right.                             10   20-year, that's the minimum amount of time
 11    Q. Have your responsibilities changed        11   that you can work to draw a pension
 12    as a result of the current pandemic?         12   benefit.
 13    A. We actually go into some of these         13   Q. And in New York City I have a lot
 14    spaces in these buildings where there have   14   of friends who are police officers. I
 15    been some active COVID cases and spray       15   know their pension is essentially their
 16    disinfectant. It's more of a commercial      16   salary for a set period of time. Is that
 17    grade disinfectant to try to limit           17   the same for the Tuscaloosa Police
 18    exposure to other people.                    18   Department?
 19    Q. And what made you decide to take          19   A. It's actually for my life, and as
 20    that particular job?                         20   long as my wife is alive and doesn't
 21    A. I got my 20-year mark at the city,        21   re-marry she will get the benefit.
 22    you know, I felt like it was just -- it      22   Q. You said that -- so you get your
 23    was time to move on and I was able to get    23   full Tuscaloosa Police Department salary,

                                      Page 27                                           Page 28
  1   plus your salary at the University of          1   A. Yes, ma'am.
  2   Alabama; right?                                2   Q. Why is that?
  3   A.     It's not a full pension. It's           3   A. I just felt like my effectiveness
  4   hard to explain. It's a percentage -- a        4   as a police officer was compromised and
  5   full pension at the city is -- I forget        5   that's why we decided to do that.
  6   the dollar amount, but to get a full           6   Q. Can you explain that a little more
  7   pension would be working 25 years.             7   to me please?
  8        That's like the standard that, you        8   A. Well, you know, while you're
  9   know, is there. You can work over 25.          9   working, you know, you build relationships
 10   You know, you can work as long as you want    10   with the community, you know, and in turn
 11   to. Most people they have a drop program      11   as crimes happen, you know, a lot of the
 12   or drop plan.                                 12   time you have to go to the community to
 13        Once you pass your 25-year mark          13   get help, you know, because you couldn't
 14   you can sign up for this drop plan, and       14   do it without the help of a community.
 15   the money that would normally come out of     15         You know, it's all of us trying to
 16   my check to go into a pension fund would      16   make the place better, and, you know, ever
 17   go into like an annuity and I could work      17   since this article came out, I know the
 18   in that capacity for up to five years, and    18   guys that I work with in homicide they
 19   then at the end of that five years they       19   stand behind our work and I stand behind
 20   would, you know, hand me everything that      20   my work 100 percent, but, you know, when
 21   was in that annuity and then I would draw     21   you get calls that question your integrity
 22   a monthly pension benefit also.               22   and, you know, they want you put in jail
 23   Q.     But you chose not to do that?          23   for something that I didn't do, you know,


                                                                  7 (Pages 25 to 28)
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Adam Jones                                                                           12/7/2020
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  1    it's -- you know, it's just hard to carry     1   Q. Okay. How long had you worked --
  2    out the duties of an officer if you've        2   sorry, what year did you first come to the
  3    lost the trust of the people that you're      3   Tuscaloosa Police Department?
  4    supposed to help protect and serve.           4   A. June 21st, 1999.
  5          And I've never had an issue with        5   Q. And you were in the patrol
  6    that. I've never had disciplinary issues.     6   division; right?
  7    I've always respected authority within the    7   A. Yes, ma'am.
  8    police department. You know, it's just I      8             MS. BOLGER: J. T, can you
  9    felt like my credibility and my               9   hand Investigator Jones it's Jones 4552?
 10    effectiveness as an officer was gone, you    10   Hold on, I didn't write down what document
 11    know, ever since that article.               11   that was. Sorry. It's AM.
 12          You know, I just -- it questioned      12             MR. THOMPSON: Yeah.
 13    my name and, you know, that's just           13             MS. BOLGER: Thanks. Nancy,
 14    something that it's hard to get back. I      14   I think we're at 26.
 15    mean you have a lifetime to build trust      15        (Whereupon, a document was marked
 16    and, you know, it can be taken away in a     16        as Defendant's Exhibit No. 26 and
 17    second, you know, and I just -- I felt       17        is attached to the original
 18    like my trust was lost, not on anything I    18        transcript.)
 19    did, but it was the way that the article     19             (Off the record.)
 20    was worded that, you know, basically         20             MS. BOLGER: So just for the
 21    saying that I'm for sale, you know. My       21   record, I'm handing -- asking J. T. to
 22    name has never been for sale, never will     22   hand the witness document produced by
 23    be for sale.                                 23   Jones and Hastings and we gave the number

                                      Page 31                                           Page 32
  1   Jones-Hastings 452, and it's a résumé with     1   know whether you did it showing your
  2   the name Adam Jones on top.                    2   experience in relation to this, or you
  3   Q. And my first question,                      3   used words to that effect. What did you
  4   Investigator, Jones is quite simple. Have      4   mean by that?
  5   you seen this before?                          5   A. This lawsuit.
  6   A. Yes, ma'am.                                 6   Q. This lawsuit, the lawsuit against
  7   Q. And what is this?                           7   BuzzFeed rather than the lawsuit brought
  8   A. It does look like a résumé.                 8   by the Rondini family?
  9   Q. Did you put this together?                  9   A. Yes, yes.
 10   A. Yes.                                       10   Q. Okay. So if you take a look at
 11   Q. When did you do that?                      11   the patrol division, what were your job
 12   A. I don't remember. It's -- I don't          12   responsibilities in the patrol division?
 13   remember the date or year that I -- it        13   A. Just answer calls for service as
 14   would have probably been a couple of years    14   they would come in, you know, citizens
 15   ago.                                          15   would call, you know, whatever complaint
 16   Q. Do you remember what occasioned            16   they had. We would go to the scene, take
 17   you to put it together?                       17   a report. You know, if anybody had to go
 18   A. I don't know if this was when I            18   to jail, took them to jail -- we took them
 19   was, you know, just showing my experience     19   to jail.
 20   and everything on behalf of this or if        20        You know. It was various calls.
 21   this was an actual résumé that I used for     21   It was, you know, it ranged anything from
 22   a job. I don't remember.                      22   an animal call to a shooting, you know.
 23   Q. Okay. You just said you don't              23   Q. And did you as a patrol officer


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  1    did you do the initial offense report?        1   A. Yes.
  2    A. Yes.                                       2   Q. What is a special inquiry?
  3    Q. And were you involved in any type          3   A. It was any crime that -- well, I
  4    of rape investigations or any type of that    4   say any crime. It was any call that may
  5    police work while you were in the patrol      5   have not met the elements of a specific
  6    division?                                     6   crime but it warranted an investigation.
  7    A. I don't remember anything                  7         You know, like a special inquiry
  8    specifically. I know that I have taken        8   sexual assault, special inquiry, burglary.
  9    rape reports while I was in patrol.           9   It could be various things, but it was,
 10    Q. And that was the initial report,          10   you know, the officer could see that, you
 11    you didn't do the investigating; correct?    11   know, a further investigation needed to be
 12    A. Yes, ma'am.                               12   done, but the elements of the crime was
 13    Q. One of the complexities of taking         13   not met to actually call it a burglary,
 14    a Zoom deposition is knowing how to look     14   whatever the crime may be.
 15    you in the eye, so if I look like I'm not    15   Q. Okay. Did you while you were
 16    looking you in the eye I apologize, I am     16   patrol officer ever designate an
 17    trying to but I can't figure out where it    17   investigation as a special inquiry?
 18    is, so I apologize in advance if you think   18   A. I'm sure I have. I don't remember
 19    I'm being shifty with my eyes.               19   any specifically.
 20    A. Okay.                                     20   Q. Do you remember any type of rape
 21    Q. Do you know, did the Tuscaloosa           21   or sex investigation that you designated
 22    Police Department use the phrase "special    22   as a special inquiry as a patrol officer?
 23    inquiry"?                                    23   A. I don't remember.

                                      Page 35                                           Page 36
  1    Q. So it says on your résumé that you         1   ask a supervisor before you designated
  2    were in the patrol division from 1999 to      2   something as a special inquiry?
  3    2005 and then you transferred to the          3   A. Maybe as a younger officer I may
  4    Criminal Investigations Division; correct?    4   have, but, you know, the more experience
  5    A. Yes, ma'am.                                5   you get, you know, if you're not riding
  6    Q. And what is the Criminal                   6   with a training officer, if you're the
  7    Investigations Division?                      7   more veteran I guess you could say
  8    A. It investigated robberies,                 8   officer, you realized the elements of a
  9    financial crimes, burglaries, thefts, any     9   crime that need to be met before you can
 10    miscellaneous investigation other than a     10   label it that crime, and I don't
 11    serious crime, or violent crime I should     11   specifically remember asking a supervisor
 12    say. That pretty much covered it.            12   should I label this special inquiry.
 13    Q. Were you involved in any rape             13   Q. Okay. Then in 2014 -- sorry,
 14    investigations while working for the         14   2009, you transferred to the traffic
 15    financial -- I'm sorry, in the Criminal      15   division; right?
 16    Investigations Division?                     16   A. Yes, ma'am.
 17    A. No, ma'am.                                17   Q. Why did you do that?
 18             MS. BOLGER: I'm just going          18   A. It was just -- it was a division
 19    to close my blinds so I don't go blind.      19   that I had interest in. There happened to
 20    Hold on, sorry about that. Very sunny in     20   be an opening and I applied for it and was
 21    New York today.                              21   given the opportunity.
 22    Q. Okay. Did you -- well, you were           22   Q. Why was it interesting to you?
 23    in the patrol division. Did you have to      23   A. You ride a motorcycle, get to ride


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Adam Jones                                                                           12/7/2020
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  1    a Harley Davidson all day long, so you do     1   A. Yes.
  2    traffic accidents. You know, writing          2   Q. And what month did you transfer?
  3    tickets, I was never huge on writing          3   A. I believe it was January of 2014.
  4    tickets. You know, they would always say      4   Q. So it was January of 2014?
  5    something you need to write more tickets      5   A. Yes, ma'am, I believe so.
  6    but, you know, it was just one of those       6   Q. And why did you transfer there?
  7    things that it's part of the job, you knew    7   A. Homicide is where -- ever since I
  8    you had to do it, but didn't really enjoy     8   was I think my second year at the police
  9    it.                                           9   department I had -- there was an opening
 10    Q. You're probably even too young for        10   in Homicide and I applied for it.
 11    Chips but that's what I think of when I      11        I knew I wasn't going to get it,
 12    think of motorcycles --                      12   but I wanted to show that I was interested
 13    A. I've seen it.                             13   in going, and, you know, as opening came
 14    Q. Okay. And while you were in the           14   up through out those years during my
 15    traffic division were you involved in any    15   20-year -- or I'm sorry, up to that point
 16    type of rape investigation?                  16   it was 14 years, but I had applied for the
 17    A. No, ma'am.                                17   openings in Homicide and, you know, it was
 18    Q. And you were in the traffic               18   always more experienced or more senior
 19    division for five years; right?              19   officers that were given that opportunity.
 20    A. Yes, ma'am.                               20        And then when that opening came
 21    Q. And in 2014 you transferred to            21   up, I believe it was late 2013, I applied
 22    what was then called the Tuscaloosa          22   for it and was given that opportunity.
 23    Homicide Unit; correct?                      23   Q. Okay. And what were your

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  1    responsibilities as an investigator in the    1   got to go to a couple of those. It was
  2    Violent Crimes Unit or Homicide Unit?         2   based out of Meridian, Mississippi is the
  3    A. We would as the cases were                 3   one I remember in particular because it
  4    assigned to us, the initial incident          4   was about a week long school.
  5    offense reports that were taken by            5        Several speakers I guess you could
  6    officers, they would come into our office     6   say or teachers would come to the police
  7    and we would be assigned those cases.         7   department and they would allow some slots
  8         Any active cases, you know, any          8   for the Tuscaloosa Police Department to
  9    major crime that we were called out on, a     9   have people go, and there again, it was
 10    shooting, rape, you know, robberies with a   10   like, you know, you would request to go.
 11    shooting, any kind of violent crime, we      11   If there were people that were more senior
 12    were called out to process the scenes,       12   than you, you know, they may get the nod
 13    collect evidence, take photos, video, make   13   to go instead of you, but I had some
 14    contact with suspects, victims, witnesses,   14   opportunities to go to some schools.
 15    interview all of them, and basically that    15   Q. Okay. So I just want to make sure
 16    you were taking care of a case from          16   I understand that your answer is to my
 17    beginning to end up there.                   17   questions, which is between the time that
 18    Q. And did you have any training in          18   you were in the traffic -- switching from
 19    between being in the traffic division and    19   the traffic division to the Homicide Unit,
 20    the Homicide Unit?                           20   did you have training during that time?
 21    A. There were certain schools that           21   Is there like a specific course that you
 22    would come available, excuse me, like        22   had to do --
 23    interviewing and interrogation schools. I    23   A. I don't remember any interrogation


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  1    or interview schools or anything like that    1   then. I'm not sure, but he was a
  2    during that time, no.                         2   lieutenant before he was a captain.
  3    Q. Okay. So one day you were in the           3   Q. Right.
  4    traffic division and then the next day you    4             MS. BOLGER: J. T., would
  5    were in the Homicide Unit with no formal      5   you mind handing the witness it's
  6    transition; correct?                          6   Exhibit 16 from the last deposition, which
  7    A. Right.                                     7   is the AJ?
  8    Q. Who did you report to when you             8             MR. THOMPSON: Yeah, just a
  9    were in the Homicide Unit? Actually let's     9   second.
 10    do this, in 2015 who did you report to in    10             MS. BOLGER: It's the
 11    the Homicide Unit?                           11   standards and procedures, page 24 of AJ.
 12    A. Well, there was a sergeant                12        (Whereupon, a document that was
 13    assigned from the city, Robert Davis, and    13        previously marked as Defendant's
 14    then Captain Hart, I think he was a          14        Exhibit No. 16 was referenced and
 15    lieutenant at that time, but I'm going to    15        is attached to the original
 16    call him Captain Hart, that's what he was    16        transcript.)
 17    when I left, he was my immediate             17             MR. THOMPSON: Do you just
 18    supervisor with the city, but the            18   want me to extract page 24, Kate, or do
 19    commander of the unit was Gary Hood.         19   you want the entire exhibit?
 20    Q. Okay. So sorry. You said                  20             MS. BOLGER: No, it's page
 21    captain, then Lieutenant Hart, was your      21   24, it's quite long so I'm sure you're
 22    immediate supervisor?                        22   going to love that, it's 24 through 105 is
 23    A. I believe he was a lieutenant             23   the standard operating procedures.

                                      Page 43                                           Page 44
  1               We marked it as Exhibit 16         1   school?
  2    at the last deposition.                       2   A. I believe -- this one doesn't have
  3               MR. THOMPSON: I've got it.         3   it but I believe at the end of every
  4    Hang on.                                      4   procedure you had to initial, I believe,
  5               MS. BOLGER: The last               5   if I remember correctly.
  6    deposition I was at.                          6   Q. And other than that first time you
  7    Q. So Exhibit 16 is the Tuscaloosa            7   read it -- well, did you read it when you
  8    Violent Crimes Unit Standard Operating        8   first got it?
  9    Procedures 1 through 11. Have you seen        9   A. Yes.
 10    this before?                                 10   Q. Other than that first time, have
 11    A. It's been a while but yes, ma'am.         11   you read it since?
 12    Q. When did you first see it?                12   A. No.
 13    A. It would have been January of             13   Q. Do you know if it's been amended
 14    2014.                                        14   over time?
 15    Q. And in what context did you see           15   A. I don't know.
 16    it?                                          16   Q. Nonetheless, these are the
 17    A. They handed me a notebook that had        17   standard operating procedures of what was
 18    this in it. You know, told me to review      18   then the Homicide Unit is now the Violent
 19    it.                                          19   Crimes Unit; right?
 20    Q. Were you required to read it?             20   A. Yes.
 21    A. Yes.                                      21   Q. They're supposed to be your
 22    Q. Did you have to sign anything that        22   standard operating procedures that you
 23    said you read it, like you have to do in     23   followed as an investigator; correct?


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  1    A. Yes.                                       1   A. Yes.
  2    Q. And to the best of your knowledge          2   Q. And then it says 1999 graduate
  3    did you follow them?                          3   from APOSTC Academy in Selma, Class 107.
  4    A. Yes.                                       4   Do you see that?
  5    Q. Okay. If you'll take a look back           5   A. Yes, ma'am.
  6    at your résumé, which is Exhibit 26, it       6   Q. What is APOSTC?
  7    says education, you graduated from            7   A. Alabama Peace Officers' Standards
  8    Tuscaloosa Christian School in 1995; is       8   and Training Commission.
  9    that right?                                   9   Q. Is that essentially basic training
 10    A. Yes, ma'am.                               10   for being a police officer?
 11    Q. And that's high school?                   11   A. Police Academy, yes, ma'am.
 12    A. Yes, ma'am.                               12   Q. And it says in 2007 you went to
 13    Q. Did you go to college at all?             13   the handwriting and statement analysis?
 14    A. I went a couple of semesters. I           14   A. Yes, ma'am.
 15    started at the university and went one       15   Q. Where was that?
 16    semester and then I went to Shelton State    16   A. It was actually about like a Zoom
 17    Community College for a semester.            17   session now. We did it online. It was me
 18    Q. When you say you started at the           18   and a female in CID, or Criminal
 19    university, you mean the University of       19   Investigations, they sent us to this
 20    Alabama; right?                              20   training. And I say sent us to the
 21    A. Yes.                                      21   training, it was online, so it was several
 22    Q. And then you decided college              22   months of training. It wasn't, you know,
 23    wasn't for you?                              23   an overnight thing.

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  1    Q. Okay. And then if you look at the          1   Q. That's part about being an adult
  2    second page of the exhibit, it's 453, and     2   is not taking tests anymore so I apologize
  3    it says schools attended on the top. Are      3   for that.
  4    you with me?                                  4        You'll see there's a school
  5    A. Yes, ma'am.                                5   attended that says responding to sexual
  6    Q. Okay, great. I think the sound             6   assaults and rape. Do you see that?
  7    cut off for a second, so I apologize for      7   A. Yes, ma'am.
  8    asking twice.                                 8   Q. What school was that?
  9         When you say schools, what do you        9   A. That was probably more of a
 10    mean by schools?                             10   seminar type, and I think it was somebody
 11    A. Training, training schools. You           11   that came to the department to do training
 12    know, it's probably nothing, you know, a     12   and it was one of those that you had to
 13    year long or nothing like that. It's just    13   apply for and I'm not -- on this list here
 14    training that I've attended.                 14   I mean we had monthly training on
 15    Q. And you mean like would a synonym         15   different topics, but this -- these are
 16    for schools be seminars?                     16   particular ones that I was chosen to go to
 17    A. Some were more in-depth than              17   or I had to apply to actually go to and
 18    seminars. There was some actual training     18   that was one of those that, you know, I
 19    involved as far as seems like, and I can't   19   was trying to improve my chances and my
 20    remember which ones, but there were tests    20   knowledge of the job of homicide before I
 21    involved in some of these that you had to    21   even got there. That's not one that I
 22    actually pass to, you know, get your         22   went to while I was in Homicide.
 23    certificate.                                 23   Q. When did you go?


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  1    A. I don't remember.                          1   was in traffic division, that's all I
  2    Q. Did you travel somewhere to go to          2   know.
  3    the seminar?                                  3   Q. You're saying it could have been
  4    A. I believe the instructor came to           4   greater than five years before you were in
  5    the police department.                        5   Homicide?
  6    Q. Do you remember the name of the            6   A. Yes.
  7    instructor?                                   7   Q. Too many papers on my desk, hold
  8    A. I don't.                                   8   on one second. So before July of 2015,
  9    Q. Man or woman?                              9   how many sexual assaults had you
 10    A. I don't remember.                         10   investigated?
 11    Q. Do you remember how long it was?          11   A. I would say dozens. I don't have
 12    A. I don't remember.                         12   a number. I would say dozens.
 13    Q. Do you remember anything about            13   Q. And how many of those led to
 14    what you learned?                            14   arrests?
 15    A. I don't.                                  15   A. I don't remember.
 16    Q. Can you place it at all in a              16   Q. Most of them?
 17    timeframe? You said it was before you        17            MR. COCKRELL: Object to the
 18    were in Homicide. Do you know how many       18   form. I believe he answered.
 19    years before?                                19   A. I don't remember.
 20    A. I would probably say it's greater         20   Q. (By Ms. Bolger) Would you say less
 21    than five years before I -- it could have    21   than 50 percent of them did?
 22    been when I was in the Criminal              22   A. I don't remember.
 23    Investigations. I know it was not while I    23   Q. Do you remember any of the

                                      Page 51                                           Page 52
  1    investigations resulting in any               1   don't really know how many it was. There
  2    convictions?                                  2   was -- that was a busy year that year for
  3    A. I don't remember.                          3   everything so I couldn't tell you how many
  4    Q. How many rape -- for how many rape         4   I worked or primary on.
  5    investigations were you the lead              5   Q. (By Ms. Bolger) What do you mean
  6    investigator?                                 6   it was a busy year that year for
  7    A. I don't remember.                          7   everything?
  8    Q. So in July 2015, you had been in           8   A. Well, shootings, murders. I mean
  9    the Homicide Unit for about 18 months.        9   it was -- there was a lot in the unit
 10    Had you been the lead investigator for ten   10   going on as far as cases go.
 11    rape investigations?                         11   Q. What is the difference -- what is
 12    A. I can't say for sure.                     12   a lead investigator?
 13    Q. Well, does it feel to you like it         13   A. It's basically the one that would
 14    was less than ten?                           14   put the documents or the evidence
 15    A. No, I would say -- I would say            15   together, type up the felony packet,
 16    more, but I don't know for sure.             16   present it to grand jury, and they were
 17    Q. More than ten. Would you say less         17   basically responsible for the paperwork.
 18    than 20?                                     18   Q. So as the lead investigator were
 19    A. I don't know.                             19   you supposed to be sort of across all of
 20    Q. Does 20 sound about right to you?         20   the information in the file?
 21             MR. COCKRELL: Object to the         21   A. Yes.
 22    form.                                        22   Q. Before July 2015, other than the
 23    A. I mean, I don't have a number. I          23   course we talked about, what training had


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  1    you undergone to investigate sexual           1   the response and, you know, investigative
  2    assaults?                                     2   techniques, or I don't remember specifics
  3    A. When I got to Homicide they sent           3   about it. It was more of -- honestly, it
  4    me to a school -- it was a homicide           4   was more of the guy standing up there
  5    school. They did touch on sexual              5   talking about his investigations that he
  6    assaults.                                     6   had at Miami-Dade County.
  7         I know it was a retired detective        7   Q. Okay. About how much time did he
  8    from Miami-Dade. It was in the city of        8   spend on sexual assaults?
  9    Homewood. But other than that, that was       9   A. I would say probably a day.
 10    probably the only school that I went to.     10   Q. A whole day on sexual assaults?
 11    Q. And you did that before July 2015?        11   A. Anywhere from half a day to a day,
 12    A. Yes.                                      12   yeah.
 13    Q. And you said a homicide school, I         13   Q. How long was the whole homicide
 14    think what you said, and there is a slight   14   school?
 15    lag on Zoom so if I'm putting the wrong      15   A. It was a week.
 16    words in your mouth, you'll have to          16   Q. Did you ever have any special --
 17    correct me, but I think you said there was   17   before July 2015, did you ever have any
 18    a homicide school that touched on sexual     18   special training for investigating crimes
 19    assaults; right?                             19   on university campuses?
 20    A. Yes, yes.                                 20   A. No.
 21    Q. And what do you mean touched on           21   Q. Did you ever have any training
 22    sexual assaults?                             22   before July 2015 for investigating
 23    A. Well, they just -- I guess it was         23   alcohol-based offenses?

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  1    A. No.                                        1   investigation.
  2    Q. And before July 2015, had you ever         2   Q. And we talk about the standard
  3    had any training on trauma-based              3   operating procedures that I showed you.
  4    questioning?                                  4   Other than that PGO and the standard
  5    A. No.                                        5   operating procedure, were you aware of any
  6    Q. Were you aware in 2015 of any              6   protocols or rules for sexual assault
  7    Tuscaloosa Police Department protocols or     7   investigations?
  8    instructions or standard operating            8   A. No.
  9    procedures that would have been involved      9   Q. Now, the New York Police
 10    in sexual assault investigations?            10   Department has something called the patrol
 11    A. The only thing from the police            11   book and the patrol book is a guide that
 12    department division would be a PGO,          12   tells the police department how to
 13    procedural general order, I couldn't tell    13   interact with the public and the media on
 14    you the number, but it was basically         14   certain issues. Is there such a thing in
 15    dealing with the Homicide Unit and it just   15   the Tuscaloosa Police Department?
 16    gave an outline, you know, if you as a       16   A. The closest thing would be that
 17    responding officer go to these and it gave   17   Procedure General Order, PGO.
 18    a list of crimes, murder, attempted          18   Q. Okay. I just didn't know if there
 19    murder, assault first degree, assault        19   was a separate -- I don't know what to
 20    second degree, rape, kidnapping, if you go   20   call it, I didn't know if there was a
 21    to those, contact a supervisor and they      21   separate book.
 22    would in turn contact the homicide           22   A. That would be it.
 23    division who would take over that            23   Q. After July 2015, which is after


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  1    the Rondini investigation, did you have       1   -- we're still going to respond to the
  2    any training in sexual assault                2   crimes that we're assigned so, you know,
  3    investigation?                                3   nothing changed as far as our work product
  4    A. No.                                        4   but it was just the name.
  5    Q. Or alcohol-based offense                   5   Q. Did you -- have you ever had any
  6    investigations?                               6   training specifically on interrogating
  7    A. No, ma'am.                                 7   sexual assault victims?
  8    Q. Or trauma-based interview                  8   A. No.
  9    questioning?                                  9   Q. Do you know what you a SANE nurse
 10    A. No, ma'am.                                10   is?
 11    Q. Did anything change within the            11   A. Sexual assault nurse.
 12    Homicide Unit after the publication of the   12   Q. What is a SANE nurse?
 13    BuzzFeed article?                            13   A. The way I understand it is they're
 14    A. The name changed was the biggest          14   specialized and trained to collect
 15    -- well, it's really the only thing I can    15   evidence and give aid and assistance to
 16    remember is the name of the unit changed.    16   sexual assault victims, and they do have
 17    Q. And that was as a result of the --        17   specialized training to preserve evidence.
 18    was that as a result of the BuzzFeed         18   Q. In July 2015 were there any SANE
 19    article or something else?                   19   nurses in Tuscaloosa that you're aware of?
 20    A. I'm not sure. I didn't have               20   A. I don't remember. I know the
 21    anything to do with the change. That was     21   conversation had come up before, but I
 22    up to the sheriff and, you know, the chief   22   couldn't say for sure.
 23    deputies so, you know, we're still going     23   Q. Do you know if there are now?

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  1    A. I know there's at least one SANE           1   Q. Was that as a result of the
  2    nurse -- I'm sorry, one SANE nurse in         2   publication of the BuzzFeed article that
  3    Tuscaloosa County.                            3   that center opened?
  4    Q. And who is that?                           4   A. I'm not sure.
  5    A. I can't tell you her name. I know          5   Q. Well, timing-wise, would that work
  6    she's at the new center that was built.       6   out?
  7    Q. What is the new center that was            7   A. I mean, if timing is being after
  8    built?                                        8   the article, yes. I mean, but I don't
  9    A. The Safe Center. There's a                 9   know if that was the reasoning behind it
 10    director and then the SANE nurse, and I'm    10   opening.
 11    not sure, you know, who's over the Safe      11   Q. Have you heard that it was?
 12    Center as far as any kind of funding or      12   A. I haven't heard that.
 13    anything like that.                          13   Q. Have you ever heard of the
 14         I don't know if it's the director       14   International Association of the Chiefs of
 15    or -- I just know that that's where sexual   15   Police, IACP?
 16    assault victims do go now.                   16   A. I've heard of it, yes, ma'am.
 17    Q. And when did that center open?            17   Q. What is it?
 18    A. I don't remember exactly.                 18   A. I don't really know. I just think
 19    Q. Do you remember whether either the        19   it's one of those organizations, you know,
 20    Homicide Unit or the law enforcement         20   in my mind I think it may be like for the
 21    agencies in Tuscaloosa were involved in      21   police chiefs to be members of and I guess
 22    the opening of that center?                  22   they get training maybe through IACP. I'm
 23    A. I'm not aware of it.                      23   not sure. I believe they do training, but


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  1    I've never been involved with IACP, so.      1   A. No.
  2    Q. Okay.                                     2   Q. Have you ever heard that these
  3              MS. BOLGER: J. T., could           3   strategies were used in helping to draft
  4    you hand Investigator Jones AE?              4   the Tuscaloosa Violent Crimes Unit
  5              And, Nancy, this will be 27        5   standard operating procedures?
  6    please.                                      6   A. I've never heard that.
  7              (Off the record.)                  7   Q. So you've never seen this before?
  8         (Whereupon, a document was marked       8   A. No, ma'am, I haven't.
  9         as Defendant's Exhibit No. 27 and       9   Q. Okay. You can put that aside.
 10         is attached to the original            10   Have you ever read or heard of a
 11         transcript.)                           11   publication called Prosecuting
 12              MS. BOLGER: For the record,       12   Alcohol-Facilitated Sexual Assaults, which
 13    please feel free to look, Investigator      13   was published by the American Prosecutor's
 14    Jones, for the record Exhibit 27 is the     14   Research Institute?
 15    IACP Sexual Assault Incident Report         15   A. No, ma'am, never heard of it.
 16    Investigative Strategies.                   16   Q. Captain Hood never talked to you
 17    Q. Investigator Jones, my question is       17   about it?
 18    just going to be have you ever seen this    18   A. No, ma'am.
 19    before?                                     19   Q. And you've never read it?
 20    A. No, ma'am.                               20   A. No, ma'am.
 21    Q. Has anyone ever talked to you            21            MR. COCKRELL: What was the
 22    about the investigative strategies that     22   name of that again, Kate?
 23    IACP recommends for sexual assaults?        23            MS. BOLGER: I'm so sorry,

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  1    say that louder.                             1   Jones, you were talking about going to
  2             MR. COCKRELL: I couldn't            2   interrogation schools and interviewing
  3    hear the name of that article. What was      3   schools. Where were those?
  4    it?                                          4   A. There was one in Meridian,
  5             MS. BOLGER: Prosecuting             5   Mississippi. There was another one that
  6    Alcohol-Facilitated Sexual Assaults, and     6   the host actually came to -- or I'm sorry,
  7    it was published by the American             7   the speaker actually game to the
  8    Prosecutor's Research Institute. And it's    8   Tuscaloosa Police Department. Both of
  9    in Captain Hood's emails to Katie, if        9   those were about a week, week-long
 10    you're looking for it.                      10   schools.
 11             MR. COCKRELL: Okay.                11        There were maybe, you know, some
 12             MS. BOLGER: Why don't we           12   day or two interview schools, but I can't
 13    take a two-minute break? We've been going   13   really remember the names of the
 14    almost an hour, and I'm going to change     14   instructors or anything.
 15    topics, so why don't we take a two-minute   15   Q. On your résumé that we talked
 16    break or a five-minute break and I'll be    16   about, you talk about going to a training
 17    right back.                                 17   center at Mississippi State University.
 18             VIDEOGRAPHER: Off the              18   That was in -- this was in cybercrime
 19    record at 10:04 a m.                        19   forensic training. Did you go there for
 20             (Recess was taken.)                20   those interrogation and interview schools?
 21             VIDEOGRAPHER: We're back on        21   A. No, the interrogation schools were
 22    the record at 10:18 a m.                    22   at the Meridian Air Force base and inside
 23    Q. Before we broke, Investigator            23   that Air Force base is regional -- RCTA is


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  1    what everybody calls it around the south,     1   have probably been around 3:00, 3:00 or
  2    but it's regional counter drug training       2   3:30 a.m. on the morning that that
  3    academy. It's -- the funding comes from I     3   happened. I guess July the 1st.
  4    guess the DEA or, you know, something like    4   Q. I think it's probably July
  5    that, but they span different schools like    5   the 2nd.
  6    interview and interrogation, audio            6   A. I'm sorry, it is the 2nd.
  7    surveillance, it's various schools within     7   Q. So at about 3:30 in the morning
  8    that training academy in Meridian.            8   you said?
  9    Q. Great, thank you. Did there come           9   A. Yes, ma'am.
 10    a time when you learned that a Megan         10   Q. And where were you?
 11    Rondini was making allegations that she      11   A. I was in the bed.
 12    had been sexually assaulted by a man named   12   Q. And in that initial telephone call
 13    T. J. Bunn?                                  13   what did you learn?
 14    A. I'm sorry, the first part of it?          14   A. They usually kept it, you know,
 15    Q. I said did there come a time when         15   short and sweet as far as the call, unless
 16    you learned that a woman named Megan         16   we asked questions. They said that there
 17    Rondini was making allegations that she      17   was a victim at the hospital, gave her
 18    was sexually assaulted by a man named        18   name, suspect was not on the scene, and I
 19    T. J. Bunn?                                  19   don't know that they had made contact yet
 20    A. Yes.                                      20   as far as the initial responding officers.
 21    Q. And how did you first learn of            21        I think they were at DCH Hospital
 22    that?                                        22   with the victim. They just said it was a
 23    A. I had received a call. It would           23   possible sexual assault and gave the names

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  1    of the victim and suspect, and I got          1             Go ahead.
  2    dressed and went.                             2   A. I recognized the name, just the
  3    Q. Okay. So they did give the names           3   last name, yes.
  4    of the victim and the suspect?                4   Q. (By Ms. Bolger) And, in fact, you
  5    A. Yes.                                       5   told your wife at that time that it was a
  6    Q. And when you heard the name                6   call involving a Bunn?
  7    T. J. Bunn, did you recognize the name?       7   A. I don't remember telling my wife.
  8    A. Not specifically. I was, you               8   The way I got most of my callouts was on a
  9    know, just based on Bunn, I figured it had    9   Southern LINC radio, and it was a speaker
 10    to do with somebody affiliated with Bunn     10   type system, it wasn't a cell phone, so
 11    Construction, S. T. Bunn Construction.       11   she woke up -- every time that I got
 12    Q. Okay. And can you tell me what            12   called out she woke up, and she may have
 13    S. T. Bunn Construction is?                  13   heard the name over my LINC radio. I
 14    A. They basically do asphalt paving,         14   don't remember telling her the name.
 15    pave roads. I think -- I know you see        15   Q. She testified last week that you
 16    them a good bit here in Tuscaloosa. My       16   told her the name. Do you know that?
 17    understanding they're all over the state.    17   A. I do. I just don't remember
 18    Q. So the name Bunn is a prominent           18   telling her the name.
 19    name in Alabama such that you recognized     19   Q. Do you think she's wrong?
 20    it when you got a telephone call at 3:30     20   A. I'm not saying she's wrong. I'm
 21    in the morning; right?                       21   just saying I don't remember.
 22             MR. COCKRELL: Object to the         22   Q. And what were you thinking when
 23    form.                                        23   you heard that there was a Bunn family


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  1    member involved?                             1   -- it's not a 24-hour hospital, though.
  2    A. Nothing in particular. I mean,            2   Q. Okay. Just -- that was mostly
  3    still an alleged crime that we have to       3   pure curiosity.
  4    investigate.                                 4   A. Okay.
  5    Q. Okay. And what did you do next?           5   Q. Okay. So you reported to the
  6    A. We responded to DCH and spoke to          6   hospital. When you got the call at 3:30
  7    the victim.                                  7   in the morning, you heard there was a
  8    Q. I'm sorry, say that again.                8   victim and a suspect and what was the
  9    A. We responded to DCH and spoke with        9   alleged crime you were told in that
 10    the victim.                                 10   initial call at 3:30 in the morning?
 11    Q. What is DCH?                             11   A. Sexual assault.
 12    A. Druid City Hospital. It's the            12   Q. Did you know when you left your
 13    only hospital in Tuscaloosa.                13   house how long -- what the time period was
 14    Q. Is that affiliated with the              14   between the sexual assault and when you
 15    university at all?                          15   received the call?
 16    A. No, ma'am.                               16   A. I don't remember. I can't
 17    Q. Is there -- this is just -- I            17   remember when I got the call, so I don't
 18    don't know the answer to this question.     18   remember from the investigation the time
 19    Is there a hospital affiliated with the     19   that the victim said it happened to when I
 20    University of Alabama?                      20   got the call. I don't remember that.
 21    A. They have a medical center. It's         21   Q. Did you know at the time that
 22    more of like, you know, primary care,       22   Investigator Hastings would be working
 23    maternity. I mean, I don't know the exact   23   with you on the investigation?

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  1    A. Yes.                                      1   Mr. Hastings to another partner --
  2    Q. And why did you know that? Was            2   A. I'm sorry, what was the last part?
  3    that part of the call or was that just       3   Q. I said Sergeant Hastings.
  4    knowledge?                                   4   A. Micah was a newly assigned
  5    A. Well, that particular day we were         5   investigator to the homicide division, and
  6    partners. My regular partner for that day    6   I guess, you know, the supervisors felt
  7    had taken off or had a family, you know,     7   comfortable enough to put me with him to,
  8    emergency, something, I don't remember       8   you know, train him on investigations up
  9    exactly why, but Josh basically just         9   there in Homicide so that's why we split.
 10    filled in for him.                          10        He ended up going to another
 11    Q. What was the name of your regular        11   partner. I can't remember who Josh went
 12    partner?                                    12   to, but me and Micah started working
 13    A. Micah Rogers.                            13   together then.
 14    Q. And had you worked as a partner          14   Q. In July 2015, were you and
 15    with Josh before?                           15   Investigator Hastings friends?
 16    A. Yes.                                     16   A. Yes.
 17    Q. How often?                               17   Q. And in July 2015, were you and
 18    A. He was my first partner when I           18   Investigator Rogers friends?
 19    came to homicide. I don't know -- I don't   19   A. Yes.
 20    remember the term or the length of the      20   Q. Did you socialize with
 21    time we worked together. I would say at     21   Investigator Hastings outside of work?
 22    least a year.                               22   A. Other than just phone calls. You
 23    Q. And why did you switch from              23   know, we didn't really hang out at each


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  1    other's house or anything like that.          1   specific investigator. Usually the team,
  2    Q. What do you mean by phone calls?           2   and when I say team, me and whoever I'm
  3    Did you call to check in on each other        3   working with, it's usually two-man teams,
  4    socially?                                     4   they just decide between themselves who
  5    A. Well, it was mainly more just, you         5   will the primary investigator.
  6    know, joking around, picking at each          6   Q.     Okay. So you said you left your
  7    other. I mean just cutting up. It's           7   house at about 3:30 in the morning, or you
  8    nothing -- nothing other than that really.    8   got the call at around 3:30 in the
  9    Q. Okay. And when you got that call           9   morning. Do you know what time you got to
 10    were you the lead investigator on the case   10   the hospital?
 11    right away?                                  11   A.     It would have been after 4:00. I
 12    A. Yes.                                      12   can't remember the exact time, but I would
 13    Q. Why?                                      13   say between 4:00 and 4:30.
 14    A. Well, it was my normal call week          14   Q.     Do you know what time the sexual
 15    and it should have been me and Micah on      15   assault allegedly occurred?
 16    call, but since Josh was not -- this was     16   A.     I don't remember.
 17    not his scheduled call week, I went ahead    17   Q.     I read this file pretty carefully
 18    and took the primary investigation over.     18   and I'll tell you that generally, best
 19    Q. And how does -- how did you go            19   estimate is, it would have been somewhere
 20    about doing that?                            20   after one o'clock in the morning. Does
 21    A. Basically, just saying I'm going          21   that refresh your memory at all?
 22    to take this case. You know, it's not        22   A.     Yes.
 23    assigned really by a supervisor to a         23   Q.     Sounds right to you?

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  1    A. Yes.                                       1   A. No.
  2    Q. If you're getting to the hospital          2   Q. Did you speak to Officer Phillips
  3    at 4:30 in the morning, it's only about       3   before you spoke to Megan Rondini?
  4    three and a half hours after the alleged      4   A. I don't believe so.
  5    assault; right?                               5   Q. Did you see any notes that he had
  6    A. Yes.                                       6   taken?
  7    Q. Okay. What did you do when you             7   A. I don't remember.
  8    got to the hospital?                          8   Q. About how long -- did you talk to
  9    A. I don't remember if we arrived at          9   anybody else at the hospital before you
 10    the same time, but we both ended up going    10   spoke to Ms. Rondini?
 11    into the exam room and trying to get a       11   A. I don't believe so.
 12    statement from the victim.                   12   Q. So you think you just spoke -- you
 13    Q. Before you went to the exam room,         13   just walked in and started questioning
 14    did you talk to the officer who was on the   14   Ms. Rondini?
 15    scene?                                       15   A. Yes.
 16    A. I believe he was in the room also         16   Q. Where was she at the time?
 17    when we got there.                           17   A. She was in an exam room.
 18    Q. Do you remember his name?                 18   Q. And what was she wearing?
 19    A. Brad Phillips.                            19   A. I believe it was the clothes that
 20    Q. Did you know Officer Phillips?            20   she came in wearing. I can't remember
 21    A. Just professionally. I never --           21   what it was, but it was street clothes.
 22    other than the job, I didn't know him.       22   Q. Had she been examined already or
 23    Q. Had you worked with him before?           23   had that not happened yet?


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  1    A. That had not happened.                     1   A. I mean, I guess I could suggest
  2    Q. So she had not been examined yet.          2   it, but that's really not up to me.
  3    She had just been -- she just arrived and     3   Q. I know it's not up to you, but you
  4    you were questioning her?                     4   can suggest it; right?
  5    A. Right, the exam had not taken              5   A. I could, yes.
  6    place.                                        6   Q. Have you ever done that?
  7    Q. Is that unusual for you to get             7   A. No.
  8    there before the exam, or is that how it      8   Q. How long did you talk to Megan?
  9    usually works?                                9   A. Probably about ten or 15 minutes.
 10    A. Sometimes we usually get there            10   Q. What was her demeanor like?
 11    right before the exam starts or sometimes    11   A. I remember she started crying
 12    the exam has already started, but this       12   during the interview.
 13    particular time we got there before the      13   Q. She started crying during the
 14    exam.                                        14   interview?
 15    Q. As the investigating officer, do          15   A. Yes.
 16    you have the ability to ask the hospital     16   Q. What made her start to cry?
 17    to conduct certain tests on alleged          17   A. She was talking about how she
 18    victims of crimes?                           18   couldn't get out of her room and that
 19    A. I don't. That's usually between           19   started getting her upset. That's what I
 20    the doctor and the patient.                  20   remember.
 21    Q. You can't say, for example, boy,          21        She wasn't crying the entire time.
 22    you should do a blood test to see if she's   22   I was able to get a statement, but in to
 23    intoxicated?                                 23   the interview there she did start crying.

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  1    Q.     Was she disheveled?                    1   initial -- that initial interview?
  2    A.     I don't remember.                      2   A. We were just trying to get as much
  3    Q.     (Inaudible).                           3   information as we could without holding up
  4              COURT REPORTER: I'm sorry,          4   any kind of medical treatment that she may
  5    I couldn't hear that, Kate.                   5   need. So, you know, we were trying to,
  6    Q. (By Ms. Bolger) I said what do you         6   you know, get as much, if any, probable
  7    mean you don't remember? Did she look         7   cause we could get before we made contact
  8    disheveled?                                   8   with the suspect.
  9              MR. COCKRELL: Object to the         9   Q. So you were looking for probable
 10    form of the question. He said he doesn't     10   cause?
 11    remember.                                    11   A. As much as we can get.
 12    A. I mean, I don't remember, you             12   Q. Were you involved in the decision
 13    know, how she looked. I don't remember       13   to designate the investigation as a
 14    how she looked that night.                   14   special inquiry?
 15    Q. (By Ms. Bolger) Do you remember if        15   A. No.
 16    she looked like she was upset?               16   Q. Who did?
 17    A. I mean other than the crying,             17   A. The officer writing the report I
 18    that's what I remember.                      18   assume. It was either the officer that
 19    Q. Was her hair neatly combed and her        19   wrote the report or a patrol supervisor.
 20    clothes neatly put on, or was she not that   20   Q. You recorded that conversation
 21    neatly put together?                         21   with Megan; right?
 22    A. I don't remember.                         22   A. Yes.
 23    Q. What do you remember about that           23   Q. How did you record that?


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  1    A. Just an audio recorder, hand held.         1   J. T. looks for that, I will represent to
  2    Q. So it's not a wire that you wear?          2   you, and Bob knows this, that we were
  3    It's an actual recording device?              3   handed the files from the wrongful death
  4    A. Yes, ma'am.                                4   suit and also from the Tuscaloosa
  5    Q. Okay. And what does it look like?          5   Sheriff's Office, so we have the recording
  6    A. It's actually like -- almost               6   of your interview with Ms. Rondini and we
  7    exactly like the one sitting here right in    7   had it transcribed and what we're about to
  8    front of me, so I think it was made by        8   show you is a transcription with the
  9    Olympus. I'm trying to -- I don't know if     9   certification on the top.
 10    you can --                                   10             MR. THOMPSON: Kate, this
 11    Q. Just, of course, I can't see it.          11   version does not have -- that we copied
 12    A. Yeah, I was going to hold it up           12   before, does not have a certification
 13    here.                                        13   attached to it. Are you saying what you
 14    Q. Okay. So it has a little tape.            14   sent me this morning though does have the
 15    It's one of the little tapes?                15   cert?
 16    A. It's digital. It's all digital.           16             MS. BOLGER: Yeah.
 17    Q. It's digital?                             17   Kathleen, who is on, will just shoot you a
 18    A. Yes.                                      18   quick email.
 19    Q. Okay.                                     19             Bob and Scotch, would it be
 20              MS. BOLGER: J. T., can you         20   okay with you -- we did get it certified
 21    hand Investigator Jones -- hold on, AQ,      21   to make sure you knew it was authentic.
 22    that's the one I emailed you last night.     22   We're just having a COVID-related document
 23               Just for the record, while        23   problem. Can I go ahead and question the

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  1    witness about the transcript and then         1   of your conversation was with Ms. Rondini
  2    we'll get you the certification? You guys     2   on the morning of the alleged assault?
  3    probably know me well enough to know that     3   A. Yes.
  4    I'm not deceiving you.                        4   Q. And this is consistent with your
  5              MR. COCKRELL: No, you know,         5   memory?
  6    we can always compare, so not a problem.      6   A. Yes.
  7    Go ahead.                                     7   Q. Okay. And I want to ask you to
  8              MS. BOLGER: Okay, great.            8   take a look at the first page, so the last
  9    Just hand him the AQ you have, J. T.          9   full graph on the page starts, and Sweet T
 10              (Off the record.)                  10   took us to his house.
 11         (Whereupon, a document was marked       11   A. Okay.
 12         as Defendant's Exhibit No. 28 and       12   Q. At this point in the investigation
 13         is attached to the original             13   the only name Megan knew for Mr. Bunn was
 14         transcript.)                            14   Sweet T; correct?
 15    Q. You're welcome to read the whole          15   A. Yes.
 16    document, Investigator Jones, but I'm        16   Q. It was actually the police that
 17    going to ask you specific questions about    17   told her that his name was Bunn; right?
 18    it.                                          18             MR. COCKRELL: Object to the
 19              MR. COCKRELL: Probably go          19   form.
 20    ahead and take your time to read it.         20   A. I don't know who told her that.
 21    A. Okay.                                     21   It wasn't us. But, I mean, I don't know
 22    Q. (By Ms. Bolger) Okay. Does this           22   if it was an officer or not.
 23    refresh your memory about what the nature    23   Q. (By Ms. Bolger) But she didn't


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  1    know until after she --                       1   the couch in his room and ten or 15
  2    A. That's what she said.                      2   minutes later he comes up to his room and
  3    Q. I'm sorry.                                 3   he just wants to have sex, and I was like
  4    A. Yes, she said she didn't know his          4   I really need to go. I have friends that
  5    name, yes.                                    5   are waiting for me. I have friends at
  6    Q. Okay. How did you-all know his             6   Innisfree, and I really just need to go.
  7    name because remember you told me at 3:30     7   And he just didn't really take that. And
  8    in the morning you got a call with his        8   I really just felt like just letting him
  9    name, so she didn't know his name. How        9   have sex with me was the only way that he
 10    did you know his name?                       10   would let me go." Do you see that?
 11    A. When they told me on the LINC or          11   A. Yes.
 12    the Southern LINC they gave me the call,     12   Q. If you look at the next page.
 13    they gave me the names.                      13   Ms. Rondini repeatedly told you that she
 14    Q. But how did the police department         14   didn't know how she got to Sweet T's
 15    know his name, if Megan did not?             15   house; correct?
 16    A. I don't know.                             16   A. Yes.
 17    Q. Okay. You'll see that the -- if           17   Q. If you look in the -- kind of the
 18    you go one, two, three, four, five or so     18   third full graph it starts out, I'm not
 19    sentences in, the fourth line down says, I   19   really sure. Do you see that?
 20    just went and sat on a couch in his room.    20   A. On the second page?
 21    Do you see that?                             21   Q. Yes. It's one, two, three, it
 22    A. Yes, ma'am.                               22   starts I'm not really sure of the in
 23    Q. It says, "I just went and sat on          23   between -- the third full paragraph.

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  1    A. I see it. I see it.                        1   couldn't remember how she got in the car?
  2    Q. So she said to you, "I'm not               2   A. Well, not, you know, just based on
  3    really sure the in between of that            3   experience of when you're dealing with,
  4    happening. I wasn't drinking heavily. I       4   you know, people that's been drinking
  5    wasn't intoxicated, so I just don't know      5   alcohol, sometimes that does cause memory
  6    the bridge of where that happened."           6   lapses and loss, so.
  7         She's referencing how she got to         7   Q. Okay. Nothing in this made you
  8    Sweet T's -- into Sweet T's car; right?       8   think you should get any kind of
  9    A. Yes.                                       9   toxicology results done while you were
 10    Q. Did that at any point make you            10   there -- while she was there in the
 11    think that maybe she had been drugged?       11   hospital?
 12    A. No.                                       12   A. Well, there again, it wasn't up to
 13    Q. Why did her lapse of memory -- you        13   me. I mean, if she felt like she had been
 14    don't ask any follow-up questions on her     14   drugged, she could convey that to the
 15    lapse of memory. Why not?                    15   doctor and then they could decide that.
 16    A. Well, she said that she had been          16   Q. Well, do people always know when
 17    drinking alcohol, and I think she made the   17   they've been drugged?
 18    statement -- this was -- no, it was in the   18             MR. COCKRELL: Object to the
 19    other interview. Just the way, you know,     19   form.
 20    based on this and remembering how she was    20   A. I can't really say how, you know,
 21    talking I don't -- I didn't feel like she    21   if they know they've been drugged or not.
 22    was on any kind of drugs or anything.        22   You know, I think it's up to each
 23    Q. It didn't seem odd to you that she        23   individual person.


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  1    Q. (By Ms. Bolger) Well, as an                1   experiencing a significant lapse of memory
  2    investigator investigating a crime, isn't     2   related to an alleged assault made you
  3    it your job to figure out whether             3   think that she may have been drugged or
  4    someone's been drugged?                       4   had too much to drink?
  5    A. If drugs were used, yes.                   5   A. At the time I didn't think that.
  6    Q. Well, what if someone has large            6   Q. You couldn't have suggested the
  7    lapses of memory, as the investigator         7   test?
  8    investigating a crime, isn't it your job      8   A. I mean, I guess I could have, but,
  9    to figure out why they have large lapses      9   you know, I didn't.
 10    of memory?                                   10   Q. If you go down to the fourth graph
 11    A. Well, you know, just she never            11   from the end, it starts the only reason I
 12    mentioned anything about drugs. She did      12   know what. Do you see that?
 13    mention about alcohol and I just didn't --   13   A. Yes.
 14    Q. Well, you can have alcohol                14   Q. It says, "The only reason I know
 15    consumption in a toxicology screen, too,     15   what -- honestly I only know that Sweet
 16    can't you?                                   16   T's name is Sweet T, y'all keep calling
 17    A. I'm sorry?                                17   him T. J., and the only reason I knew that
 18    Q. Well, you use a toxicology screen         18   is because in the dish with all of his
 19    to find out about alcohol consumption too;   19   keys he has koozies, and it was Bunn," so
 20    right?                                       20   this is the first time she's heard that
 21    A. I'm not sure. I'm sure it does            21   he's T. J. Bunn; right?
 22    register that but it's through urine.        22             MR. COCKRELL: Object to the
 23    Q. Nothing in the fact that she was          23   form.

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  1    A. And it could have been, you know,          1   do. And then once I got up there, I did
  2    the officer that was taking the report,       2   not want to have sex with him. And he
  3    you know, if he had that information, he      3   didn't hit me -- he didn't shove me, but
  4    could have conveyed that to her. I don't      4   he held me down and we -- and then you
  5    know.                                         5   interrupt and say, where were his hands,
  6    Q. (By Ms. Bolger) Then you ask               6   on your shoulders or -- and she responds
  7    again, do you remember how to get to his      7   just kind of on my hips and on the top
  8    house and she says no, not at all.            8   half of my body. Do you see that?
  9         Do you see that?                         9   A. Uh-huh (affirmative), yes, ma'am.
 10    A. Uh-huh (affirmative). Yes, ma'am.         10   Q. So she told you he held her down;
 11    Q. Again, she's signaling a memory           11   right?
 12    lapse to you again; right?                   12   A. Yes.
 13    A. Yes.                                      13   Q. And then a couple of lines down
 14    Q. And you don't ask a follow-up             14   you say to her, he didn't ever took your
 15    question about that; right?                  15   phone from you and keep you from calling,
 16    A. Yeah, I don't ask a question              16   and she responds he did. Do you see that?
 17    there, no.                                   17   A. Uh-huh (affirmative), yes.
 18    Q. Then your next question to her is         18   Q. Why is that -- why is the fact
 19    when you got to her house, did he ever lay   19   that she -- so after this interview, this
 20    hands on you. He didn't force you into       20   case gets designated as special inquiry,
 21    the bedroom. He told you -- and then she     21   right, because someone decides there's not
 22    says, he told me to go up there, and I did   22   enough elements here to meet the crime of
 23    it just because I didn't know what else to   23   sexual assault; correct?


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  1    A. Yes.                                       1   this guy's house; right?
  2    Q. What is lacking in this interview          2   A. Yes.
  3    to establish that she is alleging the         3   Q. And she doesn't even know his
  4    crime of sexual assault?                      4   name; right?
  5    A. She said that she let him have sex         5   A. Right.
  6    with her.                                     6   Q. What else did she need to tell you
  7    Q. Well, she says she didn't -- she           7   to have you-all investigate this as a
  8    wanted -- she told him she wanted to go;      8   sexual assault?
  9    right?                                        9   A. Just based on state law, it didn't
 10    A. Well, she said she needed to go to        10   meet the elements of rape at that point.
 11    her friends that were at Innisfree.          11   Q. What element did it not meet?
 12    Q. Okay. He holds her down; right?           12   A. Earnest resistance.
 13    A. That's what she said.                     13   Q. She got held down.
 14    Q. According to her story, he held           14   A. She said she let him have sex with
 15    her down --                                  15   her.
 16    A. Yes.                                      16   Q. It says, he didn't shove me but he
 17    Q. -- right, by the hips; right? And         17   held me down. Why isn't being held down
 18    he takes her phone; right?                   18   and being forced to have sex against her
 19    A. Yes.                                      19   will not meeting elements of the crime of
 20    Q. She told you all of that; right?          20   sexual assault?
 21    A. Yes.                                      21            MR. COCKRELL: Object to the
 22    Q. To top it all off, she can't              22   form.
 23    remember anything about how she gets to      23   A. By her letting him have sex with

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  1    her, and she's saying that he held her by     1   magic words, it isn't a sexual assault?
  2    the hips, you know, at that point just        2             MR. COCKRELL: Object to the
  3    that alone that does not meet the elements    3   form.
  4    of rape.                                      4   A. I didn't -- I'm just saying it
  5    Q. (By Ms. Bolger) You're telling me          5   didn't meet the elements of rape at this
  6    that in Alabama in July of 2015, you could    6   point.
  7    tell someone you didn't want to have sex      7   Q. (By Ms. Bolger) What element
  8    with them and be held down by the hips and    8   didn't it meet at this point?
  9    it didn't meet the -- after they take your    9   A. Earnest resistance.
 10    phone in a house where you don't know how    10   Q. What did she have to say at this
 11    you got there, and it doesn't meet the       11   point, two hours -- or four hours after
 12    elements of rape?                            12   she's been sexually assaulted in a
 13              MR. COCKRELL: Object to the        13   hospital, what else did she need to say to
 14    form.                                        14   you to make you think that she earnestly
 15    A. She just -- she said in her               15   resisted Bunn?
 16    statement she let him have sex with her.     16   A. Well, it was, you know, what she
 17    Holding her by the hips kind of, just kind   17   did say. She let him have sex with her.
 18    of on my hips and the top half of my body,   18   Q. That's it? A woman says I let him
 19    you know --                                  19   have sex with me that can't be sexual
 20    Q. (By Ms. Bolger) -- right, to the          20   assault in your mind?
 21    bed. In Alabama you're telling me in July    21             MR. COCKRELL: Object to the
 22    of 2015, you can hold a women down to the    22   form.
 23    bed but because she doesn't say the right    23   A. I'm just saying based on the law


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  1    that we have to go by, that did not meet      1   A. No.
  2    the element of rape.                          2   Q. Did you ask her a question as a
  3    Q. Okay. So you met her for you said          3   follow-up to why the fact that she took --
  4    ten minutes, this was a ten-minute            4   he took her phone to keep her from calling
  5    interview at five o'clock in the morning      5   people?
  6    in a hospital, and you determined that        6   A. No.
  7    based on one sentence in her report,          7   Q. Did Megan Rondini ever say that
  8    ignoring everything else she said, because    8   Bunn sexually assaulted her?
  9    she said she let him do it, you didn't        9   A. No.
 10    have a basis to think that this guy          10   Q. What was she telling you then?
 11    sexually assaulted her; is that what         11   What did you think she was reporting --
 12    you're saying?                               12            MR. COCKRELL: Whoa, whoa,
 13             MR. COCKRELL: Object to the         13   whoa, ask one question at a time. I don't
 14    form.                                        14   know what the last question was.
 15    A. I'm saying that this is initial           15   Q. (By Ms. Bolger) What was she
 16    interview, that we are trying to get as      16   reporting to you?
 17    much information as we can, and up and to    17   A. She was reporting that she let him
 18    this point, there is not enough to meet      18   have sex with her, and he held her by the
 19    the elements of rape.                        19   hips and she couldn't get out of his room.
 20    Q. (By Ms. Bolger) Did you ask her a         20   Q. Is it your testimony that Megan
 21    question in this interview about what she    21   Rondini didn't think she was sexually
 22    meant by he held her down by the hips and    22   assaulted?
 23    the top half of her body?                    23   A. I'm not saying what her mind frame

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  1    was. I'm just saying as far as what she's     1            MR. COCKRELL: Object to the
  2    told us up and to this point, it did not      2   form.
  3    meet the elements of rape.                    3             I'm just not even going to
  4    Q. That's not what I asked you. I             4   -- I instruct you not to answer that
  5    asked you did Megan Rondini ever say that     5   question. Go ahead and answer. Do you
  6    Bunn sexually assaulted her?                  6   think she was there for a picnic?
  7             MR. COCKRELL: He already             7   A. No.
  8    answered that. That's the second time         8   Q. (By Ms. Bolger) She thought she
  9    you've asked that and he answered that.       9   was sexually assaulted; right?
 10    A. She did not say that he sexually          10   A. She didn't say that.
 11    assaulted her.                               11   Q. Well, she said she was held down.
 12    Q. (By Ms. Bolger) Did she need to           12   She said she was taken to a house she
 13    say the magic words, sexually assaulted,     13   didn't know where it was. She said
 14    for you to consider it a sexual assault      14   someone took her phone and she wanted to
 15    investigation?                               15   go.
 16             MR. COCKRELL: Object to the         16             MR. COCKRELL: Object to the
 17    form.                                        17   form.
 18    A. No.                                       18   Q. (By Ms. Bolger) Of course, she was
 19    Q. (By Ms. Bolger) She has gone to           19   saying she was sexually assaulted. What
 20    the hospital. She is about to undergo a      20   is your basis for saying she wasn't saying
 21    rape investigation. She's called the         21   she was sexually assaulted?
 22    police. Did you guys think she was just      22             MR. COCKRELL: Object to --
 23    there for a picnic?                          23   object to the form. He can't read


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  1    somebody's mind. He's a police officer.       1   was anything other than consensual?
  2    Q. (By Ms. Bolger) Now that your              2   A. She didn't say that -- she didn't
  3    counsel has told you how to answer the        3   say anything to lead me that it wasn't.
  4    question, Investigator Jones, you may.        4   Q. Okay. So saying that she told him
  5             MS. BOLGER: Bob, you know            5   she wanted to go home, that she was held
  6    you can't tell the witness what to say --     6   down by the hips and the top of her body,
  7             MR. COCKRELL: Well, you're           7   that he had taken her phone and she didn't
  8    asking questions like he can read her         8   know where she was, none of those four
  9    mind.                                         9   character -- none of those four statements
 10    Q. (By Ms. Bolger) -- Investigator           10   lead you to believe that the sex she had
 11    Jones, why don't you answer my question      11   with T. J. Bunn was not consensual?
 12    please?                                      12            MR. COCKRELL: Object to the
 13    A. I don't know what she's thinking.         13   form.
 14    You know, with her coming out saying I let   14            You can answer.
 15    him have sex with me and he held me by the   15   A. Not based on her statement.
 16    hips, you know.                              16   Q. (By Ms. Bolger) Why is being held
 17    Q. Held me down by the hips. Held me         17   down by the hips when someone is having
 18    down by the hips.                            18   sex with you after you told them not to
 19             MR. COCKRELL: Object to the         19   go, not an indication that it was not
 20    form. Not sure it's a question.              20   consensual sex?
 21    Q. (By Ms. Bolger) Did she say               21            MR. COCKRELL: Object to the
 22    anything at the hospital that led you to     22   form.
 23    believe that the sex she had with Mr. Bunn   23            Go ahead.

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  1    A. You know, I can't say how, you             1   if someone says I let him have sex with
  2    know, if it was one of those things that      2   me, it's the end of the inquiry; isn't
  3    she changed her mind -- I'm not going to      3   that what you're telling me?
  4    speculate.                                    4             MR. COCKRELL: Object to the
  5         I'm not going to speculate on            5   form. You know, we're here to answer
  6    that. I've got to go with what exactly        6   questions. You ask him non-leading
  7    she told me and when she says that she let    7   questions and he'll answer it, okay?
  8    him have sex with her, whether he had his     8   Q. (By Ms. Bolger) You can answer the
  9    hands on her hips at that point, she's        9   question I asked you.
 10    letting him do the act in her words.         10             MR. COCKRELL: If you know
 11    Q. (By Ms. Bolger) And that's it?            11   what she asked you, you can answer.
 12    That's the only words you read in this       12   A. Can you ask it again?
 13    entire interview, the only words that mean   13   Q. (By Ms. Bolger) Sure. What I said
 14    anything to you are she let him do it?       14   was is it your seriously your testimony as
 15    Every other factor that I just talked        15   you sit here that just because she said he
 16    about, you just ignore when she says those   16   let him have sex with her, you were
 17    magic words?                                 17   entitled to ignore everything else she
 18              MR. COCKRELL: Object to the        18   said, including that she was held down,
 19    form.                                        19   including that she was taken to a place
 20    A. You have to look at the totality          20   she didn't know where it was, including
 21    of the circumstances.                        21   that he took her phone, including that she
 22    Q. (By Ms. Bolger) Apparently you            22   told him she wanted to let you go, you
 23    don't think you do. Apparently you think     23   could ignore all of that and just focus on


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  1    fact that she said he let her do? You're      1   you've got no probable cause to arrest
  2    saying that's okay?                           2   T. J. Bunn; right?
  3              MR. COCKRELL: Object to the         3             MR. COCKRELL: Object to the
  4    form.                                         4   form.
  5    A. I'm just saying that based on the          5   A. Right, I don't have probable cause
  6    Alabama law, that that is not enough to       6   at that point.
  7    meet the elements of rape.                    7   Q. (By Ms. Bolger) Do you have
  8    Q. (By Ms. Bolger) After this                 8   probable cause for any kind of search
  9    interview did you feel you had probable       9   warrant?
 10    cause to arrest T. J. Bunn?                  10   A. I didn't think we did, no.
 11    A. No.                                       11   Q. Why not? What did you need?
 12    Q. Why not?                                  12   A. We need the elements of rape.
 13    A. Just based on the statement, you          13   Q. What did you need her to say to
 14    know. Yes, we need to talk to him but        14   get a search warrant?
 15    based on the statement no, we did not have   15   A. Like I said, she needed to meet
 16    probable cause.                              16   the elements of the rape statute.
 17    Q. So you know this man took this            17   Q. I'm asking you what words you
 18    woman to an isolated house that she          18   needed her to the say to meet the elements
 19    doesn't know where she is, she can't         19   of the rape statute?
 20    remember anything about how she got there,   20   A. That -- well, just for example,
 21    she doesn't know his name, she says she      21   you know, she didn't let him have sex with
 22    wants to go, he holds her down by the        22   her, that she actually told him no, I
 23    hips, he takes her phone and you think       23   don't want to have sex.

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  1    Q. As an investigator in the Homicide         1   form.
  2    Unit in Tuscaloosa, is it the case that       2   A. Yes, it's my job to investigate
  3    you always take what everybody says when      3   the crime.
  4    they're a witness and they're coming to       4   Q. (By Ms. Bolger) Okay. But you
  5    you and you take it as gospel truth, you      5   were content to just not say there was any
  6    never question it?                            6   probable cause here because one time she
  7              MR. COCKRELL: Object to the         7   said she let him have sex with her; right?
  8    form.                                         8   A. The investigation did not end
  9    A. You're always, you know, not               9   there. We still followed up with the
 10    skeptical, but you believe as much as you    10   investigation.
 11    can, I guess you could say it that way.      11   Q. But there was no arrest warrant;
 12    Q. (By Ms. Bolger) Right. So when            12   right?
 13    Megan Rondini told you she let him have      13   A. No.
 14    sex with her and then said a whole bunch     14   Q. And there was no search warrant;
 15    of other stuff, wasn't it your job as an     15   right?
 16    investigator trying to reconcile those       16   A. No.
 17    statements?                                  17   Q. Do you know what a pretext phone
 18         I mean, are you really letting          18   call is?
 19    someone have sex with you if they're         19   A. No.
 20    holding you down? Wasn't it your job as      20   Q. Before you left the hospital had
 21    an investigator to get to the bottom of      21   you reached any conclusions, or I guess
 22    what happened here?                          22   you had reached conclusions about Megan
 23              MR. COCKRELL: Object to the        23   Rondini's allegations; right?


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  1          You had reached the conclusion         1   Q. Who is we?
  2    that she didn't meet the elements of         2   A. Josh Hastings and I.
  3    sexual assault; right?                       3   Q. Did you drive in the same car?
  4    A. Up to that point.                         4   A. No.
  5    Q. And you reached the conclusion            5   Q. You drove separately?
  6    that she said nothing other than that the    6   A. Yes.
  7    sex was consensual; right?                   7   Q. Why is that?
  8               MR. COCKRELL: I missed that       8   A. It's just standard on the calls
  9    last question. Can you slow it down a        9   that, you know, we may get pulled in
 10    little bit?                                 10   different directions, you know, whatever
 11    Q. (By Ms. Bolger) You had reached          11   call we may be on, so we just always drive
 12    the conclusion that she had said nothing    12   separately.
 13    other than that the sex was consensual;     13   Q. Okay. Did you talk before you
 14    right?                                      14   went to Bunn's house?
 15               MR. COCKRELL: Object to the      15   A. I don't remember.
 16    form.                                       16   Q. Did you talk to Captain Hart or
 17    A. Yes, she didn't -- she didn't say        17   Captain Hood before you went to Bunn's
 18    it was other than consensual.               18   house? Actually let my strike that
 19    Q. (By Ms. Bolger) After your               19   question, and I'll do it differently.
 20    interview with Ms. Rondini, what happened   20        Had you spoken to Captain Hood
 21    next in the investigation?                  21   that morning?
 22    A. We drove out to the Bunn residence       22   A. At that point, no.
 23    in Cottondale.                              23   Q. Had you spoken to Captain Hart

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  1    that morning?                                1   A. To his house was probably about
  2    A. No.                                       2   eight miles, eight to ten miles I would
  3    Q. Had you spoken to Hastings that           3   say.
  4    morning before -- other than in              4   Q. And about how long time-wise does
  5    interviewing Ms. Rondini, had you spoken     5   that take?
  6    to Investigator Hastings, just the two of    6   A. 20 minutes.
  7    you?                                         7   Q. What time did you get there?
  8    A. I don't remember.                         8   A. I can't remember.
  9    Q. About the case obviously.                 9   Q. I will tell you that from what I
 10    A. I'm sorry, that last part broke --       10   can piece together, it appears you got
 11    Q. I said about the case obviously.         11   there around 6:20 in morning. Does that
 12    I mean had you spoken about this matter.    12   sound right to you?
 13    A. I don't remember that.                   13   A. Seems like I do remember the sun
 14    Q. So after you interviewed with            14   coming up, so that's probably right.
 15    Ms. Rondini, did you share your             15   Close.
 16    impressions of the interview with           16   Q. And who got there first, you or
 17    Mr. Hastings, Investigator Hastings?        17   Investigator Hastings?
 18    A. I don't remember.                        18   A. I think we pulled up relatively
 19    Q. Did he say anything to you about         19   the same time.
 20    the interview with Ms. Rondini?             20   Q. And when you got out of the cars,
 21    A. I don't remember that.                   21   what did you guys do next?
 22    Q. How long is the drive from DCH to        22   A. We went to the front door.
 23    Cottondale?                                 23   Q. Did you go together?


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  1    A. Yes.                                       1   outside the house?
  2    Q. Both of you went to the front door         2   A. Yes.
  3    together?                                     3   Q. And you both waited until Mr. Bunn
  4    A. Yes.                                       4   came to the door?
  5    Q. And had you talked about what you          5   A. Yes.
  6    were going to ask Mr. Bunn or what the        6   Q. Okay. And what happened next?
  7    next step was going to be?                    7   A. I don't remember the general
  8    A. We didn't have -- to my knowledge,         8   statements that were made. I think Josh
  9    we didn't have a conversation about what      9   just basically laid it out there why we
 10    we were going to ask him. I believe Josh     10   were there and asked if he had taken a
 11    walked to the door first, so he did -- he    11   female home that night and he said no.
 12    talked to him at that point. I don't -- I    12        I believe he may have asked him --
 13    don't ever remember even speaking with       13   Josh in at that point, and then I started
 14    him.                                         14   to walk around the outside of the
 15    Q. Okay. So what happened -- did you         15   residence.
 16    knock on the door or ring the doorbell?      16   Q. Okay. So when you said
 17    A. I don't remember.                         17   Investigator Hastings laid out why we were
 18    Q. But at some point Mr. Bunn came to        18   there, what did he say?
 19    the door?                                    19   A. Like I say, I don't remember
 20    A. Yes.                                      20   general statements, but I believe he was
 21    Q. Did it take a while?                      21   just asking if he remembered taking a
 22    A. Seems like it did.                        22   female home that night and where he had
 23    Q. And were both of you waiting              23   been, just, you know, general statements

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  1    or general questions, I should say, at        1   Q. And does that make -- did that
  2    that point.                                   2   make you-all suspicious of Mr. Bunn at
  3    Q. Did he tell Mr. Bunn in words or           3   all?
  4    substance that you-all were investigating     4   A. Well, I mean, suspects, you know
  5    a sexual assault?                             5   -- well, people in general lie to the
  6    A. I don't remember that part of it,          6   police every day, so, you know, it's part
  7    because like I say, I had started walking     7   of the investigation, you know, that we
  8    on the outside of the house and I know he     8   can use, but it doesn't mean, you know, we
  9    hadn't started an interview yet, so it's      9   can put him in handcuffs at that point,
 10    not recorded or anything like to this        10   no.
 11    point, but they were in a conversation and   11   Q. That's not what I asked you. I
 12    I started walking on the outside of the      12   asked you if it made you suspicious?
 13    house, just the perimeter of the             13   A. I mean, I guess it would, but like
 14    residence.                                   14   I say, you know, people lie to the police
 15    Q. Were you there when Mr. Bunn lied         15   every day, so I guess you get used to it.
 16    to you-all about the fact that he had        16   Q. So would you be more suspicious of
 17    taken a woman home the night before?         17   someone who lies to you or less suspicious
 18    A. I don't remember that. I was              18   of someone who lies to you?
 19    probably walking around the perimeter of     19   A. More suspicious.
 20    the house.                                   20   Q. So did anyone ask any follow-up
 21    Q. You know that Mr. Bunn did lie to         21   questions of him, like why are you lying
 22    Investigator Hastings; correct?              22   to us?
 23    A. I do know that, yes.                      23   A. I don't remember that.


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  1    Q. You don't remember that happening;         1   to see if I could locate where she
  2    right?                                        2   described going out the window, and I
  3    A. Yeah, I don't remember that                3   believe there was a cooler and a trash can
  4    happening.                                    4   that she had stacked up. I wanted to see
  5    Q. Because it didn't happen; right?           5   if I could locate that.
  6             MR. COCKRELL: Object to the          6   Q. Okay. And were you able to do
  7    form.                                         7   that?
  8    A. I'm just saying that I was walking         8   A. Yes.
  9    on the perimeter of the house. I don't        9   Q. And where was it?
 10    remember that at all.                        10   A. It was on the backside of the
 11    Q. (By Ms. Bolger) So as you sit here        11   residence.
 12    you don't know if that ever happened?        12   Q. And then did something happen with
 13    A. I don't.                                  13   that window?
 14    Q. In fact, it didn't happen, did it?        14   A. I heard it close while I was
 15             MR. COCKRELL: Object to the         15   walking back there.
 16    form.                                        16   Q. Okay. So you heard the window
 17    A. I don't know.                             17   close?
 18    Q. (By Ms. Bolger) So you went around        18   A. Yes.
 19    to walk the perimeter of the house. Why      19   Q. Did you see the window close?
 20    did you want to walk the perimeter of the    20   A. I think it was more of I heard the
 21    house?                                       21   snap of the window close and then saw
 22    A. When she was telling us about how         22   maybe the drapes close.
 23    she went out a window, you know, I wanted    23   Q. So it was Mr. Bunn closed that

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  1    window; right?                                1   says she climbed out of, and he said he
  2             MR. COCKRELL: Object to the          2   needs a lawyer.
  3    form.                                         3        Are you getting suspicious of
  4    A. I don't know who closed it. You            4   Mr. Bunn's ability to tell you the truth?
  5    know, that -- I called Josh at that point     5   A. Yes.
  6    and said I think a window just closed and     6   Q. So what did you do next?
  7    that's how I let him know that.               7   A. When he requested his attorney,
  8    Q. (By Ms. Bolger) What did he say in         8   you know, he's invoking his rights at that
  9    response?                                     9   time, so we get out of the residence, and
 10    A. From what I understand, he asked          10   at that time we're probably going to try
 11    Bunn if he closed a window, and that's       11   to see -- put everything that we've got
 12    when he said I believe I need to talk to     12   together to get a search warrant.
 13    my lawyer.                                   13   Q. Okay. So why did you have to
 14    Q. Okay. So just so I understand it,         14   leave the house?
 15    you heard a window close. You told           15   A. Well, with him -- at that point we
 16    Hastings, Investigator Hastings, that a      16   didn't have enough for a search warrant.
 17    window had closed, and he said to Bunn did   17   We both discussed that we didn't have
 18    you just close a window, and Mr. Bunn said   18   enough to get a search warrant in our
 19    I need my lawyer; right?                     19   minds, so --
 20    A. I believe that's the way it               20   Q. Why not?
 21    happened.                                    21   A. -- we just didn't feel like, you
 22    Q. Okay. So now Mr. Bunn has lied to         22   know, she said she went out a window. You
 23    you, he's closed the window the victim       23   know, that's in line with her story that


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  1    she's told us, but going back to what her     1   information from the victim.
  2    statement said, you know, the elements of     2         When I stopped by, she was in the
  3    that crime of rape was not met, so, you       3   middle of the exam so I went on to the
  4    know, we're still looking to investigate      4   office and was waiting for information,
  5    this.                                         5   anything that we could get that I could
  6          If he's asking for his attorney,        6   possibly type up a search warrant.
  7    you know, we're trying to do this without     7   Q. Okay. So at the door with
  8    having to get a search warrant just           8   T. J. Bunn he lies to you. He closes a
  9    because it would be quicker that way, so      9   window. Megan Rondini has said that he
 10    when he invokes his rights we decide, you    10   held her down, that she didn't want to
 11    know, we're going to leave, go back to the   11   have sex with him, that he took her phone,
 12    office and just go with what we've got.      12   that she climbed out a window, and you
 13           We leave the residence, and I         13   still don't think you have enough for a
 14    believe Josh said that -- he called me on    14   search warrant?
 15    the LINC, and that's the radios that we      15             MR. COCKRELL: Object to the
 16    use, he said you know I think we need --     16   form.
 17    let's just let the judge tell us no.         17   Q. (By Ms. Bolger) Is that right?
 18          He turned around and went back and     18             MR. COCKRELL: Object to the
 19    pulled him and the guy that was in the       19   form.
 20    house with Bunn pulled him out of the        20   A. Yes.
 21    house and they locked the house down at      21   Q. (By Ms. Bolger) Do all sexual
 22    that point. I was going to go back by the    22   crimes in the state of Alabama require
 23    hospital to try to get some more             23   earnest resistance?

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  1    A. No.                                        1   think about trying to do everything we can
  2    Q. So you didn't need her to                  2   for the victim that's at the hospital
  3    earnestly resist?                             3   without messing the case up, you know, as
  4              MR. COCKRELL: Object to the         4   far as, you know, if we stay in the house
  5    form.                                         5   he's asked us -- or he's invoked his
  6    Q. (By Ms. Bolger) You're                     6   rights to a lawyer, and we were to keep
  7    investigating for a crime; right?             7   standing there questioning him, you know,
  8    A. Well, you just asked for sexual            8   that's going -- it will mess the case up
  9    crimes. Rape requires earnest resistance.     9   from there, so --
 10    There's other sexual crimes --               10   Q. Yeah, but why couldn't you arrest
 11    Q. Well, sexual misconduct doesn't,          11   him for sexual misconduct at this point?
 12    does it?                                     12   What was the element --
 13              MR. COCKRELL: Object to the        13             MR. COCKRELL: Object to the
 14    form.                                        14   form.
 15    A. I don't know the statute for              15   Q. (By Ms. Bolger) -- missing from
 16    sexual misconduct. I would just have to      16   sexual misconduct that prevented you from
 17    read it to make sure.                        17   arresting T. J. Bunn?
 18    Q. (By Ms. Bolger) Why couldn't you          18   A. I don't remember anything specific
 19    arrest him for that?                         19   that he could be arrested for on that.
 20    A. Did it meet the elements? I don't         20   Q. Did Mr. Bunn invoke his right to a
 21    know.                                        21   lawyer? You were in the house; right?
 22    Q. Well, did you think about that?           22   A. Yes, I wasn't -- I'm sorry, I was
 23    A. Well, at the time we're trying to         23   not in the house. It was Investigator


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  1    Hastings.                                     1   Hastings into the house; right?
  2    Q. I'm sorry, you said that. I                2   A. When we originally got there.
  3    didn't mean to mislead you.                   3   Q. Right. So Investigator Hastings
  4          Investigator Hastings was in the        4   was there and he invited Investigator
  5    house. He invoked his right to a lawyer;      5   Hastings into the house; right?
  6    right?                                        6              MR. COCKRELL: Can you --
  7    A. Yes.                                       7   I'm having trouble understanding the
  8    Q. When someone invokes their right           8   questions. Can you slow them down a
  9    to a lawyer, you don't have to leave, do      9   little bit?
 10    you?                                         10              MS. BOLGER: Sure.
 11    A. No, I mean, it was basically the          11              MR. COCKRELL: I couldn't
 12    questioning at that point, and we're         12   hear you myself.
 13    leaving because he's wanting to talk to      13   Q. (By Ms. Bolger) You testified
 14    his lawyer, so, you know, it becomes one     14   about two minutes ago that when you got to
 15    of those issues is it, you know, Fourth      15   the house, you rang the doorbell, Bunn
 16    Amendment type thing that, you know, we      16   came in, and invited Investigator Hastings
 17    need to back out, get a search warrant, so   17   into the house; correct?
 18    that's what we were looking at.              18   A. Yes.
 19    Q. Did he tell you to leave the              19   Q. Okay. So he was in the house at
 20    house?                                       20   Bunn's invitation; correct?
 21    A. I don't remember if he told him           21   A. Yes.
 22    that.                                        22   Q. Okay. So then investigator --
 23    Q. In fact, he invited Investigator          23   then Mr. Bunn invokes his right to an

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  1    attorney, but you weren't obligated to        1   for lack of a better word, changed his
  2    leave the house at that moment. You were      2   mind and said let the judge tell us no and
  3    obligated to stop asking him questions;       3   went back to the house; right?
  4    correct?                                      4             MR. COCKRELL: Object to the
  5              MR. COCKRELL: Object to the         5   form.
  6    form.                                         6   A. He's just saying, well, let's just
  7    A. That's what we decided to do, was          7   let the judge tell us no. I mean, if we
  8    to try to get a search warrant.               8   don't have enough for a search warrant,
  9    Q. (By Ms. Bolger) You just told me           9   then the judge is going to have to be the
 10    you couldn't get a search warrant.           10   one to say you don't have enough for a
 11    A. I didn't think we had enough. We          11   search warrant.
 12    were going to do everything we could to      12   Q. (By Ms. Bolger) Right. But he
 13    get one.                                     13   changed -- that's a change in position;
 14    Q. I still don't know why you left           14   right? You leave? You both leave; right?
 15    the house. Can you explain to me why         15   A. Yes.
 16    Mr. Bunn's decision to invoke his right to   16   Q. And then Investigator Hastings
 17    an attorney caused you both to leave the     17   changes his mind and goes back; right?
 18    house and leave him in it in a place that    18   A. It was a mutual decision on our
 19    was an alleged crime scene?                  19   part. You know, I'm just saying that
 20    A. There again, that was a decision          20   that's why, you know, we went back, there
 21    that we made to try to get a search          21   again, to lock the scene down and just go
 22    warrant for the house.                       22   with what we had to get the search
 23    Q. But then you said that Hastings,          23   warrant.


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  1    Q. Right. But you changed your mind           1   A. 11?
  2    to go back? You made a mutual decision to     2   Q. I'm sorry. I'm looking at the
  3    go back; right?                               3   clock. You left the house at -- sorry,
  4    A. Yes.                                       4   7:25 in the morning and you came back at
  5    Q. Okay. And that's because you               5   7:40 in the morning; right?
  6    decided that leaving was the wrong            6   A. That sounds right.
  7    decision; right?                              7   Q. So it's 15 minutes; right?
  8              MR. COCKRELL: Object to the         8   A. It didn't seem like it was that
  9    form.                                         9   long but I guess -- what's the times --
 10    A. Not necessarily a wrong decision.         10   where is that time at? Is it on a sheet
 11    I think, you know, we're taking everything   11   as far as like --
 12    into account that we know thus far, and at   12   Q. Yes, it's on a timeline created by
 13    that point we didn't feel like or before     13   the attorney general's office. I can show
 14    we left we didn't feel like it was enough    14   it to you later --
 15    for a search warrant, but with, you know,    15   A. I'm not doubting you. I'm just
 16    just a couple of minutes down the road we    16   saying I can't remember what --
 17    decided, you know, let's just see if we      17   Q. Okay. So between 7:25 and 7:40 is
 18    can get a search warrant for the house.      18   15 minutes. We can agree to that; right?
 19    Q. It wasn't a couple of minutes. It         19   A. Okay, okay, yes.
 20    was about 15 minutes; right?                 20   Q. Okay. So what happened, what
 21    A. I don't think it was that long.           21   piece of information did you get between
 22    Q. Well, you left the house at 11:25         22   7:25 and 7:40 to decide to turn the car
 23    and you came back at 11:40; right?           23   around?

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  1    A. No new information.                        1   A. I'm sure he probably did. I just
  2    Q. Did you and Investigator Hastings          2   don't remember it.
  3    speak to each other during that time?         3   Q. When did you speak to Captain
  4    A. Over our LINC radios, yes.                 4   Hood? When do you remember speaking to
  5    Q. What did you say to each other?            5   Captain Hood?
  6    A. Pretty much what I've told you,            6   A. It would have been after I got to
  7    that, you know, we're just going to go        7   the office. I don't remember a time that
  8    back and see if we can lock the residence     8   I spoke with him. It would have been when
  9    down and get them out of the house and        9   I was back at the homicide office.
 10    I'll go back to the office, and I was        10   Q. How about Captain Hart? When did
 11    going to swing by the hospital to try to     11   you first speak to then Lieutenant Hart?
 12    get some more information if possible from   12   A. It would have been the same -- I'm
 13    the victim and then go straight to the       13   not saying that I talked to them at the
 14    office to try to type the search warrant     14   same time, but it would have been when I
 15    up.                                          15   was back at the office.
 16    Q. Did you speak to Captain Hood             16   Q. Somebody called Hart from the
 17    during that 15 minutes?                      17   crime scene -- sorry, someone called Hart
 18    A. I don't remember.                         18   from Bunn's house; right?
 19    Q. Well, you did speak to Captain            19            MR. COCKRELL: Object to the
 20    Hood that morning; right?                    20   form.
 21    A. Yes.                                      21   A. It's possible.
 22    Q. In fact, Captain Hood went to             22   Q. (By Ms. Bolger) Well, we have
 23    T. J. Bunn's house; right?                   23   video of someone saying, call Kip. Were


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  1    you one of the people who said call Kip?      1            MR. COCKRELL: Object to the
  2    A. No.                                        2   form.
  3    Q. Did you speak to Captain Hart in           3   A. I have no idea.
  4    the 15 minutes between 7:25 and 7:40 a m.?    4   Q. (By Ms. Bolger) What's that?
  5    A. I don't remember that.                     5   A. I have no idea.
  6    Q. Did you speak to Sheriff Abernathy         6   Q. Right. He could have done
  7    at any point --                               7   anything; right?
  8    A. No.                                        8   A. Right.
  9    Q. -- the morning of the alleged --           9   Q. So now you have an alleged suspect
 10    of the investigation?                        10   who a woman has said took her to a place
 11    A. Not at all.                               11   she didn't know, took her phone, held her
 12    Q. Okay. So at 7:25 after Mr. Bunn           12   down by the hips, who she told she wanted
 13    lies to you and closes the window and        13   to have sex with, who's lied to you, who
 14    tells you he needs his lawyer, you guys      14   closed a window, who invoked his lawyer
 15    left the scene and he was completely by      15   and he's completely by himself in the
 16    himself in his house -- well, he and his     16   crime scene; right?
 17    buddy were in his house alone between 7:25   17            MR. COCKRELL: Object to the
 18    and when you returned at 7:40; right?        18   form.
 19    A. Yes.                                      19            You can answer.
 20    Q. And what did he do during that            20   A. Yes.
 21    time?                                        21   Q. (By Ms. Bolger) Seems like that
 22    A. What did he do?                           22   may not be best practices to me, what do
 23    Q. Yes.                                      23   you think?

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  1               MR. COCKRELL: Object to the        1   that's been committed, take it over to a
  2    form.                                         2   judge, or they have a duty judge in
  3    A. There again, we were going by --           3   Tuscaloosa, certain ones that's on call,
  4    up and to that point we were going with       4   so that's why they call it a duty judge.
  5    everything that we had, with her              5         You take it to that judge. He
  6    statement, and an open window, you know,      6   determines if enough probable cause is
  7    is not enough to arrest anybody for rape      7   there to sign the search warrant.
  8    or anything like that. It goes along with     8   Q. Can you do it by phone?
  9    her statement, but we just have to get        9   A. No.
 10    more to meet the element of the crime.       10   Q. You have to hand deliver a
 11    Q. (By Ms. Bolger) Then why come             11   document; right?
 12    back? Why go back?                           12   A. Yes.
 13    A. We just -- to get, you know, to           13   Q. Well, if Megan had -- or
 14    try to get a search warrant for the house.   14   hypothesize a victim you believed in the
 15    We just didn't think we had enough, so we    15   hospital had been sexually assaulted. If
 16    were going to say well, let's just --        16   you wanted to get a search warrant, would
 17    let's let the judge tell us no. If we        17   you go to the judge before you went to the
 18    don't have enough, we don't have enough.     18   suspect's house or would you go to the
 19    We didn't think we had enough.               19   suspect's house and then get the search
 20    Q. What's the process for getting a          20   warrant?
 21    search warrant?                              21   A. It just depends on the case. It
 22    A. You type up a complaint, you know,        22   varies.
 23    include any probable cause for a crime       23   Q. Okay. Well, in other cases, if


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  1    there was a complaining witness at the        1   last question.
  2    hospital, who you believed had been           2   Q. (By Ms. Bolger) What's your usual
  3    sexually assaulted, would you go -- did       3   practice? What was your usual practice?
  4    you go right to a judge to get a search       4   A. Usually going to the scene, you
  5    warrant or did you go to the suspect's        5   know, sometimes you try to get consent
  6    home?                                         6   before you get a search warrant just
  7    A. There again, it's just going to            7   because it's a lot less time involved.
  8    vary. You know, certain -- I mean, that's     8   Q. Okay. Well, you returned to this
  9    the only way I can describe it. It's just     9   house at 7:40 and what happened next?
 10    going to vary from case to case. It's        10   A. I believe other investigators
 11    just different.                              11   started -- they showed up at his house,
 12    Q. Okay. Well, tell me have you ever         12   and at some point somebody, I don't know
 13    been in the hospital, interviewed a woman    13   who, called -- or they didn't call, he
 14    who said she was raped who you believed      14   spoke with Bunn's attorney, and I don't
 15    had met the elements of the crime, have      15   know which investigator it was but I know
 16    you ever gone right from the hospital to     16   that somebody on the scene out there
 17    the suspect's home in those circumstances?   17   talked with Bunn's attorney.
 18    A. I don't remember.                         18   Q. Okay. There was a lot in that
 19    Q. What do you mean you don't                19   answer so let me unpack it.
 20    remember? How could you not remember         20        Did you, yourself, go back to the
 21    that?                                        21   Bunn house?
 22    A. I don't remember.                         22   A. No.
 23              MR. COCKRELL: Object to the        23   Q. So Investigator Hastings went back

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  1    to the Bunn house; right?                     1   at the house?
  2    A. Yes.                                       2   A. As updates would come in, I mean,
  3    Q. And where did you go?                      3   you know, it takes a while to take photos
  4    A. I went back to the homicide                4   and video, so, you know, they really don't
  5    office.                                       5   ever call during that -- the processing
  6    Q. Okay. Why did you go back to the           6   time unless they find something. You
  7    homicide office?                              7   know, at this particular time I don't
  8    A. To type up a search warrant.               8   remember getting a call from anybody.
  9    Q. Okay. Did you ultimately type up           9   Q. Do you remember hearing anything
 10    that search warrant?                         10   about anybody actually questioning Bunn?
 11    A. No, they advised me that he had           11   A. I think they got a statement from
 12    given consent.                               12   him on the scene. There again, I don't
 13    Q. Who advised you?                          13   remember who exactly it was that talked to
 14    A. I can't remember who called me            14   him.
 15    that day. It was somebody on the scene       15   Q. That morning did you know the
 16    said that he had given consent to search     16   contents of the statement he gave?
 17    the house and process the house, so I        17   A. No.
 18    didn't do a search warrant.                  18   Q. When did you first know the
 19    Q. Were you involved at all, as you          19   contents of the statement he gave?
 20    put it, processing the house?                20   A. It would have been later on that
 21    A. No.                                       21   afternoon probably.
 22    Q. Were you getting updates from             22   Q. So you were the lead investigator
 23    Hastings or other investigators who were     23   in the case and he's the suspect. Is it


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  1    unusual that you didn't stay to interview     1   did.
  2    the suspect?                                  2   Q.     (By Ms. Bolger) So why didn't you
  3    A. That's not -- that's not unusual.          3   search the house then?
  4    Q. Why not?                                   4   A.     Well, there again, you know, with
  5    A. Well, it's a lot of moving parts           5   him invoking his right, you know, how much
  6    in an investigation, and, you know, that's    6   is going to get thrown out in court
  7    why they usually team people up.              7   potentially down the road if we stay there
  8    Sometimes it's more than one team, and,       8   and, you know, he's wanting to talk to his
  9    you know, sometimes the lead investigator     9   lawyer. You know, I'm just -- I'm just
 10    may question both victim and suspect.        10   giving you a for instance of what may be
 11    Sometimes it's split. You know, there's      11   going through our minds at that point, I
 12    really -- there was nothing unusual about    12   can't remember, but that sounds reasonable
 13    the way it was done as far as the            13   that we were thinking that way.
 14    interview, so.                               14   Q.     Well, if he signs a consent form
 15    Q. One of the consent forms that was         15   at 6:47 in the morning and in vehicles his
 16    signed by Bunn seems to -- says it was       16   attorney at 7:15 in the morning, that's
 17    signed at 6:47 in the morning. Did           17   half an hour. Did you search the house in
 18    Mr. Bunn sign a consent to search form       18   that half an hour?
 19    before you left the house the first time?    19   A.     I don't believe so.
 20              MR. COCKRELL: Object to the        20   Q.     Did you start searching the house
 21    form.                                        21   in that half an hour?
 22    A. I believe he signed one when it           22   A.     I think it was more -- there
 23    was just me and Josh there, I believe he     23   again, I wasn't talking with him, but I

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  1    know that, you know, you get further with     1   A. Well, there again, you know, by
  2    people if you're talking nice to them and     2   signing a consent form it could be revoked
  3    trying to, you know, not alarm them that      3   at any time.
  4    you're fixing to be looking through their     4   Q. Did he revoke it?
  5    house.                                        5   A. I don't know. I mean, not that
  6          So, you know, I feel like Josh he       6   I'm aware of.
  7    does a good job with building rapport with    7   Q. No, he didn't invoke it -- I'm
  8    suspects, and I feel like that's probably     8   sorry, he didn't revoke it that you know
  9    what he was doing during that time, just      9   of; right?
 10    knowing the way he interviews people.        10   A. Not that I know of.
 11          And it's just, it's basically just     11   Q. So you-all could have searched the
 12    being nice to somebody to try to, you        12   house; you chose not to, right?
 13    know, get in to where you can search the     13             MR. COCKRELL: Object to the
 14    house.                                       14   form.
 15    Q. But you could search the house.           15   A. I don't know -- it wasn't that we
 16    You didn't have to ask him. You already      16   didn't search the house. It was probably
 17    had permission. You had a consent form       17   like I'm talking about, and then when I
 18    saying that you could search his house       18   called Josh about the window, then that's
 19    signed at 6:47 in morning; right?            19   when his tone changed, you know, wanting
 20          I don't understand why he was          20   his lawyer.
 21    still asking him. He had permission to       21   Q. Right. He wanted his lawyer, so
 22    search the house. Why not search the         22   that meant you have to stop questioning
 23    house?                                       23   him, but he didn't revoke the consent;


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  1    right?                                       1   Q. Okay. Are you aware that the best
  2    A. Not that I know of.                       2   practices for interviewing sexual assault
  3    Q. But you didn't search the house           3   victims is to determine the victim's
  4    anyway; right?                               4   emotional and physical stability to
  5    A. Not at that time.                         5   schedule to in-depth interview and
  6    Q. You left, left him alone in the           6   schedule the interview as soon as those
  7    house, and then came back and then you       7   factors allow?
  8    searched the house; right?                   8             MR. COCKRELL: Object to the
  9    A. Yes.                                      9   form.
 10    Q. You said you went back to the            10   A. I know that that's a guideline to
 11    office to do a search warrant, but then     11   use, but, you know, in this situation we
 12    you didn't have to do a search warrant      12   don't have enough to get -- I mean, I'm
 13    because Bunn consented another time to      13   sorry, to get an arrest warrant for Bunn.
 14    search his house, so what did you do back   14         We're trying to get as much
 15    at the office while Investigator Hastings   15   information from our victim as possible
 16    and colleagues were at the house?           16   because, you know, we can't hold him. We
 17    A. I was trying to get back in touch        17   don't have an investigative hold here, so
 18    with the victim because we just -- we       18   I'm trying to get as much information to
 19    needed to talk to her to get some more      19   where I can build this case to, you know,
 20    details about what was going on or what     20   if there's enough there that we can make
 21    went on, and that's what I was trying to    21   an arrest, we're going to arrest him.
 22    do is get her back into the office to       22   Q. (By Ms. Bolger) Well, you're --
 23    interview her.                              23   you're letting Bunn have his house to

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  1    himself, but you're trying to get            1   A. You're asking about questions. We
  2    information from Megan; right?               2   didn't ask him any questions.
  3              MR. COCKRELL: Object to the        3   Q. So what time did you first see
  4    form.                                        4   Megan?
  5    A. At that point the investigators           5   A. I can't remember the exact time
  6    were out there.                              6   she came back in the office. I would say
  7    Q. (By Ms. Bolger) Well, right,              7   it was 11 o'clock.
  8    before then. You waited 30 minutes,          8   Q. There's actually something I don't
  9    didn't do anything when you had a consent    9   quite understand about the timing of the
 10    to investigate and you left the house --    10   window closing at the house, so let me
 11              MR. COCKRELL: Object to the       11   just talk about that before we talk about
 12    form.                                       12   Megan.
 13    Q. (By Ms. Bolger) -- Mr. Bunn got to       13        So you said the window closed
 14    stay in the house by himself, so you        14   while Hastings, Investigator Hastings, was
 15    weren't asking him questions, you were      15   talking to Bunn?
 16    only trying to get to Megan; right?         16   A. From what I understand, they -- he
 17              MR. COCKRELL: Object to the       17   went in. They went up to -- upstairs and
 18    form.                                       18   as I'm walking around the perimeter of the
 19    A. He's invoked his right. We can't         19   house, that's when I hear the window close
 20    ask him any questions.                      20   and I see the curtains moving, and I
 21    Q. (By Ms. Bolger) He didn't revoke         21   called Josh on the LINC and say I think
 22    his consent to search his house; right?     22   the window just closed.
 23    We've agreed on that.                       23        I don't know -- I can't remember


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  1    where he said that he was at in the room.     1        I want to say that he was either
  2    I'm pretty sure he was upstairs, which I'm    2   at the top of those stairs right there at
  3    pretty sure Josh was upstairs. I know         3   the house, but I can't say for sure.
  4    Bunn was in the room, in the bedroom where    4   Q. Is it your usual practice to not
  5    window closed, but that's when he asked       5   to try to alarm suspects in violent crime
  6    him about the window closing.                 6   investigations?
  7    Q. So Hastings was actually upstairs          7   A. Well, if you're wanting to get
  8    in the -- in or around the bedroom where      8   some cooperation it's better not to alarm
  9    the alleged crime took place when Bunn was    9   them.
 10    closing the window?                          10   Q. Why did you want cooperation?
 11              MR. COCKRELL: Object to the        11             MR. COCKRELL: What was the
 12    form.                                        12   last word? I didn't hear it.
 13    A. I don't remember exactly. I think         13             MS. BOLGER: Cooperation.
 14    that he said he was.                         14   A. Well, like I say, it would be a
 15    Q. (By Ms. Bolger) So Hastings didn't        15   lot easier to get cooperation than have to
 16    just stay in the foyer, he went throughout   16   go through more paperwork to get search
 17    the Bunn house?                              17   warrants to search the house.
 18    A. No, I don't -- that didn't --             18   Q. But you had cooperation by that
 19    there again, I think he's talking to him     19   part. He had signed the consent form to
 20    the whole time trying to, you know, alarm    20   search. Why are you still bothering to
 21    him of why we're here, you know, but I       21   get cooperation if you've already got the
 22    don't -- I can't remember exactly where he   22   consent to search?
 23    was at when that window closed.              23   A. Like I say, it was a large house.

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  1    I don't know where they walked when they      1   A. We just didn't.
  2    went in the house, but it was going to        2   Q. Okay. So you're back at the
  3    take more than 30 minutes to search that      3   police station and Megan came in and you
  4    house.                                        4   don't remember what time. Do you have a
  5    Q. But you guys didn't even start;            5   sense of how long it was between when you
  6    right?                                        6   returned and when Megan came?
  7    A. I didn't go into search, no.               7   A. It was probably a couple of hours
  8    Q. In that first visit to the Bunn's          8   I think.
  9    house when he signed the consent search,      9   Q. It was apparently approximately
 10    the first time, did you-all know there was   10   around 11:25 in the morning. Does that
 11    another person in the house?                 11   sound right to you?
 12    A. I believe he did tell us that at          12   A. Yes.
 13    the door.                                    13   Q. Okay. By the time Ms. Rondini
 14    Q. And who was that?                         14   came in to be questioned by you, to be
 15    A. Jason Barksdale.                          15   interviewed by you, what information, if
 16    Q. Okay. And did you ask to speak to         16   any, had you obtained from the scene at
 17    him?                                         17   the Bunn's house?
 18    A. No.                                       18   A. I don't remember anything
 19    Q. Why not?                                  19   specifically at that point.
 20    A. Well, at the time he was asleep in        20   Q. So I want to understand your
 21    the bed, and we just -- at that point we     21   answer. Did you know something and you
 22    didn't ask to speak with him.                22   don't remember what it was now or did you
 23    Q. I know. I asked why not?                  23   not know anything from the house at the


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  1    Bunn's?                                      1   things you had seen at Bunn's house;
  2    A. I'm just saying I don't remember          2   right?
  3    if they called me with any information       3   A. Yes.
  4    then or if it was later on after the         4   Q. And you had Bunn lying to you;
  5    interview started.                           5   right?
  6    Q. When you sat down to interview            6   A. Yes.
  7    Ms. Rondini at 11:25 in the morning what     7   Q. Do you know if Megan had slept
  8    did you know about the case?                 8   between when you first saw her at the
  9    A. I just knew that we had to get            9   hospital and when she came into the room?
 10    some more information at that point.        10   A. I didn't know if she had.
 11    Q. Right. But what information did          11   Q. Do you know if she had eaten?
 12    you have, you the person who was            12   A. I don't.
 13    interviewing you? What information did      13   Q. Do you have a memory of what she
 14    you have at that point?                     14   was wearing?
 15    A. Just the statement that she gave         15   A. Shorts and a T-shirt.
 16    me and when we went out to the house, as    16   Q. Do you have an impression of how
 17    far as, you know, seeing where she had      17   she looked? Did she look unhappy?
 18    stacked the cooler and trash can up and     18   Disheveled? Anything like that?
 19    the window closing. I mean, I can't         19   A. I don't remember.
 20    remember everything at that point, what     20   Q. What do you remember Megan telling
 21    information I had.                          21   you at that interview?
 22    Q. You basically had her story at the       22   A. It was pretty much the same, same
 23    hospital and actually the corroborating     23   thing, that she told me at the hospital.

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  1    Q. What do you mean by that?                 1   performed oral sex on her, she performed
  2    A. As far as the details, it was             2   oral sex on him, and then he had
  3    pretty much the same thing that she told     3   intercourse. She let him have sex with
  4    me at the hospital.                          4   her. I mean --
  5    Q. During that first impression did          5   Q. Was it your impression that she
  6    you -- during that first interview, did      6   had consensual sex with him at that point?
  7    you form an impression of what had           7   A. At that point, you know, what she
  8    happened to Megan?                           8   was telling me didn't lead me to believe
  9    A. I know she was upset but, you             9   it was a sexual assault.
 10    know, I didn't really know to the full      10   Q. What other -- what else do you
 11    extent of what happened, so that's one      11   remember about that interview?
 12    reason that we wanted to have her back in   12   A. I know she eventually told, you
 13    the office to, you know, get some more      13   know, that she got a gun out of his car.
 14    details about the alleged sexual assault.   14   She had to climb back up into his room
 15    Q. I'm saying after that interview,         15   because she was missing her car keys, or
 16    after that interview, did you have an       16   keys. I said car keys, but she's missing
 17    impression of what happened with Megan?     17   keys.
 18    A. It was really -- I mean we still         18   Q. It wasn't her car keys; right? It
 19    didn't have enough to get an arrest         19   was her house keys; right?
 20    warrant at that point.                      20   A. Yeah, I believe it was her
 21    Q. What did you think had happened?         21   apartment, yeah. I mean, just her adding
 22    A. I mean, just knowing what her            22   the information about the gun, I know
 23    statement was, you know, she -- he          23   that, and then climbing back in the window


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  1    that was new information that we had got      1             MS. BOLGER: Hey, J. T.,
  2    from -- different from the hospital.          2   would you please show the witness AR.
  3    Q. What was different?                        3             MR. THOMPSON: Yeah, hang
  4    A. Her taking the gun.                        4   on.
  5    Q. Right. Sorry, I got lost, I                5             MS. BOLGER: And, Nancy, if
  6    apologize.                                    6   you'll mark it as Exhibit 29, I would be
  7    A. And taking the -- I'm sorry,               7   grateful.
  8    stacking up the cooler in the trash can to    8        (Whereupon, a document was marked
  9    climb back in the window, that was new        9        as Defendant's Exhibit No. 29 and
 10    information.                                 10        is attached to the original
 11    Q. That's what I thought I heard you         11        transcript.)
 12    say, but she did say she climbed back in     12   Q. Before you take a look at it,
 13    the window at the hospital? She did tell     13   sorry, I should have asked you this.
 14    you she went back into window?               14   Before Megan came in for her interview at
 15    A. I'm looking.                              15   11:25, had you spoken to Captain Hood
 16    Q. I'm looking at it. She says, I            16   about Megan's allegations?
 17    got a cooler and a trash can and I jumped    17   A. If I did, I don't remember it.
 18    onto the cooler and the trash can to try     18   I'm sure I probably did because everybody
 19    and back up and see if I could get my        19   in the office was working on this case, so
 20    keys, so she did tell you that at the        20   I'm pretty sure that I spoke with him
 21    hospital.                                    21   about it.
 22    A. Okay, yes, yes.                           22   Q. Why was everybody in the office
 23    Q. Okay.                                     23   working on this case?

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  1    A. Well, I mean, it's just helping            1         When did you learn that he was
  2    with the timeframe, searching the whole       2   fixing to leave town?
  3    house, processing everything, and             3   A. I don't remember that time. It
  4    following up with the taxi driver, you        4   was -- I don't remember.
  5    know, that's another team in another          5   Q. What do you remember about it?
  6    direction. I mean it was just a lot of        6   A. I just remember him saying that he
  7    moving parts going right then.                7   had a planned trip to go out of town.
  8    Q. Does everybody in the office work          8   Q. Okay. And what did that -- what
  9    on every case in the Homicide Unit?           9   did that cause you-all to do?
 10    A. Not every case.                           10   A. Well, like I say, we were just
 11    Q. Why were there so many people             11   trying to get as much evidence as we can,
 12    working on this particular case?             12   and if we can get the evidence and make
 13    A. Well, it was just, you know, he           13   this case to get the arrest warrant, we're
 14    was saying he was fixing to go out of town   14   -- that's what we're trying to do.
 15    so we wanted to get as much information      15   Q. But you didn't call him in to the
 16    that we could that if we had enough to       16   police department to interview him that
 17    arrest him, we could get him arrested        17   day?
 18    before he leaves town.                       18   A. He had invoked his rights.
 19    Q. When did he tell you-all -- sorry,        19   Q. But you talked to his lawyer and
 20    I'm talking about before 11 o'clock in the   20   you didn't have him and his lawyer come
 21    morning, but we don't have to worry about.   21   into the office that day. Why not?
 22    You said everybody is working on it          22             MR. COCKRELL: Object to the
 23    because he said he's fixing to leave town.   23   form.


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  1             Go ahead.                            1   time to come in, that's not uncommon.
  2    A. I don't know that his lawyer could         2   Q. This is a guy who is being accused
  3    go to the office. I don't know that for       3   of a violent crime and you guys didn't
  4    sure, but I don't know if his lawyer could    4   feel like you could tell his lawyer to
  5    go.                                           5   come in the afternoon on the day of the
  6    Q. (By Ms. Bolger) Well, you guys             6   violent crime?
  7    wait on defense lawyer's schedules in the     7             MR. COCKRELL: Object to the
  8    police department in Tuscaloosa?              8   form.
  9    A. Well, he talked to the lawyer --           9   A. I'm just saying if we don't have
 10    somebody talked to the lawyer, his lawyer.   10   enough to bring him in, you know, the
 11    Q. Right. But you talked to his              11   lawyer is not going to agree for him to
 12    lawyer, you talked to him. Why couldn't      12   give us a statement on anything.
 13    you say to them both get to the office,      13   Q. (By Ms. Bolger) Is it your
 14    get to the police station, we need to talk   14   position as you sit here that you didn't
 15    with you?                                    15   have enough with Megan saying she was held
 16             MR. COCKRELL: Object to the         16   down, Bunn taking her to a house that she
 17    form.                                        17   doesn't know where she is, Bunn taking her
 18    A. I don't know why that --                  18   to telephone, her saying she didn't want
 19    Q. (By Ms. Bolger) Defense lawyers           19   to have sex with him, him lying to you,
 20    don't usually get to tell the police what    20   him closing the window, you're saying you
 21    to do, do they?                              21   didn't have enough to say to his lawyer
 22    A. If we don't have enough to bring          22   hey, you better come to the station this
 23    him in and hold him and they schedule a      23   afternoon? That's your testimony?

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  1             MR. COCKRELL: Object to the          1   A. It's not necessarily -- I'm not
  2    form.                                         2   saying that we're being nice to him. It's
  3    A. Yes, we didn't have enough.                3   more of --
  4    Q. (By Ms. Bolger) What do you need           4   Q. You just said you're being nice to
  5    in Tuscaloosa to have your lawyer be          5   him. Why are you being nice to him?
  6    compelled to show up at the police            6            MR. COCKRELL: Whoa, whoa,
  7    station?                                      7   whoa, let him answer the question before
  8    A. There again, we just -- we did not         8   you interrupt him, okay?
  9    have the elements of rape met.                9   Q. (By Ms. Bolger) Nice is your word.
 10    Q. What did you need to bring                10   Why were you being nice to him?
 11    Mr. Bunn into the office for an interview    11            MR. COCKRELL: Whoa, whoa.
 12    on July 2nd?                                 12   Whoa, whoa. I'm going to instruct him if
 13    A. Well, when we asked that's when           13   you will let him answer one question at a
 14    he's saying he's got to go out of town,      14   time. You can answer the last question if
 15    so, you know, if we're -- and not having     15   you remember it, the one you started to.
 16    enough to arrest him at that point, if       16   Q. (By Ms. Bolger) Nice is your word.
 17    we're being nice to him, as far as trying    17   Why were you being nice to him? That's
 18    to accommodate a schedule to get a good      18   the pending question.
 19    statement from him, because once -- if his   19   A. I was just referring to you can
 20    lawyer is present and he says don't give     20   attract more flies with honey than you can
 21    him anything, then we don't have anything.   21   with vinegar.
 22    Q. Why are you being nice to                 22   Q. Is that a common theme in law
 23    Mr. Bunn?                                    23   enforcement?


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  1    A. It's an old southern saying,               1   was said?
  2    that's all I know. But I'm just saying if     2   A. I'm sure they asked him for a
  3    we come in slamming things around, it's       3   statement.
  4    going to be locked down right there.          4   Q. What's your basis for that?
  5    Q. Well, you had enough to bring him          5   A. There is a recorded statement.
  6    in for questioning on July 6th. Why           6   Q. What is your basis for saying that
  7    couldn't you bring him in on July 2nd?        7   someone asked Bunn to come to the
  8    Nothing happened. You didn't get an           8   sheriff's office that afternoon on
  9    arrest warrant. What was different            9   July 2nd?
 10    between July 2nd and July 6th?               10   A. Well, that's when he told me that
 11    A. It was his statement. He came in          11   he had to go out of town. I'm assuming
 12    with his attorney then.                      12   that that was a question that was asked,
 13    Q. Why couldn't you ask him to come          13   and he said that I've got a pre-planned
 14    on July 2nd?                                 14   trip to go out of town.
 15    A. He was fixing to get -- to go out         15   Q. So in Tuscaloosa if I'm accused of
 16    of town.                                     16   sexual assault and the police ask me to
 17    Q. Why didn't someone from the               17   show up in the afternoon, I can just say
 18    violent -- the Homicide Unit say to him      18   I'm sorry, I'm going out of town, I'll
 19    hey, come give a statement this afternoon    19   catch you when I get back?
 20    before you go?                               20             MR. COCKRELL: Object to the
 21    A. I'm sure it was said. I don't             21   form.
 22    remember.                                    22   A. No.
 23    Q. What's your basis for saying it           23   Q. (By Ms. Bolger) Why could Mr. Bunn

                                     Page 167                                          Page 168
  1    do that?                                      1   one. This was actually provided by the
  2    A. Anybody could do that. If they             2   parties.
  3    had what little we had, anybody could do      3              MR. COCKRELL: Hey, Kate,
  4    that.                                         4   it's about 11:58 here. Do you want to
  5    Q. In your experience, how many times         5   take a lunch break?
  6    did you let suspects go out of town with      6              MS. BOLGER: Yeah, why don't
  7    their attorneys before you questioned         7   we take -- can you guys go another
  8    them?                                         8   15 minutes before I do that or another
  9    A. I'm not aware of any on my side.           9   half an hour or are you hungry?
 10    Q. This is the only time that                10              MR. COCKRELL: I tell you
 11    happened?                                    11   what let's take a ten-minute break and I
 12    A. It's the only time I can think of.        12   don't have a problem with you going
 13    Q. Okay. Will you take a look at the         13   another 30 minutes.
 14    document we just marked as Exhibit 29?       14              MS. BOLGER: Well, if you
 15          For the record, this is a              15   need a break, we can take a break. Why
 16    transcript of a video interview taken on     16   don't we take like -- can we do -- I don't
 17    July 2nd, 2015, between officer, Megan,      17   know how easy it is to get lunch where you
 18    and Ms. Stewart, and it was transcribed on   18   guys are. It's quite easy for me. The
 19    July 13th, 2017, and for the record, I       19   kitchen is downstairs. So do you want to
 20    will say that this document was produced     20   do like a 45-minute lunch break; is that
 21    to us as part of the documents in the        21   enough time?
 22    wrongful death suit brought by the           22              MR. COCKRELL: Yeah, we can
 23    Rondinis, so we didn't actually make this    23   try it. I think we can do it.


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  1              VIDEOGRAPHER: We're off the        1   home, Sammie and the other girl they were
  2    record at 12:01 p m.                         2   DD for us. I don't remember leaving, but
  3              (Lunch recess was taken.)          3   I do remember like in the car with him on
  4              VIDEOGRAPHER: We're back on        4   the road, like in the backseat.
  5    the record at 12:53 p.m.                     5        Do you see that?
  6    Q. Okay. I had -- Nancy has been             6   A.     Yes.
  7    kind enough to hand you Exhibit 29, which    7   Q.     And then again if you look page 10
  8    is the transcript of your interview with     8   you say to her, page 10 line 1, is you.
  9    Megan Rondini. You can -- I'm sure you've    9   You say do you remember making any turns.
 10    seen it before. You were there.             10   And she responds, I could not tell you how
 11         If you take a few seconds to flip      11   to get there for the life of me.
 12    through the pages, but I'm just going to    12        Do you see that?
 13    ask you a couple questions about the        13   A.     Yes.
 14    transcript, if that's okay.                 14   Q.     Okay. So in this interview Megan
 15         All right. So if you would turn        15   is again telling you that she has
 16    to page seven please. Line 15. Do you       16   absolutely no memory of how she got to
 17    see the numbers on the side of the page?    17   T. J. Bunn's apartment. What did you
 18    A. Yes.                                     18   think about that at the time -- house.
 19    Q. Line 15, you said to Megan, you          19   What did you think about that at the time?
 20    decided to leave Innisfree, and she said,   20   A.     Really, just, you know, she said
 21    I don't really remember actually leaving    21   she did have some stuff to drink. You
 22    Innisfree because I would have left with    22   know, I don't know if it was liquor or
 23    my friends who were going to drive me       23   beer. I can't remember that anyway.

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  1         But, you know, she had made the         1   girl, she can't remember what's happening
  2    statement that she didn't feel like she      2   in this time period. Maybe she was
  3    had been drugged or something to that        3   drugged, maybe something happened to her?
  4    effect, so, you know, I thought it was       4   Did you have any thoughts like that?
  5    alcohol that may have caused the memory.     5              MR. COCKRELL: Object to the
  6    Q. Didn't you want to figure out what        6   form.
  7    had happened to her during that period of    7   A. I mean, it's possible, but, you
  8    time when she forgets -- she leaves          8   know, there again, she drank alcohol, and
  9    Innisfree and ends up in Bunn's car?         9   I know alcohol does cause some memory
 10    Weren't you interested in what happened     10   loss.
 11    then?                                       11   Q. (By Ms. Bolger) All right. Will
 12    A. Yes.                                     12   you turn to page 12? You say, if you
 13    Q. What did you do to try to figure         13   start at line 7, you say did he say
 14    that out?                                   14   anything to you, TJ or Jason, did anybody
 15    A. Well, that's, you know, when we          15   say anything as y'all were walking into
 16    tried to -- asked for consent to, you       16   the house from the car?
 17    know, look at her phone to look under the   17        Megan responds no, he just took me
 18    GPS app, or, you know, whatever to try to   18   into like a big room or whatever. I mean,
 19    figure out the route that she went and      19   I don't really remember any memorable
 20    where he may have possibly picked her up,   20   conversations that we had.
 21    if you could figure that out.               21        You say okay, did you see them on
 22    Q. Doesn't it make you think maybe          22   the phone with anybody. And Megan says
 23    there's something bad happened to this      23   no. You say I, and she says actually he


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  1    was texting someone, but I'm not sure who     1   it is at this point -- I mean at that
  2    he was texting.                               2   point right there.
  3         Do you see that?                         3   Q. Well, I mean, you already know
  4    A. Yes.                                       4   that this guy has lied to you about having
  5    Q. Did you ever dump T. J. Bunn's             5   a woman over at his house, right, you know
  6    phone?                                        6   that before you have this interview;
  7    A. No.                                        7   right?
  8    Q. Why not?                                   8   A. Yes.
  9    A. Well, he didn't ever have any gaps         9   Q. And you already know that he shut
 10    in his memory that he let onto us. That      10   the window, right, while you're in the
 11    was the main thing.                          11   house; right?
 12    Q. This is a suspect in a crime;             12   A. Yes, yes.
 13    right? You're not just looking to fill in    13   Q. And you've already left him alone
 14    his memory gaps. You're looking to see if    14   in the house for 15 minutes by himself;
 15    he engages in behavior that he doesn't       15   right?
 16    want to tell you about; right?               16   A. Yes.
 17    A. Right.                                    17   Q. Right. And so you have reason to
 18    Q. Right. So if he's texting someone         18   be suspicious of the guy at this point;
 19    just a few minutes before he goes upstairs   19   right?
 20    and allegedly sexually assaults them,        20   A. Yes.
 21    don't you want to know what he's saying in   21   Q. But it never occurs to you to see
 22    those texts?                                 22   who he's texting minutes before he
 23    A. I mean, I don't know how pertinent        23   allegedly rapes this woman?

                                     Page 175                                          Page 176
  1    A. You know, there again, if it gets          1   A. No, I don't remember.
  2    to -- at this point in the interview          2   Q. Did it ever occur to you that you
  3    there's still no elements of a crime.         3   might want to look at the text he was
  4    We've still got to build this case.           4   sending ten minutes before he allegedly
  5    Q. Well, a good way to build the case         5   raped someone?
  6    would be what the suspect was saying to       6   A. I mean, I didn't ask him to -- ask
  7    his friends; right?                           7   him to download his phone.
  8    A. It would be, but, you know, he's           8   Q. Right. I'm asking you did it ever
  9    asked for his attorney to be present.         9   even occur to you to ask him what he was
 10    Q. You're about to dump Megan's              10   texting to people 10 minutes before he
 11    entire phone, you're going to get            11   allegedly raped someone?
 12    everything you can from Megan, but it        12   A. I didn't interview him.
 13    doesn't even occur to you to ask about the   13   Q. The girl can't remember anything
 14    suspect?                                     14   that's happened to her for the last hour,
 15    A. Well, I didn't interview the              15   this guy he's been with her, he's sending
 16    suspect.                                     16   text messages and you didn't even ask him
 17    Q. Well, did anybody ever say we             17   about them; right?
 18    should dump his phone?                       18             MR. COCKRELL: Object to the
 19    A. I don't remember.                         19   form. He's already answered the question.
 20    Q. Did you ever say it?                      20   A. I didn't talk to him.
 21    A. I don't remember.                         21   Q. (By Ms. Bolger) But you didn't
 22    Q. Do you remember ever asking his           22   call Investigator Hastings and say dump
 23    attorney to do it?                           23   his phone, did you?


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Adam Jones                                                                           12/7/2020
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  1    A. No.                                        1   was missing.
  2    Q. Did you tell Investigator Hastings         2        That conversation came up, but I
  3    that he was texting someone 10 minutes        3   don't remember if it was before I had
  4    before he allegedly assaulted her?            4   asked her or before she told me this, or I
  5    A. Not that I remember.                       5   just can't remember the sequence of the
  6    Q. So you do nothing about the fact           6   events on that.
  7    that the suspect is allegedly texting         7   Q. So you just don't remember if you
  8    people after he's gotten this woman to his    8   knew before she said it?
  9    house in a way that she cannot remember       9   A. That's what I'm saying I don't
 10    and ten minutes before he allegedly rapes    10   remember if I knew it then or if she told
 11    her? You didn't even pass that along to      11   me and that's when I found out.
 12    Investigator Hastings?                       12   Q. Okay. And she actually
 13    A. Not that I remember.                      13   volunteered the information about the gun;
 14    Q. Okay. You testified that during           14   right?
 15    this interview was the first time that       15             MR. COCKRELL: Object to the
 16    Megan told you that she had taken a gun      16   form.
 17    out of Mr. Bunn's car; correct?              17             You can answer the question.
 18    A. Yes.                                      18   Q. (By Ms. Bolger) If you turn to
 19    Q. Okay. Was Megan telling you that          19   page 24. You ask at line 8. You say, do
 20    the first time you heard that?               20   you remember taking anything else thinking
 21    A. I can't remember if I had heard it        21   that it might have been yours.
 22    from an investigator that he was -- that     22        And Megan responds I didn't --
 23    Bunn was looking around and saw that a gun   23   okay, I didn't tell you this earlier, but

                                     Page 179                                          Page 180
  1    I remembered it when I was sitting down,      1   correct?
  2    when I went to go look for my keys in the     2   A. Yes.
  3    Mercedes there was like a pocket pistol or    3   Q. Okay, great. And then you got up
  4    whatever, and I just put it in my shorts      4   and left the room; correct?
  5    for myself and then waited on the road.       5   A. Yes.
  6          But when my friends picked me up,       6   Q. Okay. And you left the room
  7    I -- it is in the grass like in front of      7   because you were afraid there was a gun on
  8    his house, like I just put it back on the     8   the side of the road and you wanted
  9    ground.                                       9   someone to pick up the gun; correct?
 10          Do you see that?                       10   A. Yes, yes.
 11    A. Yes.                                      11   Q. So what did you do when left the
 12    Q. So she volunteered the                    12   room?
 13    information; right?                          13   A. I tried -- I'm sure I asked who
 14    A. I think I did know that                   14   was out on the scene. I can't remember
 15    information before this. I think I know      15   who was in the office, but we got in
 16    that the gun was missing anyways before      16   contact with some investigators that were
 17    this.                                        17   out at the Bunn residence and told them to
 18    Q. Okay, but that's not my question.         18   look on the side of the road for this gun.
 19    My question is she actually volunteered      19   Q. Did you exchange any other
 20    the information, you didn't ask her the      20   information with the investigators at the
 21    questions, she --                            21   Bunn house before you interviewed Megan or
 22    A. Yes.                                      22   during the interview with Megan?
 23    Q. -- volunteered the information;           23   A. I don't remember.


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Adam Jones                                                                           12/7/2020
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  1    Q. Before Megan came into the office          1   some point.
  2    had you spoken to Captain Hood about her?     2   Q. How did that come to pass?
  3    A. I don't remember a conversation            3   A. He was just sitting in the
  4    per se, but I may have just let them know     4   conference room that has a direct feed to
  5    that she was coming to the office to be       5   the interview rooms and he was just
  6    interviewed.                                  6   watching -- watching the interview.
  7    Q. Well, they wouldn't have known who         7   Q. Right. But how did he come to be
  8    she was, right, without context, so what      8   in that conference room?
  9    by that point had you told them -- like if    9   A. I guess he knew that there was an
 10    you had just said to them, hey, Megan        10   interview going on so he was -- he was in
 11    Rondini is coming in, they wouldn't have     11   there watching.
 12    known anything about it; right? It would     12   Q. Well, how did he know there was an
 13    just be a name. So what had you told them    13   interview going on?
 14    before Megan came in?                        14   A. I don't remember.
 15    A. I don't remember exactly what I           15   Q. Did he sit in on all of your
 16    told them.                                   16   interviews?
 17    Q. What about Captain Hart?                  17   A. It was common for supervisors and
 18    A. I don't remember what I told them.        18   investigators to sit in on cases.
 19    Q. Did Captain Hood look in on the           19   Q. So Captain Hood commonly sat in on
 20    interview?                                   20   your interviews?
 21    A. He was at some point, yes. I              21   A. Not on all interviews, but it was
 22    don't know what parts of the interview he    22   common for a supervisor or another
 23    saw, but he was watching the interview at    23   investigator or somebody to sit in and

                                     Page 183                                          Page 184
  1    just watch the interview?                     1   Q. Okay. And you knew Hood was there
  2    Q. How many times before this had             2   because you just told me he was there.
  3    Captain Hood sat in on interviews you did?    3   A. You said he was there. I'm
  4    A. I don't know. I know he had                4   assuming that --
  5    watched some, but I don't know how many.      5             MR. COCKRELL: Don't assume.
  6    Q. Well, five or more than five?              6   If you know if he's there --
  7    A. I don't know.                              7   Q. (By Ms. Bolger) I said did Captain
  8    Q. Less than five?                            8   Hood watch the interview and you said yes,
  9    A. I don't know.                              9   so that's what happened.
 10    Q. Well, you can't think in your head        10             MR. COCKRELL: Object to the
 11    how many -- you can't remember if it was     11   form.
 12    five or ten?                                 12   A. I don't -- I don't know who all
 13    A. Well, I mean there may have been          13   was back there watching.
 14    times that he was in the back watching the   14   Q. (By Ms. Bolger) Okay. How did the
 15    interview, I was in the interview room so    15   people watching get in the conference room
 16    I don't know if he's in there or not, so I   16   to watch? Who told them to come to that
 17    mean I'm just saying I don't know how many   17   conference room to watch?
 18    -- I don't know how many --                  18   A. Well, the unit was tied up with
 19    Q. You knew this time; right?                19   this case, so at the time that happened to
 20    A. I knew --                                 20   be the only thing, only case active so
 21    Q. You just told me that.                    21   they knew our victim was in the interview
 22    A. -- I knew that there were people          22   room, so anybody that was there could have
 23    watching the interview.                      23   watched the interview.


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Adam Jones                                                                           12/7/2020
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  1    Q. This was the only case that was            1   with Ms. Rondini, were you talking to
  2    active in Tuscaloosa homicide on July 5th?    2   anybody about the interview? In other
  3    A. Right. When I say active I'm               3   words, were you stepping out and talking
  4    talking about recently occurred.              4   to someone?
  5    Q. So the only crime that happened            5   A. The only time I remember is the
  6    that the Homicide Unit investigated on        6   gun and seems like there was one other
  7    July 2nd, 2015, was this one?                 7   time I stepped out, but I can't remember
  8    A. As far as --                               8   if words were exchanged with anybody.
  9    Q. I'm sorry, go ahead.                       9   Q. When you stepped out to handle the
 10              MR. COCKRELL: Let's break          10   gun situation, did you talk to anybody
 11    that down. Let's ask questions and you       11   while you were out of the room?
 12    give her a chance to finish her question     12   A. I don't remember.
 13    and then you listen to it and then answer    13   Q. If you turn to page 37, if you
 14    it if you know.                              14   start in the middle of the page at 10, you
 15    Q. (By Ms. Bolger) This was the only         15   say when we talked to T. J., he said that
 16    crime that happened on July 2nd, 2015 that   16   you were actually walking on University
 17    the Homicide Unit investigated; that's       17   Boulevard, not in the street but on the
 18    your testimony?                              18   sidewalk.
 19    A. I don't know that.                        19        Do you see that?
 20    Q. Did Mr. Hart -- Captain Hart              20   A. Yes.
 21    listen in on the interview?                  21   Q. So does this refresh your
 22    A. No, I don't know.                         22   recollection that someone had told you
 23    Q. When you were doing the interview         23   that before you went into interview Megan?

                                     Page 187                                          Page 188
  1    A. I don't -- I don't know who would          1   on University Boulevard, not in the street
  2    have told me that. I'm not -- you know,       2   but on the sidewalk.
  3    obviously I said that, but I don't know       3        And she says, I just don't think
  4    who told me that.                             4   that would happen because I already had
  5    Q. Did you talk to Investigator               5   friends that were going to take me home.
  6    Hastings?                                     6   And then you turn to the next page on 38,
  7    A. I don't remember.                          7   and line 11, and it says, so if I say that
  8    Q. Did you talk to Captain Hood or            8   y'all stopped by your apartment before you
  9    Captain Hart about it?                        9   went to T. J.'s or Sweet T's before you
 10    A. I don't remember.                         10   went there -- okay, because they have --
 11    Q. Is there someone other than               11   your complex has got video there?
 12    Investigator Hastings who would have given   12        You say do you remember. And she
 13    you this information?                        13   says I do not remember going there.
 14    A. It could have been any                    14        Do you see that?
 15    investigator on the scene.                   15   A. Yes.
 16    Q. How did you communicate with them?        16   Q. And then at the bottom of the page
 17    A. By the LINC radio.                        17   you say, do you remember fixing them a
 18    Q. You didn't have the LINC in the           18   drink. And she says no, sir, I don't
 19    room with you when you were interviewing     19   remember being there at all, like, I don't
 20    Megan; it was outside the door, right?       20   remember being there.
 21    A. Yes.                                      21        Do you see that?
 22    Q. So you say when we talked to T.           22   A. Yes.
 23    J., he said that you were actually walking   23   Q. Okay. And at the end of the page


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  1    at line 18 you say, is any of this            1   form.
  2    bringing back anything, and she says, I       2   A. She said that she wasn't drugged
  3    feel like I'm going to like throw up.         3   -- she didn't feel like she was on any
  4         Do you see that?                         4   drugs.
  5    A. Yes.                                       5   Q. (By Ms. Bolger) I understand that
  6    Q. So this is the first time Megan            6   she didn't feel like she was drugged, but
  7    has heard that she went back to her           7   people can be drugged without their
  8    apartment with T. J. Bunn; right?             8   knowledge. Did it occur to you to ask her
  9    A. Yes.                                       9   was there an opportunity for someone to
 10    Q. And it makes her feel like she's          10   drug you?
 11    going to throw up; right?                    11   A. Well, with her statement saying
 12    A. That's what she said.                     12   that she poured her own drinks that night
 13    Q. Right. Did you disbelieve her             13   and she was always in the company of her
 14    that this was the first time she heard       14   friends, she didn't feel like she was
 15    this?                                        15   drugged.
 16    A. No.                                       16   Q. Right, I understand. I understand
 17    Q. So she's blacked out long enough          17   that she was -- she didn't tell you she
 18    that she gets in the car with a guy she      18   thought she was drugged. I'm asking you
 19    barely knows, goes to his house, takes a     19   as someone who investigates crimes,
 20    drink and gets back in the car and goes      20   doesn't this sound like somebody who's
 21    back to his house. Are you thinking maybe    21   been incapacitated and maybe you should
 22    she's drugged?                               22   have thought we should see if she was
 23              MR. COCKRELL: Object to the        23   drugged?

                                     Page 191                                          Page 192
  1            MR. COCKRELL: Object to the           1   intoxicated.
  2    form.                                         2   Q. Well, you're telling me you don't
  3              THE WITNESS: I was going to         3   think she was drugged, she might have been
  4    say it froze up.                              4   drunk, but now you're saying she might not
  5    A. It froze up for a second. I'm              5   have been drunk.
  6    sorry.                                        6       My question is did you not just
  7    Q. (By Ms. Bolger) I'm sorry you              7   not believe her that she didn't remember
  8    froze up telling me it was froze up, so       8   huge portions of time?
  9    that's why we're talking past each other.     9            MR. COCKRELL: Object to the
 10         I'm wondering, I understand she         10   form.
 11    said she wasn't drugged, but why doesn't     11   A. I believed what she was telling
 12    this behavior make you think -- the things   12   me.
 13    that she's telling you make you think, oh,   13   Q. (By Ms. Bolger) It just didn't
 14    my God, I wonder if she's drugged, we        14   matter to you that she was completely
 15    ought to investigate that?                   15   unable to remember hours of time before
 16              MR. COCKRELL: Object to the        16   she alleged that she was raped?
 17    form.                                        17   A. I'm just saying that alcohol can
 18    A. There again, alcohol can do that          18   cause memory loss like that in my
 19    also.                                        19   experience --
 20    Q. (By Ms. Bolger) If she was                20   Q. Alcohol can cause people not to
 21    intoxicated could she have consented to      21   consent to sex; right?
 22    sex?                                         22   A. What did you say?
 23    A. I don't know that she was                 23            MR. COCKRELL: Repeat the


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  1    question.                                     1   right?
  2    Q. (By Ms. Bolger) I'm sorry, guys.           2   A. Right.
  3    The sound is cutting off, so if someone is    3   Q. So wouldn't you be interested in
  4    saying something to me, I actually don't      4   the fact that she has a huge amount of
  5    know what they said so let's just take a      5   memory loss the ten minutes before she has
  6    minute.                                       6   sex with somebody?
  7               MR. COCKRELL: We couldn't          7   A. Well, she remembered details about
  8    hear your question, Kate, so if you could     8   the sexual encounter.
  9    repeat it.                                    9   Q. Well, I mean couldn't that mean
 10               MS. BOLGER: I'm sorry, Bob,       10   she's just coming in and out of
 11    all I heard is can you repeat it so I'm      11   consciousness?
 12    sorry, I'm just going to repeat a            12             MR. COCKRELL: Object to the
 13    question.                                    13   form.
 14    Q. What I'm going -- I don't even            14   A. I can't speak to her state of
 15    remember what I was saying.                  15   mind. I'm just going by her statement.
 16               MS. BOLGER: Nancy, did you        16   Q. (By Ms. Bolger) Don't you sort of
 17    get the question at all? No, okay.           17   have to speak to her state of mind?
 18               COURT REPORTER: Hold on.          18   You're investigating allegations that she
 19          (Whereupon, requested portion was      19   made that she was held down and raped by a
 20          read back by court reporter.)          20   guy who took her to a house in the woods
 21    A. It can.                                   21   and took her phone away. Don't you have
 22    Q. (By Ms. Bolger) Yes, so someone           22   to figure out what happened to you?
 23    can be raped because they lack capacity;     23             MR. COCKRELL: Object to the

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  1    form.                                         1   A. I don't remember exactly what I
  2    Q. (By Ms. Bolger) Isn't that your            2   said. It was where she -- the directions
  3    job?                                          3   of where she told me that she left it.
  4              MR. COCKRELL: Object to the         4   Q. What did you say? Did you say I
  5    form.                                         5   know where the gun that's missing is or
  6    A. Yes, we're trying to figure out            6   did you say, oh, my God, she left a gun on
  7    what happened to her.                         7   the grass? What did you say?
  8    Q. (By Ms. Bolger) But you're just            8   A. I don't remember. I don't
  9    taking it on faith that she forgot several    9   remember the wording that I used.
 10    hours without doing any toxicology or        10   Q. Did you think she had done
 11    asking any other questions about it?         11   something wrong already when you called
 12              MR. COCKRELL: Object to the        12   about the gun?
 13    form.                                        13   A. No.
 14    A. Once she leaves the hospital as           14   Q. That's not theft?
 15    far as her toxicology and urine, I don't     15   A. Well, it is, but, you know, in her
 16    have any control over that. That was         16   mind she had a reason for doing what she
 17    between her and the doctor there.            17   did, you know, as far as why she took the
 18    Q. (By Ms. Bolger) At this point, did        18   gun.
 19    you think she was lying to you?              19   Q. Right. But I thought you said you
 20    A. I believed what she was saying.           20   couldn't tell me what was in her mind, so
 21    Q. When you called about the gun,            21   why did you think it wasn't a theft that
 22    what did you say to the people you were      22   she took the gun?
 23    talking to?                                  23            MR. COCKRELL: I lost that


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  1    last question.                                1   A. Yes.
  2    Q. (By Ms. Bolger) Why do you think           2   Q. And we can look at it in the
  3    it wasn't a theft that she took the gun?      3   transcript, but just to speed it up, you
  4              MR. COCKRELL: Object to the         4   tell her you want to dump the phone to try
  5    form.                                         5   to get location information so that she
  6    A. Yes, she took a gun. Yes, it's             6   knows -- you can figure out where she was.
  7    theft, but, you know, I'm -- I believe her    7   Is that, in fact, the reason you did it or
  8    to everything that she's telling me, you      8   was that pretextual?
  9    know, and she's got a reason why she did      9              MR. COCKRELL: Object to the
 10    that.                                        10   form.
 11    Q. You're welcome to look through it         11              COURT REPORTER: I'm sorry,
 12    or look in the word index, but in this       12   Kate, what was the last word?
 13    entire interview you never ask her about     13              MR. THOMPSON: Pretextual.
 14    her earlier statement that she was held      14              MR. COCKRELL: Can you read
 15    down while having sex. Why didn't you ask    15   back the --
 16    that?                                        16              MS. BOLGER: I'll rephrase
 17    A. I don't know.                             17   it.
 18    Q. And you never asked her in this           18   Q. I'm actually asking, you told
 19    why Bunn took her phone? Why didn't you      19   Megan that you wanted to take the phone to
 20    ask her that?                                20   get location information to help fill her
 21    A. I don't know.                             21   memory lapse. We can check that. That's
 22    Q. You did however tell her you              22   what you said.
 23    wanted to dump her phone; correct?           23   A. Uh-huh (affirmative).

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  1    Q. I'm wondering if you said that             1   Q. And who is Scotty Rogers?
  2    because that was truthful or if you said      2   A. He is the forensic examiner for
  3    it because you were looking for something     3   the sheriff's office, does all the
  4    else on the phone?                            4   electronic forensics.
  5         I know police officers are allowed       5   Q. Okay. And you gave him the phone
  6    to have pretextual reasons. I'm asking        6   and he did whatever he needs to do. How
  7    you if that was a pretextual reason when      7   quickly did you get the data back from
  8    you said it?                                  8   him?
  9    A. No, the reason was to try to find          9   A. I don't remember. The data was
 10    the GPS location of where she was or where   10   immediately dumped. I just don't remember
 11    she walked.                                  11   what time he gave it back to me.
 12    Q. Okay. So she eventually signed            12   Q. How did he give it back to you?
 13    the consent form and you-all dumped her      13   A. On a disc.
 14    phone; right?                                14   Q. On like a DVD?
 15    A. Yes.                                      15   A. Yes.
 16    Q. I'm going to close the door so my         16   Q. And did you immediately review the
 17    children don't hear this. Hold on.           17   data on that disc?
 18    Everybody's back. Sorry.                     18   A. No.
 19         And what did you do when you took       19   Q. When did you view the data on that
 20    the phone to go dump the phone?              20   disc?
 21    A. I just -- I got her to sign a             21   A. I don't remember.
 22    consent form and took the phone to Scotty    22   Q. That day?
 23    Rogers.                                      23   A. Probably not that day.


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  1    Q. Within a week?                             1   Q. Who do you think looked at the
  2    A. Probably so.                               2   disc?
  3    Q. But you didn't review it the day           3   A. I don't remember that. I don't
  4    Megan was in the office?                      4   remember.
  5    A. Right, no.                                 5   Q. So you don't remember when you
  6    Q. What data did you review first on          6   looked at the data on the disc, you don't
  7    that disc?                                    7   remember if you looked at the data on the
  8    A. I don't remember.                          8   disc, and you don't remember who looked at
  9    Q. Is the data on that disc                   9   the data on the disc --
 10    searchable by -- was the data on that disc   10   A. Right.
 11    searchable or do you just have to sort of    11   Q. -- correct?
 12    scroll through it?                           12   A. Right.
 13    A. It is searchable.                         13   Q. But you know you didn't do it on
 14    Q. It's like keyword searchable?             14   July 2nd?
 15    A. Yes.                                      15   A. Right.
 16    Q. Did you keyword search anything on        16   Q. Okay. So after this first
 17    that disc at any point?                      17   interview with Ms. Rondini, you went to
 18    A. I don't remember.                         18   her apartment; right?
 19    Q. Did you put in any searches to            19   A. Yes.
 20    find things on the disc at any point?        20   Q. I have been informed that Jason
 21    A. I don't remember because I don't          21   Wilson from the DA's office came and
 22    know if I was actually the one that looked   22   watched this Rondini interview; correct?
 23    at the disc.                                 23   A. Yes.

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  1    Q. How did it come to pass that               1   before you went to the apartment building?
  2    Mr. Wilson was there?                         2   A. I don't remember.
  3    A. I don't know who called him over.          3   Q. How about Captain Hart?
  4    Q. So you don't know?                         4   A. I don't remember.
  5    A. I don't know.                              5   Q. Okay. Did you at any point speak
  6    Q. Is it commonplace for district             6   to Jason Wilson about Megan Rondini --
  7    attorneys to come over to watch an            7   about your interviews with Megan Rondini?
  8    investigation?                                8   A. No, I didn't.
  9    A. Yes.                                       9   Q. Not a -- this is not a spoiler
 10    Q. And what is the general protocol          10   alert. We all know this happened. At
 11    for that happening? Who generally makes      11   some point you Mirandized Ms. Rondini.
 12    that call?                                   12   Did you speak to Mr. Wilson before you
 13    A. It could be an investigator or a          13   Mirandized Ms. Rondini?
 14    supervisor. I mean, it could be anybody      14   A. I don't remember speaking directly
 15    that calls.                                  15   to him. I remember one of the supervisors
 16    Q. And you don't know who made the           16   I believe he was in the room. They were
 17    call here?                                   17   in the conference room, and they thought
 18    A. I don't.                                  18   it would be best if we Mirandized her.
 19    Q. Did you speak to Mr. Wilson at all        19   Q. Okay. And I didn't quite
 20    after this first interview before you went   20   understand that answer so I'm going to ask
 21    to the apartment building?                   21   you to go through it slow with me.
 22    A. I don't remember.                         22        So you were in a room with
 23    Q. Did you speak to Captain Hood             23   Mr. Wilson and a supervisor?


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  1    A. Well, it was in the conference --          1   Q. How many different supervisors
  2    it was a common room. It's not a closed       2   could it have been?
  3    office or anything. It was in the             3   A. Captain Hood, Captain Hart. I
  4    conference room where they were watching      4   can't remember if any of the sergeants
  5    the interview and they -- they were           5   were in the office at that time or not.
  6    already talking and thought that she          6   Q. So you began this deposition by
  7    should be read Miranda.                       7   telling me how dramatic the BuzzFeed
  8    Q. Okay. Who is they?                         8   article was and how much it affected your
  9    A. I believe -- I can't remember the          9   life; right?
 10    supervisor that said it. I believe it was    10   A. Yes.
 11    Captain Hood and Jason Wilson.               11   Q. And you're seeking $10 million of
 12    Q. I didn't understand that answer so        12   damages in this lawsuit; right? Right?
 13    it was Captain Hood speaking to Wilson and   13   A. I don't know the dollar amount.
 14    they had decided that Megan needed to be     14   Q. Well, it's $10 million. I can
 15    Mirandized; is that what you're telling      15   read it to you or you can take my word for
 16    me?                                          16   it. And the Megan Rondini investigation
 17    A. I don't remember. I'm not -- I            17   and the article about it were a pretty big
 18    don't want to say for sure. I don't          18   deal in your life; right?
 19    remember how that conversation went down.    19   A. Yes.
 20          I know that it was a supervisor        20   Q. But you can't tell me who the
 21    that thought we needed to read her Miranda   21   supervisor was who told you to Mirandize
 22    and I don't remember which supervisor it     22   her?
 23    was.                                         23   A. I'm saying I don't remember.

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  1    Q. Another one of your colleagues             1             MR. COCKRELL: I believe
  2    testified the attorney general's office       2   he's already answered it time and time --
  3    faulted you for Mirandizing her and said      3   at least three times -- two times.
  4    it should have been done by another           4   Q. (By Ms. Bolger) I tell you,
  5    deputy, another investigator; is that         5   Investigator Jones, I find that really
  6    true?                                         6   hard to believe. How could you not
  7              MR. COCKRELL: Object to the         7   remember --
  8    form.                                         8             MR. COCKRELL: You may not
  9    A. I have not seen the attorney               9   believe it, but he answered the question.
 10    general's office's report.                   10   Q. (By Ms. Bolger) -- Mirandizing a
 11    Q. (By Ms. Bolger) You've never heard        11   sexual assault victim? Is it just so
 12    that someone else other than you should      12   common that you Mirandize sexual assault
 13    have Mirandized her?                         13   victims that you can't remember who told
 14              MR. COCKRELL: Object to the        14   you to do it?
 15    form.                                        15             MR. COCKRELL: Object to the
 16    A. I have not.                               16   form.
 17    Q. (By Ms. Bolger) The decision to           17   A. I'm saying I don't remember.
 18    Mirandize someone who walks in and says      18   Q. (By Ms. Bolger) That conversation
 19    that she's been sexually assaulted is a      19   you had with the mystery supervisor and
 20    pretty significant decision; right?          20   Mr. Wilson in which they told you that
 21    A. Yes.                                      21   they thought Ms. Rondini had to be
 22    Q. But you don't remember who told           22   Mirandized, was that during your first
 23    you to do it?                                23   interview with Ms. Rondini or was it after


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  1    you came back from the apartment building?    1   A. Okay.
  2    A. I think it was after we came back.         2   Q. You Mirandized her before she took
  3    Q. And what was the information that          3   the cash. The only thing that she had
  4    led you-all to decide to Mirandize Megan      4   admitted to was the gun, which you just
  5    Rondini?                                      5   told me five minutes ago wasn't a theft,
  6    A. That she was admitting to taking a         6   so why did you-all Mirandize her?
  7    gun from a vehicle, going back into a         7            MR. COCKRELL: Object to the
  8    residence, taking money from Bunn, various    8   form.
  9    crimes that, you know, she could              9   A. She was admitting to these things.
 10    potentially be admitting to.                 10   There were -- she was about to open
 11    Q. You Mirandized her before she             11   herself up to some possible criminal
 12    talked about the cash, didn't you?           12   activity herself based on what Bunn had
 13    A. I don't remember -- I don't               13   told some of the investigators out there
 14    remember the order that it was. If you       14   on the scene that he was interested in
 15    say it was before the cash, or before she    15   prosecuting for the missing gun, for the
 16    admitted that.                               16   missing cash. He also said there was a
 17    Q. It was.                                   17   credit card I think and some keys.
 18    A. Okay. I just don't -- I just              18   Q. (By Ms. Bolger) So you guys were
 19    don't remember that.                         19   Mirandizing her based on the fact that
 20    Q. I'm not trying to trick you.              20   Bunn was saying she stole things at this
 21    A. Okay.                                     21   point, correct, because she didn't tell
 22    Q. You Mirandized her, and I'll show         22   you she stole things before you Mirandized
 23    you in the transcript a little bit.          23   her?

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  1          (Off the record technical issues.)      1   be considered a burglary when she took the
  2    Q. Okay. She didn't tell you she              2   money, so with them advising us or
  3    took the cash before you Mirandized her.      3   advising me to read her Miranda, it's
  4    The only thing she told you was she had       4   actually protecting her rights. I wasn't
  5    the gun. You told me you didn't think         5   going to put her in jail.
  6    that was theft, so you-all decided to         6   Q. She -- you didn't Mirandize her
  7    Mirandize her based on what Mr. Bunn said     7   when she told you she took the gun. You
  8    she had stolen; right?                        8   went out. You could have come back and
  9               MR. COCKRELL: Object to the        9   Mirandized her, and you didn't. You only
 10    form.                                        10   Mirandized her when you came back. It was
 11               You can answer.                   11   because Bunn told you she took the money
 12    A. She had admitted to the gun theft.        12   and the gun and Alabama tickets, right,
 13    Q. (By Ms. Bolger) You just told me          13   that's why she got Mirandized; right?
 14    that wasn't a theft.                         14             MR. COCKRELL: Object to the
 15    A. Well, I'm saying, and I was               15   form, the lengthy dissertation.
 16    speaking what her mind was going through     16             Go ahead.
 17    and I shouldn't have speculated what she     17   A. It was because that she had
 18    was in her mind, but what I was trying to    18   admitted to the gun. He was filing a
 19    get to is she had a reason for taking that   19   complaint on the same thing saying that,
 20    gun. I just needed her to tell me that,      20   you know, she admitted going back into the
 21    but taking the gun is a theft.               21   house but then she had got money and
 22         It's actually a B&E, breaking and       22   whatever else, credit card, keys, whatever
 23    entering. Going back into the house could    23   he said it was, but if he's filing a


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  1    complaint also, I'm actually protecting       1   A. Not to my knowledge.
  2    her rights by reading her Miranda from        2   Q. When you went to Megan Rondini's
  3    these charges that he's going to try to       3   house with her, can you tell me how long
  4    bring up against her.                         4   you guys were gone?
  5    Q. (By Ms. Bolger) You didn't                 5   A. Probably an hour. Probably less
  6    Mirandize him, though?                        6   than an hour.
  7    A. I didn't talk to him.                      7   Q. Was her house close to the
  8    Q. He wasn't Mirandized on July 2nd,          8   sheriff's office?
  9    was he?                                       9   A. It's probably about a ten or
 10    A. No, I don't think so.                     10   15-minute drive.
 11    Q. She was making some pretty serious        11   Q. And when you got to the house with
 12    allegations against him; right?              12   Megan what did you-all do?
 13    A. You say she was making?                   13   A. We were just looking for her keys.
 14    Q. Yes.                                      14   We went in her apartment with her. She
 15    A. I just couldn't hear it. It broke         15   was just -- we just basically just let her
 16    up. Yes.                                     16   walk through and see if she might remember
 17    Q. But you didn't Mirandize him;             17   where she may have left her keys.
 18    right?                                       18   Q. And did she?
 19    A. I didn't talk to him.                     19   A. She didn't.
 20    Q. No one from the Tuscaloosa                20   Q. And you looked at liquor bottles;
 21    Sheriff's Office or the Homicide Unit or     21   right?
 22    the Tuscaloosa Police Department             22   A. Yes.
 23    Mirandized T. J. Bunn July 2nd; right?       23   Q. And what -- what was the point of

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  1    doing that?                                   1   content of the bottles did look lower than
  2    A. In Bunn's statement he said that           2   what it was and that was her statement.
  3    she poured them drinks after he picked her    3   Q. And she hadn't been home between
  4    up, after she left Innisfree they went to     4   reporting -- sorry, between reporting the
  5    her apartment and she poured them drinks.     5   assault and this interview; correct? This
  6    Q. And so you looked to see if there          6   was the first time she had gone home;
  7    was less alcohol in the bottle; right?        7   right?
  8    A. Well, just to see if there was any         8   A. Yes, I believe so.
  9    alcohol there.                                9   Q. She was at a friend's house in the
 10    Q. Got you. Just trying to see if            10   morning; right?
 11    there was evidence that she poured drinks?   11   A. Right.
 12    A. Right.                                    12   Q. So this was the first time she was
 13    Q. And was there?                            13   seeing it, so she was surprised; right?
 14    A. There was a couple of liquor              14   A. Yes.
 15    bottles on the kitchen counter and some --   15   Q. And then what else did you do at
 16    I believe it was dishes in the sink. I       16   Megan's house -- apartment?
 17    couldn't say if it -- I can't remember if    17   A. That's all I remember.
 18    it was cups, plates.                         18   Q. And then you went back to the
 19    Q. Okay. And did Megan seem                  19   police station; right?
 20    surprised by that?                           20   A. Yes.
 21    A. She did.                                  21   Q. When you got back to the police
 22    Q. What did she say?                         22   station it was about 1:58 in the
 23    A. She just made mention that the            23   afternoon. Does that sound right about


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  1    that?                                         1   A. I don't remember.
  2    A. That sounds right.                         2   Q. Captain Hart?
  3    Q. It's actually 12 hours since the           3   A. I don't remember.
  4    assault and about eight hours since you       4   Q. Throughout the day on July 2nd who
  5    first met her. Does that seem about           5   do you remember talking to?
  6    right?                                        6   A. There was several -- I mean
  7    A. Yes.                                       7   several investigators working, so it could
  8    Q. At that point you must have talked         8   have been anybody in that office that I
  9    to somebody at the investigation because      9   talked to that day.
 10    you told them about the gun; right?          10   Q. Who do you remember talking to?
 11    A. Yes.                                      11   Name names. What people do you remember
 12    Q. Did you know about the allegation         12   talking to that day?
 13    that she had taken Bunn's wallet?            13   A. I talked to Captain Hood, Captain
 14    A. At that time I believe I did.             14   Hart, Josh -- I don't remember any
 15    Q. And how did you know that?                15   specific other person.
 16    A. I don't remember who let me know          16   Q. So when I have long, hard days, I
 17    that.                                        17   often remember who I talked to the most.
 18    Q. What did they tell you, whoever it        18   Do you remember who you talked to the
 19    was?                                         19   most?
 20    A. I don't remember.                         20   A. It would probably be Josh that
 21    Q. Was it Josh?                              21   day.
 22    A. I don't remember.                         22   Q. Did you have a conversation with
 23    Q. Was it Hood?                              23   Josh about Mirandizing Megan?

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  1    A. Not that I remember.                       1   A. Yeah, I mean, of course, you know,
  2    Q. Was Josh back in the office?               2   people make accusations all the time, but,
  3    A. I can't remember who was there.            3   you know, I wasn't, you know, fighting mad
  4    Q. You had also spoken to Megan's             4   or anything like that. It's just, you
  5    father before you went back in to             5   know, somebody accusing you of something
  6    interview her a second time; right?           6   like that, that you're covering -- going
  7    A. Yes.                                       7   to cover something up and there's nothing
  8    Q. Tell me about that.                        8   further from the truth.
  9    A. He was just, you know, concerned           9   Q. So before you went back into the
 10    for his daughter and, you know, I told him   10   room to interrogate Megan, you had already
 11    that we were going to -- we were going to    11   made the decision to Mirandize her;
 12    do everything we could to help her.          12   correct?
 13         Seems like he insinuated that we        13   A. Yes.
 14    were going to try to cover stuff up          14   Q. Now, you told me that that was a
 15    because she had told him that the Bunns      15   decision -- your supervisor and the
 16    had a lot of money. That's basically all     16   lawyers together had told you to do that.
 17    I remember.                                  17   Do you have to do what you're told? Did
 18    Q. What did you respond to that?             18   you agree with that decision?
 19    A. I just told him, you know, we             19   A. Yeah, I mean at that time, you
 20    don't allow money to influence our           20   know, if I wouldn't have agreed to it, I
 21    decisions on cases.                          21   probably wouldn't have done it.
 22    Q. Were you offended by it, by               22   Q. Why did you think it was a good
 23    Mr. Rondini?                                 23   idea?


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  1    A. Well, based on what was being said         1   had made up to that point was enough to
  2    as far as him filing a criminal complaint     2   arrest anybody for rape. It's not that I
  3    on her, you know, she is going to possibly    3   didn't believe her what she said, it's
  4    open herself up to, you know, criminal        4   just that the elements of the crime wasn't
  5    allegations and, you know, it's always        5   met.
  6    best to just advise victims -- I'm sorry,     6   Q. I'm asking you right now do you
  7    advise her of her rights.                     7   believe that Megan Rondini was sexually
  8    Q. Well, she was a victim; right?             8   assaulted?
  9    A. Yes.                                       9   A. I don't know.
 10    Q. So you were Mirandizing a victim;         10   Q. And on July -- in July of 2015,
 11    right?                                       11   did you believe Megan Rondini had been
 12    A. Ma'am?                                    12   sexually assaulted?
 13              MR. COCKRELL: Object to the        13   A. I don't know.
 14    form.                                        14   Q. Well, that's because it had only
 15    Q. (By Ms. Bolger) You Mirandized the        15   happened 12 hours before; right?
 16    victim?                                      16             MR. COCKRELL: Object to the
 17    A. Yes.                                      17   form?
 18              MR. COCKRELL: Object to the        18   Q. (By Ms. Bolger) You hadn't read
 19    form.                                        19   her emails; right? Right?
 20    Q. (By Ms. Bolger) Had you decided           20   A. Yeah, I didn't read her emails.
 21    you didn't believe her, that she was         21   Q. You hadn't talked to Mr. Bunn;
 22    sexually assaulted by that point?            22   right?
 23    A. None of the statements that she           23   A. I didn't talk to him.

                                     Page 223                                          Page 224
  1    Q. You didn't actually talk to any            1   Q. Have you ever done that?
  2    other witness; correct?                       2   A. I have, yes.
  3    A. I did not.                                 3   Q. In respect to the Rondini crime,
  4    Q. The only person you had spoken to          4   the allegations?
  5    was Megan Rondini, but you were already       5   A. No.
  6    concluding that she hadn't met the            6   Q. Okay.
  7    elements of the crime; is that right?         7             MS. BOLGER: J. T., would
  8              MR. COCKRELL: Object to the         8   you hand over document AS?
  9    form.                                         9             MR. THOMPSON: Yeah, just a
 10    A. Yes, the elements of rape had not         10   second. AS?
 11    been met.                                    11             MS. BOLGER: Yes. And
 12    Q. (By Ms. Bolger) There's lesser            12   Nancy, if you'll be kind enough to mark it
 13    included offenses in a sexual assault        13   as Exhibit 30.
 14    charge, aren't there?                        14             (Off the record.)
 15    A. Yes.                                      15        (Whereupon, a document was marked
 16    Q. And had you sat down and gone             16        as Defendant's Exhibit No. 30 and
 17    through every element of every possible      17        is attached to the original
 18    sexual misconduct crime and decided that     18        transcript.)
 19    they hadn't been met at this moment, a       19   Q. And for the record while you take
 20    mere eight hours after interviewing Megan    20   a look at it, Investigator Jones, this is
 21    Rondini for the first time?                  21   a transcript of the interview taken
 22    A. I don't remember going through            22   July 2nd, 2015, between officer and Megan,
 23    Title 13.                                    23   transcribed on July 13, 2017.


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  1          Again, this was produced to us in       1   you did.
  2    the wrongful death lawsuit. We did not        2        First of all, what do you mean by
  3    make this video transcript.                   3   close on your case?
  4          And, Investigator Jones, you're         4   A. Close to getting all the videos
  5    welcome to take a quick peek. This is a       5   pulled.
  6    transcript of your second interview with      6   Q. Do you mean you were close to
  7    Megan Rondini; correct?                       7   wrapping up the case?
  8    A. Yes.                                       8   A. No.
  9    Q. So if you look at the second page          9   Q. Then you say, I mean, you got a
 10    of the exhibit, so it's page 2 of the        10   reasoning behind what you did what you
 11    transcript. You begin, and you say, we       11   did. And Megan says, what do you mean?
 12    are in the process of getting the final      12   And I have to say I agree with her
 13    pieces as far as the videos and stuff. We    13   sentiment. What did you mean by that?
 14    still got to touch base with Innisfree,      14   A. I know that she had a reason to
 15    but we're going back out to your apartment   15   take -- for taking that gun, for taking
 16    to go ahead and pull that before it rolls    16   the money. I just needed her to say that
 17    over and records over but so we're close     17   in her own words.
 18    on your case.                                18        I can't put words in her mouth to
 19          Now, based on the statements that      19   say I took the gun in fear for my life and
 20    you made to me earlier, I need to ask you    20   I took this money because I was trying to
 21    some questions about it, okay. Before I      21   pay a cab, you know, I can't -- I can't
 22    ask you any questions though, I mean, you    22   tell her what to say.
 23    got a reasoning behind why you did what      23        I just need her to tell me -- you

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  1    know, I have no doubt of what she's           1   her a leading question because I know in
  2    saying, you know. It's not that I didn't      2   her mind that she had a reason for taking
  3    believe her. It's I just need her to tell     3   that gun and she had a reason --
  4    me that in her own words because I can't      4   Q. (By Ms. Bolger) Why can't you ask
  5    lead her -- do a leading question, like       5   her a leading question?
  6    you took this gun because you were scared     6   A. Huh?
  7    for your life, didn't you?                    7             MR. COCKRELL: We lost that
  8    Q. Why couldn't you be nice to Megan;         8   question.
  9    you were nice to Mr. Bunn?                    9   Q. (By Ms. Bolger) Why can't you ask
 10    A. I didn't talk to Mr. Bunn.                10   her a leading question?
 11    Q. Well, you told me you've got to be        11   A. I need her to tell me in her own
 12    nice to Mr. Bunn. You can't make him come    12   words why she did this. Because that
 13    to the office if he's going away. He's       13   would get -- the criminal case that she's
 14    got to be able to go away. You've got to     14   getting put on her or tried to get put on
 15    be nice to Mr. Bunn --                       15   her, it would push that away if she would
 16              MR. COCKRELL: Object to the        16   tell me I was afraid for my life, I took
 17    form --                                      17   this gun, there's not going to be, you
 18    Q. (By Ms. Bolger) -- why can you be         18   know, a jury anywhere that's going to
 19    so accommodating to Mr. Bunn, but you        19   convict her of that.
 20    can't be accommodating to Megan?             20   Q. You walked into the room and you
 21              MR. COCKRELL: Object to the        21   said this; right? There's no page before
 22    form.                                        22   that. That's the very first page of this
 23    A. I'm just saying that I can't ask          23   transcript; right?


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  1    A. Yes.                                       1   Q. All right. If you read down, she
  2    Q. Before this moment she hadn't told         2   says what do you mean. And you respond,
  3    you anything about the wallet; right?         3   well, that is what we are going to get
  4    A. I can't remember if she did or             4   into. Now, you -- I just need you to tell
  5    not.                                          5   me once we get into the questioning, you
  6    Q. How did you expect her to know             6   know, what your reasoning was about why
  7    what you were talking about when you          7   you did these things, but before I ask you
  8    walked into the room and you said you got     8   the questions I have to read you your
  9    a reasoning behind why you did what you       9   rights, okay? And then you read her her
 10    did?                                         10   rights; right? What were these things
 11         You just walked in and said it.         11   that you were referring to?
 12    How did she know what you were talking       12   A. The gun, and I mean, it's the
 13    about?                                       13   things that she was accused of taking.
 14    A. I just wanted to be up front with         14   Q. So Bunn accuses her of taking
 15    her and say I know that you had a reason     15   things after he takes her to a house,
 16    behind what you did. And before I ask you    16   takes away her phone, pins her down and
 17    any questions about it, you know, I just     17   has sex with her -- holds her down and has
 18    need you to tell me in your own words.       18   sex with her without her consent, you
 19    Q. But you didn't say that, did you?         19   don't feel the need to Mirandize him.
 20    You said, I mean, you got a reasoning        20        But then Bunn makes a couple of
 21    behind why you did what you did. That's      21   allegations about some bucks in his wallet
 22    what you said; right?                        22   and his credit card and you feel the need
 23    A. Yes.                                      23   to Mirandize her?

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  1              MR. COCKRELL: Object to the         1   Q. How come you can catch more flies
  2    form.                                         2   with honey when you're talking to
  3    A. There again, these items were              3   Mr. Bunn, but you're all vinegar with
  4    missing and she was -- I wanted her to        4   Megan?
  5    tell me why she took all this stuff.          5             MR. COCKRELL: Object to the
  6    Q. (By Ms. Bolger) But this morning           6   form.
  7    you told me that the reason you didn't        7   A. There again, I felt like I had her
  8    Mirandize Bunn was because you wanted to      8   best interest as far as protecting her
  9    have a nice rapport with him to get him to    9   rights, by advising her of her rights
 10    tell you information --                      10   before she admits to these allegations.
 11              MR. COCKRELL: That's a             11   Q. (By Ms. Bolger) Will you look at
 12    mischaracterization.                         12   the third page for me? And Megan says --
 13    Q. (By Ms. Bolger) -- how could --           13   you, officer, you say, I told you that
 14              MR. COCKRELL: Object to the        14   we're going to go back and forth sometimes
 15    form. Mischaracterization.                   15   on what we ask you, but I do want to go
 16    A. I didn't say we didn't read him           16   back to one of the last things that you
 17    Miranda.                                     17   made a statement about, and Megan says
 18    Q. (By Ms. Bolger) You told me this          18   also I wrote that before I came here.
 19    morning that you wanted to be nice to him    19         She's referring to a specific
 20    so he would cooperate with the               20   written statement that she had when she
 21    investigation. It was your word; don't       21   walked into the office; correct?
 22    you agree?                                   22   A. Yes.
 23    A. Yes.                                      23   Q. And you remember she had that;


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  1    right?                                        1   she -- you do talk about the theft of the
  2    A.     Yes.                                   2   credit card, but you knew that before you
  3    Q.     It's actually in the felony packet     3   walked into the room; right?
  4    so we can look at it; right?                  4   A. Yes.
  5    A.     Yes.                                   5   Q. But she didn't -- there was never
  6    Q.     Okay. And you say I haven't even       6   any evidence that she stole Bunn's credit
  7    read it yet; right?                           7   card; correct?
  8    A.     Yes.                                   8   A. There was evidence that stuff was
  9    Q.     So you haven't read her statement      9   missing out of a wallet. I had no idea
 10    but you have concluded that she hasn't met   10   what had actually been taken.
 11    the elements of a crime; right?              11   Q. Okay. But that's not my question.
 12               MR. COCKRELL: Object to the       12   My question was there was never any
 13    form.                                        13   evidence that she stole Bunn's credit
 14    A.     I hadn't read the statement, no.      14   card; correct?
 15    Q.     (By Ms. Bolger) But you've already    15   A. No.
 16    reached the conclusion that she hadn't met   16   Q. In fact, the credit card she used
 17    the elements of sexual assault; right?       17   to pay for the cab was as she said in
 18    A.     The elements of the crime had not     18   here, her own; correct?
 19    been met.                                    19   A. Yes, yes.
 20    Q.     But you haven't read her statement    20   Q. Will you turn to page 22? If you
 21    yet; right?                                  21   start with line 9 -- first of all, you ask
 22    A.     No.                                   22   her if she's got a fake ID. Do you see
 23    Q.     Okay. Then I will tell you that       23   that?

                                       Page 235                                        Page 236
  1    A.     Yes.                                   1   Q. Okay. You say I believe you, all
  2    Q.     Why?                                   2   right. Here's what I want to talk to you
  3    A.     She's 20 years old. I just asked       3   about and I think you know this, I really
  4    her.                                          4   do. When we talked at the hospital you
  5    Q.     Just racking up the crimes?            5   made a statement to me, you said you felt
  6             MR. COCKRELL: Object to the          6   like, you know, that you had been taken
  7    form.                                         7   advantage of or something to the effect
  8    A. We were not charging her with              8   but you also told me you never said no.
  9    anything.                                     9   What were you trying to say to her?
 10    Q. (By Ms. Bolger) Why were you              10   A. That the elements of rape had not
 11    asking her about the fake ID if you          11   been met.
 12    weren't just looking for another way to      12   Q. But you're trying to tell her you
 13    get her in trouble?                          13   know that you think she knows that; right?
 14    A. I just -- I mean, she's in a bar          14   You say I think you know this.
 15    drinking. You know she had to have a fake    15   A. Well, just referring to her
 16    ID, so I just asked her do you have a fake   16   remembering the statement.
 17    ID.                                          17   Q. Okay. And she says to you I was
 18    Q. Why did you have to -- is that            18   saying that I wanted to leave and when he
 19    relevant to her sexual assault allegation?   19   started to touch me I was not responsive
 20    A. No.                                       20   to him at all, and then you say -- and
 21    Q. Is it relevant to Bunn's theft            21   then she says I just honestly felt like
 22    allegations?                                 22   because he wasn't going to stop, so if I
 23    A. No.                                       23   just kind of let him, then I would be able


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  1    to leave.                                     1   her and say, but you never said no, okay.
  2          Do you see that?                        2         And you said you felt like if you
  3    A. Yes.                                       3   let him have sex with you, then you would
  4    Q. She doesn't agree with you that            4   be able to leave, okay, and then the
  5    this was not an assault; correct?             5   conversation goes on.
  6               MR. COCKRELL: Object to the        6        Had she said no instead of I have
  7    form.                                         7   to go, would you have thought the elements
  8    A. Well, I mean it's just -- again,           8   of rape were met?
  9    the elements of rape were not met.            9   A. It's possible. I'm just saying
 10    Q. (By Ms. Bolger) Page 14 -- sorry,         10   that it wasn't said so, you know, the
 11    line 14 -- sorry page 23 line 14, you say,   11   elements wasn't there.
 12    here's my question to you and this is        12   Q. Why does it matter whether she
 13    after going over everything, and there       13   said no?
 14    again, we're still working, it is still an   14   A. His -- it has to be met with
 15    active case, okay? We're still working       15   earnest resistance to be -- to meet the
 16    this case, but based on your statement to    16   elements of that crime, and it was not.
 17    me you said you never resisted him.          17   Q. But not of lesser included
 18          And Megan says, I did resist him.      18   offenses; right?
 19    The N-T is crossed out on this, because      19   A. I'm not sure on that. I would
 20    there was a mistake in the transcript, so    20   have to look at Title 13.
 21    it's I did resist him. I said I wanted to    21   Q. Well, shouldn't you have been?
 22    leave. When he tried to kiss me, I turned    22   When there was a girl in your office
 23    away, like I didn't -- and you interrupt     23   saying that she was sexually assaulted,

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  1    shouldn't you have checked Title 13 then?     1   me to come sit on the bed, I didn't come
  2    A. That's one reason there was a lot          2   sit with him and then he brought me to the
  3    of people in the office, you know, and        3   bed and I just -- and you interrupt her,
  4    another reason that the district attorney     4   and you say, you know, I -- what I want to
  5    or assistant district attorney was called     5   stress to you also is I'm not here to
  6    over. If there was anything lesser            6   embarrass you in any way, but you never go
  7    included that could be or could be charged    7   back to asking her what she did, how she
  8    against Bunn, it would have been.             8   made it clear that she didn't want it to
  9    Q. Did you talk to anybody about              9   happen. Why didn't you let her tell you
 10    that?                                        10   that?
 11    A. I don't remember.                         11   A. I don't know.
 12    Q. Okay. On page 25, she says I              12   Q. Then you ask on page 26 you say,
 13    didn't want it to happen and, like, I am     13   but when you're talking about rape, you
 14    pretty sure I was clear that I didn't want   14   know, why didn't you call the police, you
 15    it to happen. And you say how. That is       15   know. And Megan says at the house, and
 16    one thing I'm trying to get, you know, how   16   you said yes. And Megan says I thought
 17    did you make it clear to him that you        17   about it but -- and you and. And then she
 18    didn't want it to happen.                    18   says, at first I didn't even -- I wasn't
 19          And then Megan says, when he told      19   even going to go to the hospital and my
 20    me to go upstairs I did not. I stayed as     20   friends told me that I should go. I
 21    far away from his bed as possible. I had     21   didn't want to make a big deal.
 22    all my clothes on. I tried to just not, I    22        Do you see that?
 23    don't know like, and then when he wanted     23   A. Yes.


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  1    Q. Do you have any memory of Megan            1        During this conversation you have
  2    ever telling you that her phone wasn't        2   a lot of conversations with Megan about
  3    working or her phone had died?                3   talking to her father, your conversation
  4    A. I don't remember that.                     4   with her father. Why did you tell her
  5    Q. I'll tell you absolutely candidly          5   that?
  6    Captain Hood testified that at some point     6   A. I don't think it was anything in
  7    Megan said her phone had died, and I have     7   particular. Just to let her know that,
  8    scoured the transcripts and the videotapes    8   you know, he had called and was checking
  9    and I can find absolutely nothing where       9   on her.
 10    Megan ever said her phone had died. I        10   Q. Okay. You certainly suggest that
 11    don't think she said it. Do you have any     11   you're unhappy with his allegation that
 12    reason to believe she said it?               12   you might favor Bunn rather than her. Why
 13    A. I don't remember her saying. I            13   would you communicate that to Megan?
 14    don't believe she said that, but.            14   A. I don't know.
 15    Q. And if it's not in these                  15   Q. It doesn't have to do with whether
 16    transcripts or these videotapes, is there    16   she was assaulted by Bunn; right?
 17    somewhere else it would have been?           17   A. No.
 18    A. No.                                       18   Q. And it doesn't have to do with
 19    Q. I think Captain Hood's mistaken.          19   whether she stole things from Bunn; right?
 20    I don't want you to think he's, you know,    20   A. No.
 21    making things up. I just think he's          21   Q. In addition to this interview, you
 22    mistaken, but I just wanted to make sure I   22   offer her a non-prosecution form; is that
 23    was correct. Okay.                           23   correct?

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  1    A. Yes.                                       1   A. Well, she was telling us that she
  2    Q. Does that comport with your                2   didn't want it to go any further and that
  3    memory? Had you had conversations before      3   doesn't necessarily mean our investigation
  4    you went in to question Megan about           4   stops. It just means that, I guess for
  5    bringing in an non-prosecution form with      5   lack of a better term, she doesn't want to
  6    people outside of the office?                 6   have anything to do with the case right
  7    A. I don't remember a conversation            7   now or further.
  8    about it.                                     8   Q. But she didn't sign it?
  9    Q. Did you talk to one of your                9   A. She didn't sign one, no.
 10    supervisors or the district attorney about   10   Q. In your experience investigating
 11    that?                                        11   sexual assault cases, do you often walk in
 12    A. I don't remember.                         12   with a non-prosecution form?
 13    Q. Okay. Was it something that in            13   A. I believe I have before.
 14    your discretion you could do, walk in with   14   Q. Before Megan or before now?
 15    a non-prosecution form, or generally did     15   A. Before -- I believe it was before
 16    you need a supervisor to sign off on that?   16   Megan.
 17    A. No, you could go in on your own           17   Q. How many times?
 18    and do that.                                 18   A. I can't say for sure.
 19    Q. Do you remember making a choice to        19   Q. Okay. In this interview you never
 20    do that here?                                20   mention Megan's text messages; correct?
 21    A. I don't remember.                         21   A. Yes.
 22    Q. Why did you give her the                  22   Q. And that's because you hadn't seen
 23    non-prosecution form?                        23   them yet?


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  1    A. Right.                                     1   Q. After Megan left your office, did
  2    Q. You-all made the decision to               2   you have any internal meetings about the
  3    Mirandize Megan without seeing the text       3   investigation?
  4    messages; correct?                            4   A. Not that I remember.
  5    A. Yes.                                       5   Q. Did you ever have a conversation
  6    Q. So Megan then left your office or          6   about the involvement of the Bunn family
  7    left the sheriff's office, and what was       7   in the allegations made by Megan with
  8    the next thing you did in the                 8   Captain Hood?
  9    investigation into Megan's allegations        9   A. Not that I remember.
 10    against T. J. Bunn?                          10   Q. Did you ever have such a
 11    A. I'm sure it was to get the rest of        11   conversation with Hart, Captain Hart?
 12    the videos that we knew were out there,      12   A. Not that I remember.
 13    probably Innisfree, and checking with any    13   Q. Did you ever have such a
 14    city-owned cameras that may have got         14   conversation with Sheriff Abernathy?
 15    picked up anything on camera around          15   A. No.
 16    Innisfree, down University Boulevard.        16   Q. How about Josh Hastings?
 17    That's more than likely that's what it       17   A. Other than just the general
 18    was.                                         18   investigative questions, nothing specific
 19    Q. As you sit here, do you actually          19   comes to mind.
 20    know what happened to Megan after she left   20   Q. Are you aware that Captain Hood
 21    Innisfree between when she got into          21   called one of his supervisors on the
 22    T. J. Bunn's car?                            22   morning of the alleged assault to tell him
 23    A. No.                                       23   that Bunn was involved?

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  1    A. I didn't know that.                        1   going to mess it up -- Intagliata?
  2    Q. Are you aware that Sheriff                 2   A. No.
  3    Abernathy himself was told that Bunn was      3   Q. Never spoke to Bridget Bernarding?
  4    involved?                                     4   A. No.
  5    A. I was not aware of that, no.               5   Q. You never spoke to Sammie Auer?
  6    Q. Did you ever contact any of the            6   A. No.
  7    people who were at the Innisfree bar with     7   Q. Couldn't they have all told you
  8    Megan Rondini?                                8   when Megan left Innisfree and why?
  9    A. No.                                        9   A. They could have -- well, I don't
 10    Q. You never spoke to Kara Whelpy?           10   know if they could have.
 11    A. No.                                       11   Q. Well, wouldn't you want to know?
 12    Q. You never spoke to Elisabeth              12   Wouldn't you want to ask them?
 13    Mapes?                                       13   A. I can't -- I think we had video
 14    A. No.                                       14   pretty quick from Innisfree.
 15    Q. You never spoke to Hannah Carter?         15   Q. But it was video. It wasn't
 16    A. No.                                       16   audio; right?
 17    Q. You never spoke Logan St. Pierre?         17   A. Right.
 18    A. No.                                       18   Q. Isn't it supposed to be your job
 19    Q. You never spoke to Shannon Towles?        19   to contact witnesses to crimes?
 20    A. No.                                       20   A. They were just at the bar, yes.
 21    Q. You never spoke to Haley Wightman?        21   Q. But we still don't know what
 22    A. No.                                       22   happened to Megan Rondini from the time
 23    Q. You never spoke to Amie -- I'm            23   when she left Innisfree, thinking to her


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  1    memory that she had a designated driver,      1   Q. Okay, it's not. So if it's not
  2    and when she's picked up on the side of       2   there, would it have been collected?
  3    the road by T. J. Bunn; right? We still       3   A. Probably not.
  4    don't know what happened?                     4   Q. Okay. So you said you looked at
  5    A. All I know --                              5   some surveillance footage from various
  6    Q. Wouldn't it --                             6   cameras; I'm paraphrasing. What else did
  7              MR. COCKRELL: Wait a                7   you do as to the Rondini investigation
  8    minute. Let him finish his answer.            8   after Megan left the office?
  9    A. -- all I know is she walked out of         9   A. I can't remember anything
 10    the bar. That's --                           10   specifically.
 11    Q. (By Ms. Bolger) Right. But it             11   Q. Okay. Can you remember if
 12    feels like these women would have been       12   Investigator Hastings did anything?
 13    able to tell you about that; right?          13   A. I don't know.
 14    A. Possible, if they hadn't left.            14   Q. Did you hear again from
 15    Q. Did you ever interview a woman            15   Mr. Rondini?
 16    named Rebecca Lundgren who was with Ciara    16   A. I don't think so.
 17    Younger when she came to pick up Rondini?    17   Q. There was never a physical exam of
 18    A. I didn't.                                 18   any kind done on Mr. Bunn, was there?
 19    Q. Did you ever collect -- was               19   A. Not to my knowledge.
 20    T. J. Bunn's clothing ever collected?        20   Q. And I know you took bedding from
 21    A. I can't remember if his clothing          21   the house, but you didn't do any analysis
 22    was collected. It would probably be on       22   on the bedding; right?
 23    that evidence list in the felony packet.     23   A. I don't believe so.

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  1    Q. So sorry. You said you didn't              1   purpose of that meeting was?
  2    speak to Mr. Rondini?                         2   A. I think she just wanted, you know,
  3    A. I don't believe I did -- again             3   like I say the facts of the case. That
  4    after that first time.                        4   way she would know what to talk about with
  5    Q. Right, I know you spoke to him the         5   Mr. Rondini.
  6    first time, but the district attorney did     6   Q. Did you have that conversation
  7    speak with him; correct?                      7   with the district attorney before or after
  8    A. Yes.                                       8   you put together the felony packet?
  9    Q. And you had a meeting with the             9   A. It would have probably been
 10    district attorney before she spoke to        10   before.
 11    Mr. Rondini; right?                          11             MS. BOLGER: J. T., I'm
 12    A. I don't even know if I would call         12   going to ask you to show the witness the
 13    it a meeting. Seems like she just wanted     13   timeline which is -- it was Exhibit 15 --
 14    what were the facts of the case or           14   wait, no. Yes, it was Exhibit 15, but
 15    something to that effect. I can't say for    15   it's AJ exhibit. It's the first one
 16    sure, but it wasn't like a formal meeting.   16   through 23, pages one through 23 of AJ is
 17    Q. Okay. Informal or formal --               17   the timeline of the Rondini case.
 18    A. Right.                                    18             MR. COCKRELL: I tell you
 19    Q. -- did you have a conversation            19   what, we've been going a little over an
 20    with her face to face or a telephone         20   hour, I think. Let's just take maybe a
 21    conversation?                                21   five-minute break.
 22    A. I don't remember.                         22             MS. BOLGER: Okay.
 23    Q. Okay. What do you remember the            23             VIDEOGRAPHER: We're off the


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  1    record at 2:11.                               1   me?
  2               MS. BOLGER: Can I have 10          2   A. Yes, ma'am.
  3    more minutes, Bob, to finish this line of     3   Q. Okay. So it says, District
  4    questioning?                                  4   Attorney Lyn Head came over to the office
  5               VIDEOGRAPHER: Back on the          5   to speak with Investigator Jones about the
  6    record at 2:12 p m.                           6   case. Head said she was going to speak
  7          (Whereupon, a document that was         7   with Ms. Rondini's father and she left the
  8          previously marked as Defendant's        8   office a short time later.
  9          Exhibit No. 15 was referenced and       9        Approximately 30 minutes later, DA
 10          is attached to the original            10   Lyn Head came back to the office to speak
 11          transcript.)                           11   with Investigator Jones about the
 12    Q. (By Ms. Bolger) For the record,           12   conversation she had had with
 13    this is a document that Chief Waid I         13   Ms. Rondini's father. Head provided
 14    believe identified as a timeline of the      14   Investigator Jones with a synopsis of the
 15    Rondini case created by the attorney         15   conversation she had with Mr. Rondini, see
 16    general's office after the -- after          16   the email below.
 17    actually Ms. Rondini's death, and I'm only   17        Do you remember that happening,
 18    going to ask you about one very specific     18   Investigator Jones?
 19    portion of the timeline.                     19   A. Yes.
 20         You're welcome to read the whole        20   Q. And did you, in fact, receive an
 21    thing but I wanted you to turn to page 20.   21   email with the synopsis or did she give
 22    There's a date of July 28, 2015 that I       22   you an oral synopsis and wrote it later?
 23    wanted to talk to you about. Are you with    23   A. It was an email.

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  1    Q. We didn't get that email when we           1   opportunity to go over the case again this
  2    saw this production. Did you have a lot       2   morning.
  3    of emails related to this case?               3        I told him that you reviewed the
  4    A. No.                                        4   details of statements and video from the
  5    Q. Did you have any emails related to         5   investigation with me and that you had
  6    this case?                                    6   referred to your case notes in doing so.
  7    A. The ones I had I turned over, and          7   Do you see that?
  8    I say that this is an email. I don't know     8   A. Yes.
  9    if she sent it directly to me or if she       9   Q. What case notes?
 10    sent it to a supervisor and they passed it   10   A. It was probably notes that
 11    onto me.                                     11   everybody had taken whether it was on the
 12    Q. But you have seen an email that           12   scene or, you know, in the interview.
 13    contains these contents?                     13   Case notes could be, you know, written
 14    A. Yes, I've seen it.                        14   statement or, you know, just somebody
 15    Q. I just want to ask you a couple of        15   jotting down notes, synopsis of a
 16    questions about the second graph of the      16   statement.
 17    email, so the second bullet or italicized    17   Q. I actually didn't see any notes by
 18    graph.                                       18   you in the file. There's no handwritten
 19         It starts, I apologized to him for      19   notes by you. Is that consistent with
 20    the delay in getting back with him and       20   your memory?
 21    explained to him that both of our offices    21   A. I believe so.
 22    are understaffed and have a lot going on     22   Q. And the next paragraph it says, he
 23    during recent weeks, and we just had an      23   asked what this office intended to do in


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  1    the case. I told him there was no             1   something you said, so I wondered if you
  2    evidence of force or lack of capacity to      2   had said there were three statements, but
  3    consent. Because of the total absence of      3   if you don't remember you don't remember.
  4    evidence as to either of these required       4   A. Yeah, I don't remember.
  5    elements, the case would not proceed to to    5   Q. Okay. Then on the next page,
  6    a grand jury. Do you see that?                6   page 21, the graph starts he asked why her
  7    A. Yes.                                       7   Miranda rights were read to her.
  8    Q. Okay. And the next paragraph               8        Do you see that?
  9    starts out, he asked whether, but I just      9   A. Yes, ma'am.
 10    wanted to have you look at bottom. So the    10   Q. She said, I informed him that I
 11    final sentence in that paragraph, which is   11   did not understand that he ultimately
 12    third from the end reads, I also told him    12   claimed that she had been sexually
 13    that based on the statements of the three    13   assaulted.
 14    individuals who gave statements concerning   14        Do you see that?
 15    her contact with the male subject, the       15   A. Yes.
 16    last cocktails that were made were made by   16   Q. Is it your position that Megan
 17    Megan at her apartment. What were those      17   Rondini never claimed she was sexually
 18    three statements?                            18   assaulted?
 19    A. I don't know who she was referring        19   A. Well, she claimed that, yes.
 20    to. I mean I don't know if she's talking     20   Q. So that's wrong that she says here
 21    about Bunn, Barksdale, and Megan. I don't    21   I did not understand that she ultimately
 22    know if that's the three. I don't know.      22   claimed that she had been sexually
 23    Q. Okay. She seems to be referencing         23   assaulted? She did claim she had been

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  1    sexually assaulted; right?                    1   that the lack of follow-up concerning
  2    A. Yes.                                       2   medical information at the hospital
  3    Q. And you know that's what she               3   (because he had called you and you had not
  4    claimed; right?                               4   returned his call) and other things that
  5    A. She didn't use the term sexually           5   he had thought to do in the first ten
  6    assaulted.                                    6   minutes of knowledge that this had
  7    Q. She did or did not?                        7   occurred and other things that a sergeant
  8    A. Did not.                                   8   in Las Vegas (his relative) has asked
  9    Q. But that's what she was saying             9   about indicated that this so-called
 10    happened to her; right?                      10   investigation had been conducted in a
 11    A. Yes.                                      11   hillbilly manner that caused him concern.
 12    Q. And then the start of the next            12         Do you see that?
 13    paragraph starts out, he asked whether she   13   A. Yes.
 14    would be charged with a crime and stated     14   Q. Then on the next page, I told him
 15    that would be an injustice under the         15   that his lack of knowledge of the facts
 16    circumstances.                               16   and actions of the investigation and his
 17         Do you see that?                        17   resulting use of the word "hillbilly" was
 18    A. Yes.                                      18   frankly the most offensive thing anyone
 19    Q. And then if you look at the final         19   had said to me in 18 years I have been
 20    paragraph on the page, it says he told --    20   working in this field.
 21    he then told me that the investigator had    21        Do you see that?
 22    been gruff with her and that it had been     22   A. Yes.
 23    inappropriate for a male to question her,    23   Q. Did you also agree that hillbilly


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  1    is offensive?                                1   A. Just he had contacted me saying
  2    A. Not to me. I mean, I've been              2   that he was representing the Rondinis.
  3    called worse.                                3   Q. Okay. And you originally agreed
  4    Q. And then he says, he never wants          4   to talk to him; right?
  5    you to contact his daughter ever again.      5   A. Yes.
  6    Do you see that?                             6   Q. And then you didn't ultimately;
  7    A. Yes.                                      7   correct?
  8    Q. And, in fact, you never did               8   A. Yes.
  9    contact his daughter again; right?           9   Q. Why not?
 10    A. Right.                                   10   A. I can't remember exactly, but I
 11    Q. Do you remember having any               11   believe it was because he wanted to be
 12    reaction to this?                           12   there any time Megan was there and the
 13    A. No.                                      13   only thing that she had to come back for
 14    Q. Okay. Just quickly before we             14   was picking up her property so it really
 15    break -- actually you know what, we can     15   wasn't necessary to talk with him.
 16    come back. We can take a break.             16   Q. Was it also in part because the
 17             VIDEOGRAPHER: We're off the        17   Rondinis had said that they were
 18    record at 2:19 p.m.                         18   considering litigation against the
 19             (Recess was taken.)                19   department?
 20             VIDEOGRAPHER: We're back on        20   A. I don't know about the -- I don't
 21    the record at 2:34 p.m.                     21   think that was in talks at that time.
 22    Q. Do you know a guy Scott Meyer,           22   Q. Did there come a time when the
 23    Investigator Jones?                         23   Rondinis said they were threatening a

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  1    lawsuit?                                     1   A. Yes.
  2    A. It wasn't made known to us.               2   Q. What did you understand her to
  3    Q. It wasn't told to you?                    3   mean by that?
  4    A. Up until the lawsuit was filed, I         4   A. I do remember asking her at that
  5    mean, there wasn't talk saying, you know,    5   point if she was talking about civilly,
  6    they're talking about filing a lawsuit.      6   like a civil suit, against the Bunns I'm
  7    Q. Okay. Did you speak to                    7   sorry.
  8    Ms. Rondini when she came to get her         8   Q. Okay. And what did she say to
  9    property?                                    9   that?
 10    A. Yes.                                     10   A. I believe she said, yes.
 11    Q. What did you-all talk about?             11   Q. At any point before the filing of
 12    A. Just the gist of it was about the        12   that lawsuit were you instructed not to
 13    property that I remember --                 13   talk to the Rondinis anymore because this
 14    Q. At that time -- I'm sorry, I cut         14   was a civil matter and all things needed
 15    you off. That was totally unintentional.    15   to be directed through the district
 16         Can you tell me what you were          16   attorney's office?
 17    saying?                                     17   A. I don't remember anybody ever
 18    A. I'm sorry, I believe it was just         18   instructing me not to talk to the Rondinis
 19    about the property itself I think. I        19   other than the attorney, Meyer, Scott
 20    can't remember everything.                  20   Meyer, the one --
 21    Q. Do you remember her telling you          21   Q. I'm sorry, I thought you ended up
 22    that they were planning to go a different   22   not talking to Mr. Meyer. Did you have a
 23    route?                                      23   conversation with Mr. Meyer?


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  1    A. Well, I think it was in letter             1   Hart?
  2    form, I think.                                2   A. I don't remember -- I'm not
  3    Q. Okay.                                      3   doubting I did it. I sent it, but I just
  4              MS. BOLGER: J. T., can you          4   don't remember it.
  5    hand the witness letter N?                    5   Q. Why send an email like that to Kip
  6              MR. THOMPSON: Yes, just a           6   Hart?
  7    second.                                       7   A. I don't -- I don't know.
  8              MS. BOLGER: And Nancy,              8   Q. And the handwriting on top there's
  9    would you mark this 31.                       9   a handwritten note that says, this is an
 10         (Whereupon, a document was marked       10   attorney the Rondinis had to contact me
 11         as Defendant's Exhibit No. 31 and       11   during the investigation. Do you see
 12         is attached to the original             12   that?
 13         transcript.)                            13   A. Yes.
 14    Q. (By Ms. Bolger) For the record,           14   Q. And that's your handwriting?
 15    Exhibit 31 is a document produced to us by   15   A. Yes.
 16    the plaintiffs that we've given the Bates    16   Q. And was that a note you wrote as
 17    number Jones-Hastings 224. It's an email     17   to this litigation?
 18    from Adam Jones to Kip Hart dated            18   A. I can't remember if -- I don't
 19    August 19, 2015, with some handwriting on    19   know if I made that note printing it out
 20    the top.                                     20   putting it in the file, case file, or I
 21         Investigator Jones, do you              21   can't remember writing that. I know
 22    remember receiving this email -- or sorry,   22   that's my writing, but I just don't
 23    do you remember sending this email to Kip    23   remember when I wrote it.

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  1    Q.     Okay. You can put that aside.          1   Q. And when did you do that?
  2              MS. BOLGER: J. T., would            2   A. It would probably be from anywhere
  3    you mind handing the witness letter I,        3   from the end of July through halfway
  4    which is the felony packet, and for the       4   through August, at some time period in
  5    record this was marked as Exhibit 2 to the    5   there.
  6    deposition of Captain Hood -- Captain         6   Q. And if you'll flip through it, you
  7    Hart.                                         7   can do so at your leisure. I want to just
  8         (Whereupon, a document that was          8   make sure that this is the whole felony
  9         previously marked as Defendant's         9   packet.
 10         Exhibit No. 2 was referenced and        10   A. It does look like the entire
 11         is attached to the original             11   thing.
 12         transcript.)                            12   Q. How did you go about putting this
 13    Q. For the record, I have had -- the         13   together?
 14    witness has been handed the felony packet    14   A. Just collected the statements that
 15    related to the case in which Megan           15   everybody had taken, the photos, and the
 16    Elizabeth Rondini is the victim and Terry    16   system that we use actually puts it in an
 17    Jackson Bunn, Jr., is the defendant.         17   order. Any handwritten statement or
 18          Investigator Jones, have you seen      18   anything we -- or Miranda rights or
 19    this before?                                 19   anything like that, we'll put that in the
 20    A. Yes.                                      20   packet in the certain order that they want
 21    Q. In fact, you put this together;           21   it.
 22    correct?                                     22   Q. Okay.
 23    A. Yes.                                      23   A. If that's what you're talking


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  1    about.                                        1   the grand jury?
  2    Q. And is the purpose of the felony           2   A. I believe it was February of '16.
  3    packet to put together all of the             3   Q. And that was after Megan died?
  4    important information in the case and then    4   A. Yes.
  5    you send it over to the district attorney     5   Q. I want to ask you a couple of
  6    for presentation to the grand jury?           6   questions about the packet. So on the
  7    A. Yes.                                       7   first page you'll see it says charge
  8    Q. So you're trying to marshal all of         8   special inquiry. Do you see that?
  9    your evidence and put it in the grand jury    9   A. Yes.
 10    felony packet; right?                        10   Q. Have you put -- is putting special
 11    A. Everything related to the case.           11   inquiry as the charge for a case that goes
 12    Q. Okay. Did you actually present            12   to the grand jury common?
 13    this case to a grand jury?                   13   A. Yes.
 14    A. Yes.                                      14   Q. Why?
 15    Q. There's something in the files            15   A. Well, like I say, we had
 16    that says that Investigator Adams            16   determined the elements of the crime for
 17    presented it to the grand jury. Is that      17   rape had not been met. We presented it to
 18    wrong; you did it yourself?                  18   the grand jury to see if they saw
 19    A. I don't know why people put that          19   otherwise.
 20    as my last name, I guess. My name is Adam    20   Q. You said you determined the
 21    Jones, so I don't know why they do that      21   elements of rape had not been met. Had
 22    but it was me that presented it.             22   you determined that the elements of any
 23    Q. Okay. When did you present it to          23   other crime of sexual misconduct had been

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  1    met or not met?                               1   the claims against Mr. Bunn amounted to
  2    A. No.                                        2   sexual misconduct?
  3    Q. Have you ever charged anyone with          3   A. Not that I remember.
  4    a lesser sexual assault offense?              4   Q. Have you ever been trained on the
  5    A. Not that I can remember.                   5   elements of sexual misconduct crimes other
  6    Q. Do you know what they are?                 6   than rape?
  7    A. Well, I'm sure probably talking            7   A. Not -- no formal training, no.
  8    about sexual misconduct, sexual abuse.        8   Q. Where did you get your
  9    Q. Do you know what the elements are          9   understanding of what earnest resistance
 10    of sexual misconduct?                        10   is?
 11    A. Not in my head, no.                       11   A. Just by the -- I believe it's the
 12    Q. So how can you tell if something          12   legal definition in Title 13.
 13    is a crime if you were never -- if you       13   Q. So just from reading the statute
 14    don't know the elements?                     14   is how you came to know what earnest
 15    A. Well, I'm just saying it's been a         15   resistance was?
 16    year since I've worked in police work, so,   16   A. Well, it's defined in the criminal
 17    you know, I don't remember the elements of   17   statute.
 18    that crime. I'm not saying --                18   Q. Okay. But just by reading the
 19    Q. Did you know the elements of that         19   definition of earnest resistance is how
 20    crime on the 2nd of July 2015?               20   you came to understand what earnest
 21    A. I'm sure I did.                           21   resistance was?
 22    Q. Did you sit down and try to               22   A. When it's based on a crime, yes.
 23    determine whether the charges against --     23   Q. You never had a conversation with


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  1    anybody or trained in how to spot the         1   A. Well, I guess it wouldn't be
  2    elements of earnest resistance?               2   lesser. Sodomy. I can't remember if I've
  3    A. No.                                        3   ever charged anybody with sexual
  4    Q. When did you acquire your                  4   misconduct. I have had rape been charged
  5    knowledge of the elements -- when did you     5   -- charged people with rape. Sexual
  6    acquire your knowledge of what earnest        6   abuse.
  7    resistance is?                                7   Q. What are the elements of sexual
  8    A. Probably been early on in my               8   abuse?
  9    career. You don't use that as far as          9   A. There again, I would have to have
 10    determining element of a crime as much as    10   a Title 13 in front of me to know exactly
 11    you do working in homicide. You do as far    11   what it says.
 12    as like when I was in patrol taking the      12   Q. Okay. Page 2 of the document, and
 13    actual report, yes, you would document       13   I promise I won't ask you a question on
 14    that, but you dealt with it a lot more in    14   every page of this massive document, but I
 15    homicide.                                    15   will ask you questions on some. It says
 16    Q. Okay. But you never charged               16   Tuscaloosa Homicide Unit felony sheet --
 17    anybody with any other sexual crime?         17   felony report fact sheet. What is a
 18    A. I mean I have, yes. I thought you         18   felony report fact sheet?
 19    were talking about a lesser crime -- I see   19            MR. COCKRELL: What page are
 20    what you're asking now. As far as yes,       20   you on?
 21    people have been charged -- I have charged   21            THE WITNESS: The second
 22    people with lesser sexual crimes.            22   page.
 23    Q. What crimes?                              23   Q. (By Ms. Bolger) Second page.

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  1    A. Basically just list the defendant,         1   A. It's basically for any supervisor
  2    victim, charge and the initial officer on     2   that's reviewing this, checking it I guess
  3    the scene, anybody that did any               3   you could say, to make sure any
  4    interviews.                                   4   corrections or anything needed to be made
  5    Q. Is it generated automatically or           5   as far as it's just a general overview of
  6    do you generate it?                           6   the case.
  7    A. The format of it is generated              7   Q. Okay. When say a supervisor, what
  8    automatically. We have to input the names     8   do you mean?
  9    and stuff like that, addresses, dates, but    9   A. Well, it goes through three
 10    the general layout, I guess you could say,   10   different supervisors. One makes sure all
 11    is generated automatically.                  11   the paperwork is actually in the report.
 12    Q. Okay. If you flip to --                   12   There's another one that makes sure
 13    unfortunately there are no page numbers,     13   there's no grammatical errors or spelling.
 14    and you're probably going to dislike me      14         And then I believe it's one that
 15    for making you count a lot and I apologize   15   actually looks through, you know, to make
 16    for that, but on the fourth page of the      16   sure that, you know, the investigation was
 17    exhibit it's called Tuscaloosa County        17   done correctly or totally, and it's ready
 18    Homicide Unit Synopsis. Do you see that?     18   to go to grand jury.
 19    A. Yes.                                      19   Q. And who looked through this in
 20    Q. And did you write this?                   20   this case?
 21    A. Yes.                                      21   A. I can't remember the order. It
 22    Q. What is the purpose of the                22   seems like it was Sergeant Davis, Sergeant
 23    synopsis in this packet?                     23   Franks, and possibly Captain Hood. That's


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  1    -- we put it in a box, in the first           1   packet here, but like I don't go through
  2    sergeant's box. He'll do what he checks.      2   and read the synopsis for the grand jury.
  3    It goes to another sergeant's box. He         3   It's usually just the facts of the case
  4    does his check, and then it goes to           4   that is presented.
  5    Captain Hood.                                 5   Q. In this case you did a
  6    Q. Okay. And then this packet goes            6   presentation to the grand jury?
  7    to the grand jury?                            7   A. Yes, yes.
  8    A. It goes to the DA's office.                8   Q. What did you present to the grand
  9    Q. Goes to the DA's office. And what          9   jury?
 10    happens to it in the DA's office?            10   A. When?
 11    A. My understanding is they put it in        11   Q. What.
 12    their own folders. They keep it as much      12   A. What did -- it was this case, I
 13    in entirety as possible, but I think they    13   mean -- the felony --
 14    would break the packets up from time to      14   Q. What did you --
 15    time, I don't know why, but they go          15   A. -- the felony packet?
 16    through the packet, assign it a date to be   16   Q. The felony packet?
 17    presented to grand jury, and then it's       17   A. Yes.
 18    presented on that date.                      18   Q. Did you do an oral presentation or
 19    Q. And did you -- when you presented         19   did you hand them the felony packet?
 20    to the grand jury, did you present the       20   A. It was an oral presentation.
 21    whole packet?                                21   Q. What parts of the felony packet
 22    A. Just relative to the alleged              22   did you talk about in your oral
 23    sexual assault. I mean there's an entire     23   presentation?

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  1    A. It's usually the case report which         1   Q. For the time being, Investigator
  2    is --                                         2   Jones, can you take a look at page 4,
  3             MR. COCKRELL: Hold on a              3   which is the synopsis, which is what we
  4    second. Can we go off the record a            4   had been talking about?
  5    minute?                                       5   A. Okay.
  6             MS. BOLGER: I'm sorry, I             6   Q. Okay. And you'll see there's a --
  7    can't hear you.                               7   it's actually the second or third full
  8             MR. COCKRELL: Can we go off          8   graph starts, during the course of this
  9    the record for a minute?                      9   investigation. Do you see that?
 10             MS. BOLGER: Sure.                   10   A. Yes.
 11             VIDEOGRAPHER: We're off the         11   Q. It says, "During the course of
 12    record at 2:53 p m.                          12   this investigation several videos were
 13             (Off the record.)                   13   pulled. The victim and suspect were
 14             VIDEOGRAPHER: We're back on         14   interviewed. It was found no sexual
 15    the record at 2:58 p m.                      15   assault occurred and investigators were
 16             MS. BOLGER: For the record,         16   able to determine that the victim went
 17    the parties just had an off-the-record       17   with the subject willingly after they took
 18    colloquy about when and how I can ask        18   her home to Houndstooth Apartments.
 19    about the witness's testimony at the grand   19         After speaking with the DA on the
 20    jury without putting anybody in an awkward   20   case, she advised me that the elements of
 21    and potentially illegal situation, and       21   rape were not met."
 22    we're going to put a pin in that and come    22         Do you see that?
 23    back to it.                                  23   A. Yes.


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  1    Q. Are rape and sexual assault two            1   crime.
  2    different crimes in Alabama?                  2   A. And that's what I can't remember
  3    A. No.                                        3   that either. I just remember putting that
  4    Q. And it says, "It was found no              4   no crime occurred. I can't remember.
  5    sexual assault occurred."                     5   Q. Can you remember what crime you
  6         Do you see that?                         6   were investigating?
  7    A. Yes.                                       7   A. I can't.
  8    Q. In any other felony packet have            8   Q. Okay. Seems an unusual thing to
  9    you ever said that no crime occurred?         9   put in a felony packet that's going to go
 10    A. I know that -- I know that I've           10   to a grand jury to try to influence
 11    said that. I don't know to what capacity     11   whether they see a crime occurring.
 12    as far as being in a felony packet. I        12        Isn't that an unusual thing to say
 13    don't remember.                              13   if you want someone to take a fresh look
 14    Q. So sorry, I don't understand your         14   at a crime?
 15    answer. So you're saying you don't know      15   A. Well, they don't hear this. They
 16    if you've ever done it before in a felony    16   don't see this part of the packet. They
 17    packet?                                      17   actually -- to my knowledge they don't
 18    A. Yeah, I remember in a case file           18   even look at the felony packet. This is
 19    putting that no crime was committed, but I   19   for the district attorney's office.
 20    don't remember if it's ever been in a        20   Q. Then you say, "Investigators were
 21    felony packet that went to the grand jury.   21   contacted by an attorney in Birmingham
 22    Q. What was that crime? You don't            22   saying that he represented the victim and
 23    have to tell me the particulars, just the    23   didn't want us to talk with her unless he

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  1    was there."                                   1   to that.
  2          Do you see that?                        2        And then the sixth page is the
  3    A. Yes.                                       3   case report. Did you draft this?
  4    Q. What does that have to do with             4   A.     Yes.
  5    whether a crime occurred?                     5   Q.     Okay. You'll see on the first
  6    A. There again, it's just a synopsis          6   paragraph is, "On July 2nd, 2015 at
  7    of this entire case and I just included it    7   approximately 5:00 a m., investigators
  8    in the synopsis.                              8   were contacted by TPD and asked to respond
  9    Q. Okay. The next page is page 5 and          9   to DCH in reference to an alleged sexual
 10    it's the felony report witness list. Do      10   assault. Investigators arrived at DCH and
 11    you see that?                                11   stood -- and Investigator Jones obtained a
 12    A. Yes.                                      12   recorded audio statement from the victim.
 13    Q. Are these the people that were to         13         The victim told the investigators
 14    testify in the grand jury?                   14   that she did not think the subject was
 15    A. If they called them. That's why           15   going to let her leave his residence until
 16    we turn over the names. It's up to the       16   she had sex with him. Victim stated she
 17    district attorney's office to subpoena.      17   had sex with the suspect and she never
 18           And just so you know, on number       18   told him to stop or showed any form of
 19    one and number three, it's been redacted     19   earnest resistance."
 20    so I can't see a name, but I'm assuming      20        Do you see that?
 21    there's a name under that redacted part.     21   A.     Yes.
 22    Q. You're looking at a different             22   Q.     Is it your testimony as you sit
 23    version than I am. Okay, we'll come back     23   here that Megan never told him to stop?


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  1    A. Yes.                                       1   A. Well, she's just telling him that
  2    Q. Even though she told you                   2   she needed to leave and --
  3    repeatedly that she thought she had made      3   Q. (By Ms. Bolger) Megan told you,
  4    it clear to him that she wanted him to        4   I'm pretty sure it was clear that I didn't
  5    stop?                                         5   want it to happen.
  6    A. It was my understanding that she           6        Is that her telling him to stop?
  7    just told him she needed to leave.            7             MR. COCKRELL: Object to the
  8    Q. Well, she told you that she                8   form.
  9    thought she told him she didn't want to do    9   A. No, she was saying she was pretty
 10    it in many different ways. Remember?         10   sure that she made it clear, but she
 11              MR. COCKRELL: Object to the        11   didn't ever tell me how she made it clear.
 12    form.                                        12   She just said that she needed to leave.
 13    A. There again, it was my                    13   Q. (By Ms. Bolger) Well, that's
 14    understanding that she never told him to     14   because you cut her off; right?
 15    stop. It was always her just saying she      15   A. I mean --
 16    needed to leave.                             16             MR. COCKRELL: Object to the
 17    Q. But Megan told you I did resist           17   form.
 18    him, I said I wanted to leave when he        18   A. -- there was more opportunities
 19    tried to kiss me. I turned away, like, I     19   for her to tell me.
 20    didn't -- isn't that her telling him that    20   Q. (By Ms. Bolger) Is it your
 21    she wants him to stop?                       21   testimony that the only thing that she
 22              MR. COCKRELL: Object to the        22   could have possibly said that would have
 23    form.                                        23   communicated to you that she told

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  1    T. J. Bunn to stop was if she said I told     1   just read, is there any place else in the
  2    him to stop?                                  2   synopsis where you talk about Megan's
  3    A. Make sure I understand your                3   allegations of sexual assault against
  4    question, could you ask it one more time?     4   Bunn?
  5    Q. Sure. Is it your testimony that            5            MR. COCKRELL: Did you hear
  6    the only way Megan could possibly have        6   that question?
  7    communicated to you that she wanted           7            THE WITNESS: Yes.
  8    T. J. Bunn to stop having sex with her was    8            MR. COCKRELL: Okay. I
  9    to say the words I wanted -- I told him to    9   didn't hear it. Could you read it back?
 10    stop having sex with me?                     10        (Whereupon, requested portion was
 11              MR. COCKRELL: Object to the        11        read back by court reporter.)
 12    form.                                        12   A. Looks like an overview of the
 13    A. Well, with her saying that I need         13   case.
 14    to leave and stop having sex with me is      14   Q. (By Ms. Bolger) That wasn't my
 15    two different things.                        15   question. Is there any other paragraph in
 16    Q. (By Ms. Bolger) After that                16   this case report where you talk about
 17    paragraph -- this is the felony packet       17   Megan's allegations against Bunn?
 18    that relates to the charges against -- the   18   A. No.
 19    charge against Bunn; right? This felony      19   Q. So you don't talk about it in the
 20    packet relates to the allegations made by    20   second paragraph; right?
 21    Megan Rondini against T. J. Bunn; correct?   21   A. No.
 22    A. Yes, yes.                                 22   Q. Or the third paragraph?
 23    Q. After that one paragraph that I           23   A. No.


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  1    Q. Or the fourth paragraph?                  1   A. It's just showing that they're
  2    A. No.                                       2   going on a civil route for this case.
  3    Q. Or the fifth?                             3   Q. What does that matter to whether a
  4    A. No.                                       4   crime occurred?
  5    Q. Or the sixth?                             5   A. It's just so everything can be
  6    A. No.                                       6   documented in this -- in the case report.
  7    Q. Or the seventh?                           7   Q. Why does that have to be
  8    A. No.                                       8   documented in a case report that
  9    Q. Or the eighth?                            9   determines whether Megan Rondini was
 10    A. No.                                      10   assaulted by T. J. Bunn?
 11    Q. But you do say, "Investigators           11   A. It's just showing that she was
 12    received a letter from an attorney in       12   represented by an attorney.
 13    Birmingham saying he was representing the   13   Q. It says that he was told that he
 14    victim"; right?                             14   would not be getting any of the case file
 15    A. Yes.                                     15   unless it was subpoenaed.
 16    Q. What does that have to do with           16        Do you see that? The last final
 17    whether Megan Rondini was raped by          17   clause.
 18    T. J. Bunn?                                 18   A. Yes.
 19    A. That was just an overview of the         19   Q. Why was he not getting any of the
 20    case.                                       20   case file unless it was subpoenaed?
 21    Q. I still don't understand what it         21   A. We don't normally release case
 22    has to do with the case. What does it       22   files to attorneys without a subpoena.
 23    have to do with the case?                   23   Q. Well, but Megan Rondini was the

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  1    victim; right? She was the alleged           1   and it goes from pages 8 -- it goes
  2    victim; right?                               2   through the eighth, ninth, tenth and 11th
  3    A. It was my understanding we didn't         3   pages of the exhibit. What is this?
  4    release the felony packets to anybody.       4   A. This is the initial report that
  5    Q. Okay. Was that because she had an         5   the officer took at the hospital.
  6    attorney or was it you just don't release    6   Q. Were you there when this was taken
  7    felony packets?                              7   or does this represent a separate
  8              MR. COCKRELL: Object to the        8   conversation with Megan?
  9    form.                                        9   A. This was a separate conversation.
 10    A. We don't -- well, she's got --           10   Q. And this is the report that Brad
 11    she's got an attorney, but we don't         11   Phillips got; correct?
 12    release the felony packet to anybody.       12   A. Yes.
 13    Q. (By Ms. Bolger) Okay. So it              13   Q. So Brad Phillips had a
 14    wasn't the fact that he was an attorney     14   conversation with you separate -- with
 15    that he could only get it by subpoena? It   15   Megan separate from the conversation you
 16    was just in general --                      16   had with Megan; correct?
 17    A. Right.                                   17   A. Yes.
 18    Q. -- you can't get felony packets;         18   Q. And this records that
 19    is that right?                              19   conversation?
 20    A. Yes, we just didn't release the          20   A. Yes.
 21    felony packets to anybody.                  21   Q. Okay. Can you look at the 13th
 22    Q. If you look at next page is the          22   page of the exhibit which is the one, two,
 23    Alabama Uniform Incident Offense Report     23   and it says synopsis victim advised?


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  1          The last page of the incident           1   Q. Okay. And you did not say in here
  2    offense report that we just talked was the    2   that she told you that Bunn held her down
  3    11th page of the exhibit; right?              3   by the hips and the torso; right?
  4    A. Okay, yes.                                 4   A. No, I don't see that in there.
  5    Q. Then the next page is the Homicide         5   Q. And you did not put in here that
  6    Unit statement?                               6   he took her phone away from her?
  7    A. Yes.                                       7             MR. COCKRELL: What was the
  8    Q. And then the page after that               8   last part, Kate?
  9    starts with a lower case synopsis and then    9   Q. (By Ms. Bolger) You did not put in
 10    the paragraph begins victim advised?         10   here that he took -- that Bunn took
 11    A. Yes.                                      11   Rondini's phone away?
 12    Q. Who drafted this document?                12   A. No, I don't see that.
 13    A. I believe I did.                          13   Q. If you turn that page, you'll get
 14    Q. Okay. And what did you do to              14   to the signed Miranda waiver by Megan
 15    draft this document?                         15   Rondini; right?
 16    A. I just listened to the audio              16   A. Yes.
 17    interview and did a synopsis of the          17   Q. And then the next page after that
 18    statement.                                   18   is a written statement form?
 19    Q. Okay. So you pick and choose what         19   A. Yes.
 20    to put in the synopsis?                      20   Q. And it goes one, two, three pages?
 21    A. Well, I didn't detail every word.         21   A. Yes.
 22    It's not dictation. It's just an             22   Q. Are those the notes that Megan
 23    overview.                                    23   brought with her to office or did she

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  1     write this in the office?                    1   to have all the documents sent over to the
  2     A. She brought it with her.                  2   district attorney's office.
  3     Q. That's the one that you said you          3   Q. (By Ms. Bolger) Okay. And then
  4     hadn't read in the interview; right?         4   immediately before that there's several
  5     A. Right.                                    5   pages of photocopies of DVDs. Do you see
  6     Q. Okay. Can you flip to the back of         6   that?
  7     the packet? You'll see there's one, two,     7   A. Yes.
  8     three -- sorry, four, five -- six pages      8   Q. When you put this felony packet
  9     from the end there's the first of three      9   together did you actually include the
 10     letters from Scott James Meyer.             10   DVDs?
 11     A. Yes.                                     11   A. Yes.
 12     Q. Why are there three letters from         12   Q. I have more questions about this
 13     Scott James Meyer in this packet?           13   document that I can't ask unless we have
 14     A. Just to make sure that the DA's          14   an agreement on the grand jury thing, so
 15     office had all of the information that I    15   I'm going to come back to this document,
 16     had on this case.                           16   but before I do actually this is a super
 17     Q. Again, why is it relevant that she       17   hard one, but it's the 49th page of the
 18     had a lawyer?                               18   document, so if you count the page you're
 19               MR. COCKRELL: Besides --          19   on, the -- sorry, the first page of DVDs
 20     A. I just --                                20   is the 67th page of the document.
 21               MS. BOLGER: I didn't hear         21             MR. COCKRELL: So what
 22     whatever anybody just said.                 22   number are we going to?
 23     A. I just included this, like I say,        23   Q. (By Ms. Bolger) We're going to 49.


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  1    It's the consent to search form signed by     1   Q. And there's still a third one on
  2    T. J. Bunn at 6:47 a.m.                       2   the next page also signed at 8:15. Do you
  3              MR. COCKRELL: You said              3   know what this one is?
  4    consent to search form?                       4   A. It's another consent form. It
  5              MS. BOLGER: Yeah, it's the          5   looks like it's just in a different --
  6    form for consent to search signed by T. J.    6   it's just a different format.
  7    Bunn on 7/2 at 6:47 a.m.                      7   Q. Okay. Let's put the felony packet
  8              MR. COCKRELL: We've got it.         8   aside and then we'll see maybe later on
  9    Q. (By Ms. Bolger) You'll see -- and          9   what we want to do with that.
 10    we've talked about this consent form         10         Nowhere in the felony packet does
 11    signed at 6:47 a m. so you can turn the      11   it reference any text messages sent or
 12    page. The next one is another form for       12   received by Megan Rondini; is that
 13    consent search signed at what looks like     13   correct?
 14    8:15 a m.                                    14   A. Right.
 15          Do you see that?                       15   Q. Is that because you had not seen
 16    A. Yes.                                      16   them at the time you put the felony packet
 17    Q. Why is there a second signed form         17   together?
 18    consent?                                     18   A. I had viewed them before the
 19    A. After the first one he asked to           19   felony packet but to print out that report
 20    speak with his attorney, so the              20   it was several pages and they -- the
 21    investigators that were on the scene they    21   district attorney's office was getting the
 22    got him to sign another one at the request   22   disc that had all the information on it.
 23    of his attorney.                             23   Q. You felt like just handing them

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  1    the disc was enough?                          1           MR. THOMPSON: Did you say
  2    A. Yes.                                       2   BA?
  3    Q. Did anyone talk to T. J. Bunn or           3               MS. BOLGER: Yeah, B as in
  4    his lawyers about the decision to submit      4   boy, A. If you don't have it it's not
  5    the felony packet to the DA's office to go    5   that big a deal.
  6    to the grand jury?                            6               MR. THOMPSON: Tell me what
  7    A. Not to my knowledge.                       7   it is if you don't mind.
  8    Q. Did Mr. Bunn know that the case            8               MS. BOLGER: It's
  9    was going to the grand jury?                  9   Jones-Hastings 71 and it's the listing of
 10    A. Not to my knowledge.                      10   text messages in extremely small print.
 11    Q. Would it surprise you if we found         11   Q.       While J. T. is looking, did you
 12    that he did know?                            12   have the capacity to cut and paste
 13    A. I don't know who would have let           13   information into the felony report, so in
 14    him know. I mean, it wasn't me.              14   other words, if there were text messages
 15    Q. I'm sorry, I didn't catch that            15   you thought were important, would you have
 16    last answer.                                 16   cut and pasted them into the felony
 17    A. It wasn't me that let him know.           17   report?
 18    To my knowledge he wasn't told.              18   A.       I didn't know how to do it.
 19    Q. Okay.                                     19   Q.       Did anybody else?
 20              MS. BOLGER: J. T., can you         20   A.       I'm sure they could.
 21    hand Investigator Jones the document it      21   Q.       You didn't ask?
 22    was texted over the weekend? It's BA.        22   A.       I didn't ask.
 23    It's Jones-Hastings 71.                      23               MR. THOMPSON: Kate, I'm not


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Adam Jones                                                                          12/7/2020
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  1    seeing BA.                                   1   already as Exhibit 18, but is pages 106
  2             MS. BOLGER: That's fine.            2   through the end of AJ?
  3    We'll cross that bridge another time.        3              MR. THOMPSON: I don't think
  4    Q. Okay. Did you draft a timeline            4   he has that yet. Hang on a second. So
  5    when you were investigating Ms. Rondini's    5   it's 106 through 148?
  6    allegations?                                 6              MS. BOLGER: Yes, it's the
  7    A. No.                                       7   felony packet, the other felony packet.
  8    Q. Is that something you do? You've          8              (Off the record.)
  9    done before?                                 9         (Whereupon, a document that was
 10    A. Yes, we've done it before.               10         previously marked as Defendant's
 11    Q. In what kind of cases?                   11         Exhibit No. 18 was referenced and
 12    A. Murder cases. Murder cases               12         is attached to the original
 13    specifically. I don't remember any other.   13         transcript.)
 14    Q. Okay. Why didn't you do one here?        14   Q. Are you aware of whether the
 15    A. I don't know.                            15   charges against Megan went to the grand
 16    Q. Did you at any point refer charges       16   jury?
 17    against Megan to the CID for                17   A. I don't know if it was presented.
 18    investigation?                              18   Q. Are you aware that charges went
 19    A. I did not.                               19   from the Criminal Investigations Division
 20    Q. Do you know if anybody else did?         20   to the district attorney to be presented
 21    A. I don't.                                 21   to a grand jury?
 22             MS. BOLGER: J. T., could           22   A. I wasn't aware of it. Based on
 23    you hand the witness what was marked        23   this it was because that's their felony

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  1    packet, but I wasn't aware of it.            1   A. No.
  2    Q. So you'll see Exhibit 18 is the           2   Q. Well, how did he get this stuff?
  3    Tuscaloosa County Sheriff's Office           3   These are your documents, if you flip
  4    Criminal Investigation Division Report to    4   through it; right? These are the
  5    a Grand Jury Warrantless Grand Jury          5   documents from your investigation?
  6    Presentation for Megan Elizabeth Rondini,    6   A. It's the Case Management -- I'm
  7    the charge of theft of property in the       7   sorry.
  8    second degree and unlawful breaking and      8   Q. Sorry, go ahead.
  9    entering a vehicle.                          9   A. This is a Case Management System
 10         Do you see that?                       10   that they had access to.
 11    A. Yes.                                     11   Q. So everything you said you put
 12    Q. So no special inquiry here, huh?         12   into the Case Management System and they
 13    A. No.                                      13   were able to pull off the Case Management
 14    Q. What is a warrantless grand jury         14   System?
 15    presentation?                               15   A. Yes.
 16    A. No warrant was obtained on a             16   Q. But someone from the homicide
 17    suspect and the case was presented to       17   office side of things would have had to
 18    grand jury for prosecution.                 18   have told them this case existed for them
 19    Q. Okay. And do you know                    19   to know; correct?
 20    Investigator Thomas Nelson?                 20   A. Not necessarily. It could have
 21    A. I know him, yes.                         21   went through just say if he filed a report
 22    Q. Have you had conversations with          22   whoever took the initial report would be
 23    Mr. Nelson about the Rondini case?          23   sent to the patrol supervisor and then


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  1    that case -- I'm sorry, the incident          1   anything. He's just a road cop, I guess
  2    offense report was then forwarded to the      2   you could say.
  3    Criminal Investigations Division.             3   Q. Okay. Was he at the -- to your
  4    Q. Why weren't they speaking to you           4   knowledge was he at the Bunn's house the
  5    about it if you were the lead investigator    5   morning of the investigation?
  6    on the other half of the investigation?       6   A. I don't know.
  7    A. I don't know.                              7   Q. Does he report through the
  8    Q. If you'll go back to the felony            8   Homicide Unit or the Criminal
  9    packet about the allegation made by Megan.    9   Investigations Division?
 10    Just before those DVDs I talked to you       10   A. He's actually in the patrol
 11    about there's a uniform incident offense     11   division. He's assigned to patrol or he
 12    report.                                      12   was assigned to patrol. I think he's
 13    A. I got it.                                 13   since retired, but he is assigned to
 14    Q. Do you see that? Are you with me?         14   patrol and he would have took this report
 15    A. Yes.                                      15   and probably went to his patrol supervisor
 16    Q. And it says on the bottom that the        16   to submit it.
 17    reporting officer is David Griffin?          17   Q. Do you have any understanding of
 18    A. Yes.                                      18   how the charges against Megan Rondini came
 19    Q. Do you know David Griffin?                19   to be investigated by the Criminal
 20    A. No.                                       20   Investigations Division?
 21    Q. Who is David Griffin?                     21   A. No.
 22    A. He is -- he's a deputy, a road            22   Q. And as you sit here, you don't
 23    deputy. He's not in a division or            23   know whether or not it was ever presented

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  1    to a grand jury?                              1   the matter of Rondini versus Terry Bunn,
  2    A. I don't.                                   2   Jr., and it is dated May 17, 2019.
  3    Q. Who would know that?                       3         Investigator Jones, do you
  4    A. I guess Investigator Nelson would          4   remember signing this affidavit?
  5    know.                                         5   A. I don't -- I don't remember.
  6    Q. Anybody else?                              6   Q. Well, is that your signature on
  7    A. Probably whoever the sergeant or           7   the back page?
  8    lieutenant was in Criminal Investigations     8   A. Yes.
  9    at that time.                                 9   Q. Do you sign a lot of things under
 10    Q. Okay.                                     10   oath that you don't remember?
 11              MS. BOLGER: J. T., can you         11   A. It's just been a while since I've
 12    hand the witness AO?                         12   -- I just don't remember signing it.
 13              MR. THOMPSON: Yeah.                13   Q. Did you draft it?
 14              MS. BOLGER: And, Nancy,            14   A. No.
 15    spoiler alert, this is going to be Exhibit   15   Q. Do you know who drafted it?
 16    35.                                          16   A. I don't.
 17              (Off the record.)                  17   Q. Do you know why you drafted it,
 18         (Whereupon, a document was marked       18   why you signed it, what it was for?
 19         as Defendant's Exhibit No. 32 and       19   A. I don't remember.
 20         is attached to the original             20   Q. If you take a look at the second
 21         transcript.)                            21   page, the second graph says I then
 22    Q. For the record, Exhibit 32 is an          22   provided Ms. Rondini's phone. Do you see
 23    affidavit of Investigator Adam Jones in      23   that?


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  1    A. Yes.                                       1   page, there's a reference that said, I
  2    Q. Okay. And the last sentence of             2   also reviewed photos sent in Snapchat from
  3    that paragraph says, in the course of my      3   Ms. Rondini's phone during the early
  4    investigation I reviewed much of the data     4   morning hours of July 2, 2015 which are
  5    from Ms. Rondini's cell phone and the         5   attached as Exhibit F to the Defendant's
  6    downloaded data because a part of the file    6   motion for summary judgment.
  7    for this file.                                7        Do you see that?
  8         Do you see that?                         8   A. Yes.
  9    A. Yes.                                       9   Q. What are those Snapchat photos?
 10    Q. Is the only way that downloaded           10   A. I believe it was her taking
 11    data became a part of the file for this      11   photos, selfies in front of the animals in
 12    case the DVD that was attached to the        12   Bunn's house. There may be one or --
 13    felony packet?                               13   maybe one or two more inside the house. I
 14    A. To my knowledge, yes.                     14   can't remember -- seems like I remember
 15    Q. And as you sit here, you don't            15   seeing animals in the background. I don't
 16    know the date on which you reviewed much     16   remember what was in the photos.
 17    of the data from Ms. Rondini's cell phone;   17   Q. Do you remember why they were
 18    correct?                                     18   relevant in this litigation between
 19    A. I don't.                                  19   Mr. Rondini and Terry Bunn?
 20    Q. But you know it wasn't before he          20   A. I don't.
 21    was Mirandized; right?                       21   Q. When did you first come to know
 22    A. Right.                                    22   that BuzzFeed was doing -- actually how
 23    Q. And then if you turn to the third         23   did you find out about Megan's death?

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  1    A. Somebody told me about it, I do            1   A. I mean, I hate that the Rondinis
  2    not remember who. I don't know if it was      2   lost their daughter. I wouldn't wish that
  3    another investigator, if it came from the     3   on anybody, but I do remember feeling
  4    DA's office. I don't -- I don't remember.     4   sorry for the Rondini family.
  5    Q. Where were you when you were told?         5   Q. Did you talk to anybody about it?
  6    A. I was at work.                             6   A. No.
  7    Q. Did someone walk up to you at your         7   Q. Did you talk to your wife about
  8    desk and say Megan's dead, or what did        8   it?
  9    they tell you?                                9   A. No.
 10    A. I can't remember the conversation         10   Q. Did you talk to Josh Hastings
 11    exactly because I can't remember who told    11   about it?
 12    me.                                          12   A. I don't remember any conversation
 13    Q. Do you remember when Megan died?          13   with him about it.
 14    A. Was it -- it would be a guess. I          14   Q. Did you talk to Captain Hood?
 15    don't know for sure. I'm thinking it was     15   A. I don't remember any conversation.
 16    around the time that -- been December of     16   Q. Captain Hart about it?
 17    '15 or January of '16. I don't remember.     17   A. I don't remember.
 18    Q. Okay. So you don't remember who           18   Q. Do you remember hearing that on
 19    told you, you don't remember where they      19   her suicide note she referred to herself
 20    told, you don't remember when they told,     20   as having been bullied by cops?
 21    you don't remember when she died.            21   A. I have heard that.
 22         Do you have any memory of how you       22   Q. And when did you hear that?
 23    felt about hearing the news?                 23   A. It was -- I believe it was in the


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  1    BuzzFeed article.                             1   form.
  2    Q.     The BuzzFeed article was the first     2   A. I just -- I don't remember when I
  3    time you heard about it?                      3   heard it, when I heard about it.
  4    A.     Yes.                                   4   Q. (By Ms. Bolger) Well, that's kind
  5    Q.     Had you read any articles at all       5   of my point. You're going to a grand jury
  6    about Megan's death before the BuzzFeed       6   to present on something and then the girl
  7    article?                                      7   dies and you don't even think to yourself
  8    A.     No.                                    8   oh, my God, I can't believe I went to the
  9    Q.     And you had no conversations with      9   grand jury about it? You don't have any
 10    anybody about Megan's death before the       10   thoughts about it that you can remember?
 11    BuzzFeed article?                            11             MR. COCKRELL: Object to the
 12    A.     No.                                   12   form.
 13    Q.     Seems to me like that would have      13   A. No.
 14    been a pretty serious bit of information     14   Q. (By Ms. Bolger) You have no
 15    to learn, to learn that this girl who came   15   thought of like, oh my God, this is a
 16    to you and alleged a sexual assault and      16   terrible tragedy?
 17    then you were putting a felony packet        17             MR. COCKRELL: You can
 18    together related to her sexual assault and   18   answer.
 19    waiting for it to be presented to a -- for   19   A. Yeah, I mean, I hate that it
 20    you to present to a grand jury and learn     20   happened. I mean, I had nothing against
 21    she's dead feels like that would be pretty   21   Megan. You know, I hate for her family
 22    memorable. That wasn't memorable for you?    22   that that happened. And there again, I
 23              MR. COCKRELL: Object to the        23   wouldn't want that to happen to anybody

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  1    but --                                        1            MR. COCKRELL: Object to the
  2    Q.     (By Ms. Bolger) But the                2   form.
  3    conversation that someone told you this       3   Q. (By Ms. Bolger) Right?
  4    happened you can't even remember?             4   A. Yes, I can't remember.
  5              MR. COCKRELL: Object to the         5   Q. Okay. Who was getting emails?
  6    form.                                         6   A. I know I got at least one. I
  7    A.     I can't remember.                      7   believe Josh got one. He may have got
  8              MR. COCKRELL: Asked and             8   more than that, I don't know. I at least
  9    answered.                                     9   got one. I don't who else got emails.
 10    Q.     (By Ms. Bolger) How did you first     10   Q. And do you remember when that was?
 11    come to know that BuzzFeed was planning to   11   A. Yes. It would have been before
 12    do an article about Megan Rondini?           12   June of '17 before the story came out.
 13    A.     We were getting some emails from      13   That's the only thing I can remember.
 14    Katie Baker asking questions about that      14   Q. You can't remember a specific
 15    case, so we were assuming that a story was   15   date?
 16    coming.                                      16   A. No.
 17    Q.     So that you can remember, getting     17   Q. Do you know whether -- were you
 18    press inquiries about it?                    18   involved in any correspondence between
 19    A.     I remember getting emails, yes.       19   Captain Hood and Katie Baker, the reporter
 20    Q.     You can't remember the part where     20   at BuzzFeed?
 21    somebody tells you that this poor girl       21   A. No.
 22    killed herself, but you can remember         22   Q. Did you see it before it went out?
 23    getting emails about yourself; right?        23   A. No.


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  1              MS. BOLGER: Okay. J. T.,            1   A. I've never seen it, no.
  2    can you hand the witness AA, which has        2   Q. So just to speed it up a little
  3    never been marked and is Jones-Hastings       3   bit, just to summarize, these are emails
  4    193 through 204.                              4   from Katie Baker asking specific factual
  5              And this will be Exhibit 33.        5   questions of Captain Hood and Captain Hood
  6         (Whereupon, a document was marked        6   responding to those. So you were not
  7         as Defendant's Exhibit No. 33 and        7   involved in crafting those responses at
  8         is attached to the original              8   all?
  9         transcript.)                             9   A. No.
 10    Q. And for the record Exhibit 33 is          10   Q. If you see on the top of the very
 11    an email from Gary Hood to Katie Baker       11   first page it list recipients, do you see
 12    dated June 9th, 2017, at 3:08 p m. and       12   that?
 13    we've given it the Bates number              13   A. Yes.
 14    Jones-Hastings 193.                          14   Q. Okay. And there's Katie Baker,
 15         My first -- you're welcome to look      15   Sheriff Abernathy, Robert Spence. Do you
 16    through it, I'm not going to ask you very    16   know who Robert Spence is?
 17    many questions, but my first question for    17   A. He's the county attorney.
 18    you is have you ever seen this before?       18   Q. And there's Kip Hart, Jeremy
 19    A. I've never seen it.                       19   Franks. Do you know who Jeremy Franks is?
 20    Q. Have you seen the emails -- I know        20   A. He's a sergeant in Homicide.
 21    you've never seen this actual version of     21   Q. And was he your superior officer
 22    this document, but have you even emails      22   in Homicide?
 23    contained in this string?                    23   A. Yes.

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  1    Q. Okay. And Robert Davis, who is             1   know -- he didn't mention any questions or
  2    also a sergeant in Homicide; right?           2   anything. He was just -- it was just like
  3    A. Yes.                                       3   a general statement of responding I need
  4    Q. And then Josh Hastings. Do you             4   to do an email back to BuzzFeed or
  5    see that?                                     5   something to that effect.
  6    A. Yes.                                       6   Q.     Were you concerned about the
  7    Q. You're not here; right?                    7   contents of what -- would you have liked
  8    A. Right.                                     8   to have seen the contents of this article
  9    Q. Is there some reason why Josh              9   -- sorry, of this email?
 10    Hastings would be copied on this             10   A.     I mean -- I guess they had a
 11    correspondence but you wouldn't be, given    11   reason why I wasn't in the chain there,
 12    that the investigation was done by the two   12   but I don't know, I don't know why I
 13    of you?                                      13   wasn't.
 14    A. I don't know.                             14   Q.     So my question is would you have
 15    Q. No one ever said to you, hey, can         15   liked to have seen it?
 16    you help us out in crafting response to      16   A.     Yeah, I would.
 17    these emails?                                17   Q.     You did, in fact, speak to Katie
 18    A. No.                                       18   Baker on the phone once; correct?
 19    Q. Did you know that Captain Hood was        19   A.     If I do, I don't remember that.
 20    responding to questions from Katie Baker     20   Q.     Okay.
 21    when she was asking questions?               21             MS. BOLGER: J. T., can you
 22    A. I believe -- I remember him               22   show the witness AN, which is the BuzzFeed
 23    mentioning something about it, but I don't   23   1630?


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  1         (Whereupon, a document was marked        1   A. And I'm not saying that I didn't,
  2         as Defendant's Exhibit No. 34 and        2   but typically if it's any media format of
  3         is attached to the original              3   any kind calling about a case, it's always
  4         transcript.)                             4   referred to supervisors and that would
  5    Q. And for the record, while                  5   have been pretty much the extent of it.
  6    Investigator Jones is just acquainting        6   That's probably why I don't remember it
  7    himself with the exhibit, this is an email    7   because we've had media call before and
  8    from Katie Baker to AJones@tcsoal.org         8   it's just referred to a supervisor.
  9    dated June 6, 2017 with the subject Megan     9   Q. Okay. Did you ever -- as you'll
 10    Rondini story.                               10   see in the email there's several questions
 11         Investigator Jones, my question is      11   that get asked.
 12    just have you ever seen this before?         12         Do you see that? Katie asked
 13    A. Yes.                                      13   several questions that are in bold?
 14    Q. Okay. And you'll see -- did you           14   A. Yes, yes, yes.
 15    receive it on or about the time it's         15   Q. Did anyone ever ask you to answer
 16    dated?                                       16   those questions?
 17    A. Yes.                                      17   A. No.
 18    Q. And you'll see it asks -- it              18   Q. Did anybody talk to you about
 19    starts with thanks for speaking just now.    19   responding to this particular email?
 20    I'm going to not shock you and let you       20   A. No.
 21    know that that's why I think you spoke to    21   Q. You forward this, I can tell you
 22    Katie Baker at some point. Does that         22   but I can show you but it would take time
 23    refresh your memory at all?                  23   so just take my word for it, that this was

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  1    forwarded on to Captain Hart.                 1   about it.
  2    A. Yes.                                       2   Q. What was your reaction to getting
  3    Q. You forwarded it to Captain Hart.          3   these inquiries?
  4    And you said in that email, just received     4   A. I was just assuming that there was
  5    this from BuzzFeed. Does that refresh         5   going to be a story written about this
  6    your memory that you, in fact, sent it        6   case.
  7    onto Captain Hart?                            7   Q. And were you worried about that?
  8    A. Yes.                                       8   Happy about that? What was your reaction?
  9    Q. And why did you sent it onto               9   A. I don't remember -- I don't
 10    Captain Hart?                                10   remember having any feeling one way or the
 11    A. It was just a media inquiry, you          11   other about it.
 12    know, so it was just forwarded to the        12   Q. If you take a look at the first
 13    supervisors.                                 13   paragraph in the email that's in front of
 14    Q. Did you have a conversation with          14   you -- sorry, if you take a look at the
 15    Captain Hart about it?                       15   email that's in front of you and you look
 16    A. Not that I remember.                      16   at the third paragraph, right, it starts I
 17    Q. So you're getting all of these            17   can see from the tape that you quickly
 18    press inquiries about this BuzzFeed          18   decided that Megan hadn't earnestly
 19    article. You know you've got them. You       19   resisted Bunn as per Alabama law, but you
 20    know Josh Hastings is getting them. You      20   also built a case against Megan,
 21    know other people are getting them. Were     21   questioned her for multiple felonies she
 22    you guys talking about these inquiries?      22   didn't realize she had committed.
 23    A. I don't remember any conversations        23        Do you see that?


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  1    A. Yes.                                       1   of assault training? If so, please
  2    Q. Do you feel that's an accurate             2   explain what type of trainings and how
  3    assessment of what happened?                  3   often they were held. I would also love
  4    A. No.                                        4   to hear more about your general policies
  5    Q. What's inaccurate about it?                5   and practices around sexual assault
  6    A. It's not a quick decision. You             6   investigations."
  7    know, like it states here, it's a quick       7        Do you see that?
  8    decision that you said that she hadn't        8   A.     Yes.
  9    earnestly resisted. That was part of the      9   Q.     What would your response be to the
 10    interview process to try to get more         10   question do department homicide
 11    information and, you know, I didn't build    11   investigators regularly undergo any type
 12    a case against Megan.                        12   of sexual assault investigation training?
 13    Q. What else is inaccurate about             13   A.     You know, if there's training out
 14    that?                                        14   there and we have availability to go, you
 15    A. That's pretty much it.                    15   know, we're sent. It's not as easy as go
 16    Q. And on the next paragraph it says,        16   to a class. You know, a lot of our
 17    "The IACP tells the police not to pressure   17   training that we get is on the job.
 18    victims to make any decision about           18   Q.     And the next paragraph says,
 19    prosecution during the initial stages of     19   Captain Hood told BuzzFeed that as many as
 20    the investigation. At the end of the         20   40 percent of all reported sexual assaults
 21    interview you offered Megan a refusal to     21   in Tuscaloosa are labeled special inquiry,
 22    prosecute form. Do homicide department       22   a term for cases where there is "not
 23    investigators regularly undergo any type     23   enough information initially to meet the

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  1    element of a crime".                          1   crimes labeled special inquiry are sex
  2         Could you further clarify the            2   crimes?
  3    meaning behind special inquiry? Is it         3   A. I don't know. I don't even have a
  4    just sex crimes that can be labeled           4   guess because I don't -- I don't look at
  5    special inquiry or other crimes as well?      5   stats usually. It's -- that's a
  6          How would you answer that last          6   supervisor that goes through. You know,
  7    question? I'll ask you another one, which     7   they do their reporting to, you know, the
  8    is that you've testified that it isn't        8   FBI or whatever the crime stats are, so I
  9    just sex crimes that are labeled special      9   don't -- I don't even have a good,
 10    inquiry. There are other crimes as well.     10   educated guess on it.
 11          In your experience what percentage     11   Q. What about in your experience when
 12    of inquiry investigation are sex crimes?     12   you labeled crimes special inquiry, what
 13    A. Just my opinion on that, Captain          13   percentage of your experience of labeling
 14    Hood is probably correct on the              14   crimes special inquiry related to sex
 15    percentage.                                  15   crimes?
 16    Q. But I'm asking you a different            16   A. I would probably say 30 to
 17    one, which is what percentage of special     17   40 percent, just on my experience.
 18    inquiries are sexual assaults.               18   Q. Of the other 60 to 70 percent of
 19         So the question Captain Hood            19   crimes, was there one other crime that was
 20    answered is what percentage of sexual        20   as high a percentage of sex crimes of
 21    assaults are labeled special inquiry.        21   special inquiry as sex crimes are? In
 22         I'm actually asking the opposite.       22   other words, were there some other crimes
 23    I'm asking you what percentage of actual     23   that was also 30 to 40 percent or were


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Adam Jones                                                                           12/7/2020
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  1    they -- is it just the other 70 -- 60 to      1   Scotch looking at. I haven't heard from
  2    70 percent composed of various other          2   him yet.
  3    things?                                       3             VIDEOGRAPHER: We're off the
  4    A. Yeah, it was just various other            4   record at 3:54 p m.
  5    things.                                       5             (Recess was taken.)
  6    Q. Okay. Did you want to respond              6   (Mr. Hastings did not return from recess.)
  7    substantively to these questions from         7             VIDEOGRAPHER: We're back on
  8    Katie Baker or were you happy to not          8   the record at 4:10 p m.
  9    respond?                                      9             MS. BOLGER: While we were
 10    A. Honestly, I mean, we just don't           10   taking a break, we kind of all had a
 11    ever -- nobody ever talks to the media as    11   colloquy about what to do about asking
 12    far as investigators go. We always           12   questions about what Investigator Jones
 13    forward it onto the supervisors, so that's   13   did or did not say in the grand jury.
 14    what I did. I didn't feel one way or         14             I have questions about what
 15    another about answering it.                  15   Investigator Jones said and what evidence
 16    Q. Okay.                                     16   was presented to the grand jury, which I
 17              MS. BOLGER: All right. Why         17   think are relevant to the question of
 18    don't we go off the record, guys, and take   18   whether the article is materially false,
 19    like a ten-minute break? Bob, maybe you      19   which, of course, is a burden that's on
 20    can get to the bottom of how you want to     20   the plaintiffs to prove or substantially
 21    proceed about the grand jury stuff and       21   true, which I'm entitled to seek to prove.
 22    then we'll come back.                        22         I understand that Bob, and he can
 23              MR. COCKRELL: I've got             23   speak for himself, has done research which

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  1    lends him to believe that this line of        1   standing objection and I just have to
  2    questioning would be a felony under           2   instruct him not to answer based on the
  3    Alabama law.                                  3   research that Scotch did while we were,
  4              I obviously have no interest        4   you know, since he left.
  5    in committing a felony, but I do have an      5             MS. BOLGER: Okay. So why
  6    interest in obtaining discoverable            6   don't we move on and we'll revisit the
  7    information relevant to a central issue in    7   issue before Judge Proctor.
  8    the case. So I'm not going to ask the         8   Q. Okay. So Investigator Jones,
  9    questions today, but I want to be totally     9   there did come a time when BuzzFeed
 10    clear that the questions I would ask were    10   published an article about the Rondini
 11    what information -- what Mr. Jones,          11   investigation; correct?
 12    Investigator Jones said to the grand jury    12   A. Yes.
 13    and what information was presented to the    13   Q. Have you read the article?
 14    grand jury.                                  14   A. Yes.
 15              I wouldn't ask about anybody       15   Q. How many times have you read the
 16    else's testimony. It would just be what      16   article?
 17    Mr. Jones did, which under New York law,     17   A. I would say a couple of times.
 18    by the way, I'm entitled to ask. And so      18   Q. When was the last time you read
 19    we will raise that issue with Judge          19   it?
 20    Proctor should we need to do so, and we'll   20   A. It's been a few weeks. A few
 21    have to come back another day to have that   21   weeks. Probably a month or longer.
 22    exchange. Bob, anything to add?              22   Q. Okay. A couple of times, I was
 23              MR. COCKRELL: No, just be a        23   thinking you meant two. Do you mean more


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  1    than that?                                    1   with money, you know, they control the
  2    A. Talking about more than two                2   police department or sheriff's office and
  3    months?                                       3   it's just -- it's not -- it's not the way
  4    Q. No, more than two -- you said you          4   it is at all.
  5    had read the article a couple of times. I     5   Q. Now, the article doesn't say
  6    took that to mean two. Do you mean more       6   you're sellouts to people with money. It
  7    than two?                                     7   doesn't use those words; right?
  8    A. Yeah, just a couple of times.              8   A. That's right. It doesn't use
  9    Q. Why did you read it a couple of            9   those words.
 10    months ago?                                  10   Q. You're saying it implies that;
 11    A. Just to read it again, I mean.            11   right?
 12    Q. Okay. What is your reaction to            12   A. Yes.
 13    the article?                                 13   Q. What are the facts that you claim
 14    A. I just feel like there were               14   it asserts to create that implication?
 15    cherry-picked items about the case that      15   A. It's more of the omitted facts.
 16    were published and the entire case was not   16   You know, and as far as they're attacking
 17    presented.                                   17   Josh and I for state law that, you know, I
 18    Q. What items do you think were not          18   don't have any part in writing any law for
 19    presented?                                   19   state or anything to that effect. I just
 20    A. Well, the text messages. As far           20   have to enforce what's there and --
 21    as specifics, it just painted us in a        21   Q. What are the omitted facts?
 22    false light, that we didn't do our jobs      22   A. Well, you know, like I say, the
 23    and basically we are sellouts to people      23   text messages that was in the file.

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  1    Q. The text messages that you didn't          1   thoughts are. What else was false in the
  2    have when you Mirandized Rondini; right?      2   article?
  3    A. I didn't have the disc, yes.               3   A. Well, I just -- I just feel like
  4    Q. And the text messages that weren't         4   it showed law enforcement in general in a
  5    in the felony packet -- weren't discussed     5   false light, and, you know, showing that
  6    in the felony packet; right?                  6   we didn't care. We were just worried
  7    A. Right.                                     7   about this rich guy that, you know, got a
  8    Q. And you had no -- they bore no             8   big construction company in town and that
  9    part of your decision-making when it came     9   just has nothing to do with our
 10    to interviewing Megan or Mirandizing         10   investigation. It's just the way that it
 11    Megan; right? Correct?                       11   was slanted to give us, give our names,
 12    A. Right.                                    12   give us a bad reputation and hurt our
 13    Q. What else was omitted from the            13   name.
 14    article? What else are the omitted facts     14   Q. So you did not like the article's
 15    that you're referring to?                    15   opinion of the investigation?
 16    A. Do we have a copy of the article          16   A. No.
 17    itself that I could look at?                 17   Q. Anything else you would like to
 18    Q. We have, but I'm curious to know          18   tell me that was false about the article?
 19    what your thoughts are. You are              19   A. I mean, the main thing for me was
 20    testifying that the article damaged you.     20   the way it, you know, it mentioned us
 21    I believe you. I want to hear about it.      21   that, you know, it just cast a negative
 22    I don't need you to go through the           22   light on our names when we went by the law
 23    article. I want to know what your            23   that is on the books.


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  1          We didn't make up anything, and,        1   Q. How did you hear about it?
  2    you know, that's what we have to work with    2   A. Somebody had told me that it was
  3    and, you know, it just sort of cast us in     3   published and I went to BuzzFeed and read
  4    a light that we could be bought and it's      4   it.
  5    just not true, I mean.                        5   Q. Who told you it was published?
  6    Q. Where in the article does it talk          6   A. I don't remember.
  7    about money in terms of buying you? You       7   Q. Did you talk to Josh Hastings
  8    keep saying the phrase bought and I don't     8   about it when it was published?
  9    know if you mean actually bribed.             9   A. Yes.
 10    A. Well, it's just the insinuation           10   Q. What did you guys say to each
 11    that rich, powerful people can get their     11   other?
 12    way or get around police investigations      12   A. I don't remember the conversation.
 13    and that seems to be a standard protocol     13   Just basically saying that, you know, it
 14    around here, but that's nothing -- and       14   makes us look like the bad guys in this
 15    that's nothing that -- those words exactly   15   thing, something to that effect. I don't
 16    but that's the spin that it puts.            16   remember specific conversation.
 17               MS. BOLGER: J. T., can you        17   Q. Were you in the office at the
 18    -- well, before you do that.                 18   time?
 19    Q. Okay, after the article was               19   A. Yes.
 20    published -- well, I guess when did you      20   Q. And did you speak to Captain Hood
 21    first see the article?                       21   about the article at the time it was
 22    A. It was probably on the day that it        22   published?
 23    was published.                               23   A. I don't remember speaking to him.

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  1    Q. What about Captain Hart?                   1   Exhibits 25. Investigator Jones, you'll
  2    A. I don't remember speaking to him.          2   see that the first email is an email from
  3    Q. You don't remember speaking to             3   you to Kip Hart that says may get more of
  4    Captain Hart about the article?               4   these, and if you look below it's a
  5    A. No.                                        5   comment from someone named Emily Furnish
  6    Q. Ever?                                      6   on the article.
  7    A. Not ever. That particular day I            7        Do you remember this email?
  8    don't remember anything. I don't remember     8   A. I don't.
  9    a conversation even later on about the --     9   Q. Do you have any reason to doubt
 10    about the article.                           10   that you sent this to Kip Hart?
 11    Q. Okay.                                     11   A. I don't.
 12              MS. BOLGER: J. T., can I           12   Q. I know you don't remember any
 13    ask that you show the witness M that was     13   specific conversations with Captain Hood
 14    previously marked as Exhibit 25 and is       14   or Captain Hart. Do you remember any
 15    Jones-Hastings 187.                          15   specific conversations with any of your
 16              (Off the record.)                  16   supervisors about the article?
 17         (Whereupon, a document that was         17   A. I don't.
 18         previously marked as Defendant's        18   Q. Do you remember any conversation
 19         Exhibit No. 25 was referenced and       19   with anybody at the Tuscaloosa Police
 20         is attached to the original             20   Department or in the Homicide Unit about
 21         transcript.)                            21   the article?
 22    Q. For the record, this is an email          22   A. No.
 23    Josh Hastings 187, previously marked as      23   Q. Just going to again remind you


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  1    this is an article that you say caused you    1   Q. Do you have any reason to believe
  2    tremendous damage, but you don't remember     2   that this article affected your career in
  3    talking about it to anybody at work?          3   the Tuscaloosa Police Department?
  4    A. Well, I usually keep things to             4   A. I feel like it did, not maybe as
  5    myself, I mean that's just my nature. You     5   much with individual officers. It was
  6    know, I didn't -- it was bad enough that      6   more of my job that investigating crimes
  7    it was published in a negative light on me    7   that when, you know, I was contacted by --
  8    so, you know, I really -- I don't care in     8   or I would contact victims, they, you
  9    bringing it up.                               9   know, on a couple of occasions they
 10    Q. Did anybody in your office -- did         10   recognized my name and, you know, didn't
 11    you ever talk to anybody at work about       11   want me to investigate the case based on
 12    this article?                                12   this article.
 13    A. Really just Josh, and there again,        13   Q. Let's unpack that for a second.
 14    I don't remember any specific                14   My actual -- my focus should have been
 15    conversations. I know we've talked about     15   more clear. Let's talk about that victim
 16    it but --                                    16   in one second. Did anybody -- do you have
 17    Q. Did anybody at work ever raise the        17   an impression that the name -- the article
 18    subject with you?                            18   had anything to do with how people in the
 19    A. Not that I can remember.                  19   Tuscaloosa Police Department or the
 20    Q. Do you have any knowledge of              20   Homicide Unit viewed you or made decisions
 21    anybody -- any conversations anybody at      21   about your career?
 22    work had about the article?                  22   A. No.
 23    A. I don't have any knowledge of it.         23   Q. Do you have any reason to believe

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  1    that anybody in the Tuscaloosa Police         1   A. Right.
  2    Department or the Homicide Unit thought       2   Q. And what is your basis for
  3    less of you because of the article?           3   believing that that was because he thought
  4    A. Not anybody in Homicide.                   4   less of you as a result of the article?
  5    Q. How about the Tuscaloosa Police            5   A. Well, I mean, he's your boss. I
  6    Department?                                   6   mean, you've got a guy that works for you,
  7    A. Well, you know, and there again, I         7   you know, I have never had any
  8    never got any emails or conversations with    8   disciplinary issues, you know, nothing
  9    the police chief or anything like that.       9   negative in my file, you know, negative of
 10         I guess it was more of the              10   any kind and he don't reach out and say,
 11    omission of reaching out and saying, you     11   you know, just I'm here for you if you
 12    know, I know that y'all did everything       12   need me.
 13    that you could do in this investigation      13        You know, maybe that was his
 14    and you know, that didn't happen. You        14   personality, I don't know, but, you know,
 15    know, the former police chief did; I do      15   it just -- it felt like I guess he didn't
 16    remember that.                               16   have my back. That's the way it felt to
 17    Q. Sorry, the former police chief of         17   me.
 18    the Tuscaloosa Police Department reached     18   Q. How long had you known the chief
 19    out to you in support?                       19   of police at that point?
 20    A. Yes.                                      20   A. I had known him for 15 years.
 21    Q. But you're saying the Tuscaloosa          21   Q. Were you close?
 22    chief of police did not reach out to you     22   A. Not -- not on a friendly basis as
 23    in support?                                  23   far as, you know, spending time going out


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  1    to eat or anything like that or at each       1   sergeant?
  2    other's homes.                                2   A. I took the sergeant's test one
  3    Q. So as you sit here, his failure to         3   time when I was in Criminal Investigations
  4    reach out to you could have been just his     4   and there were several people, I don't
  5    personality or that he thought less of you    5   even remember how many people took it. I
  6    and you have no way of knowing; right?        6   took it one time. It was just never --
  7    A. Right.                                     7   never appealed to me to be a supervisor.
  8    Q. Other than feeling like the chief          8   I mean, I just like the hands-on work, not
  9    omitted to talk to you, do you have any       9   saying that supervisors are not, but it's
 10    other basis to believe that anybody in the   10   just the work itself is what I enjoyed.
 11    Tuscaloosa Police Department thought less    11   Q. So as I understand your testimony,
 12    of you because of the article?               12   when the article was published no one in
 13    A. No.                                       13   the Tuscaloosa Police Department reached
 14    Q. Do you have any reason to believe         14   out to you to say like -- reached out to
 15    that you were denied any form of promotion   15   you to talk about the article and no one
 16    because of the article?                      16   thought less of you; right?
 17    A. No.                                       17   A. Right.
 18    Q. The promotion above investigator          18   Q. And when the article was published
 19    would be sheriff; right?                     19   no one in the Homicide Unit reached out to
 20    A. No, probably be sergeant. You             20   you to talk about it and no one thought
 21    would go --                                  21   less of you as a result of it; right?
 22    Q. I'm sorry, I meant sergeant, and I        22   A. Right.
 23    apologize. Did you ever seek to become a     23   Q. Outside of the police department

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  1    or the Homicide Unit, were people             1   that effect. I don't remember the exact
  2    critical, did you feel, of you as a result    2   wording. It was more of a threatening
  3    of the article?                               3   manner than just a statement.
  4    A. Yes, I know right after it was             4   Q. Who was that?
  5    published I was getting phone calls at my     5   A. It was just a comment that I saw
  6    desk, you know, it was just basically         6   on this article.
  7    calling for me to go to jail, you know,       7   Q. Do you even know if that was a
  8    comments on the article itself, you know.     8   real person?
  9          You know, there was a couple that       9   A. I don't. That's the --
 10    actually wished harm on my daughter or       10   Q. Did you -- I'm sorry, I didn't
 11    kids in general. I think one specifically    11   mean to cut you off. That was a lag.
 12    said something about my daughter, not by     12   What were you about to say?
 13    name. It was just, you know, if he had a     13   A. I was just, you know, that that's
 14    daughter, it would have been different or    14   the, you know, the bad part is the unknown
 15    hopefully this never happens to his          15   for me. You know, I don't know if that's
 16    daughter or something to that effect.        16   somebody that's here in Tuscaloosa that,
 17    Q. I'm sorry. The wish was that if           17   you know, where they're located and, you
 18    he had a daughter -- it wasn't I hope this   18   know, as a dad and everything else, you
 19    happens to his daughter; right?              19   know, you're looking -- trying to look out
 20    A. Well, it was the gist of, you             20   for your kids to, you know, hope nothing
 21    know, this -- if this happened to his        21   happens to them because you don't know
 22    daughter or something like that, you know,   22   what kind of folks these are, you know.
 23    it would have been different, something to   23         They're radical whatever, you


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  1    know. It's just the fear of the unknown       1   you know, every time -- seemed like every
  2    basically.                                    2   time I was answering the phone there for a
  3    Q. Okay. You said you got a lot of            3   couple of months it was somebody calling
  4    phone calls to your desk. Can you tell me     4   and making, you know, comments about we
  5    more about that?                              5   should go to jail and something to that
  6    A. It was basically just people I             6   effect.
  7    wouldn't recognize the numbers or they        7        But where I guess it hit closer to
  8    would block the numbers, call and say you     8   home was when it was after the article was
  9    should be in jail, I hope y'all spend the     9   published we were on the beach, we had
 10    rest of your lives in jail, you know,        10   went to the beach for two or three days, I
 11    y'all could have done so much more to help   11   don't remember how long, and I had
 12    her and, you know, those were constant for   12   actually got a call from Captain Hart and
 13    several months and --                        13   he said that it was a dad, I had a case, I
 14    Q. How many phone calls were there?          14   was working a case his daughter was a
 15    A. It was dozens. I don't have a             15   victim and he didn't want me working the
 16    number. It was just constant, I mean, for    16   case.
 17    several months, and it got to the point      17        So he was just calling to let me
 18    that I had to talk to Captain Hart about,    18   know that, and, I mean, I really didn't
 19    you know, I'm just going to have to wait     19   know, what to -- what to do or think
 20    until I get a voicemail from, you know, if   20   because, you know, if these calls start
 21    it's a victim that I'm working the case      21   coming in like this, you know, I'm going
 22    on, I'm going to have to get the voicemail   22   to end up -- they're going to move me out
 23    from them and then call them back because,   23   of homicide because nobody is going to

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  1    want me to work their case, and --            1   A. Well, some of them were blocked
  2    Q. That never happened though; right?         2   that, you know, it would show up unknown
  3    You never got moved?                          3   -- I'm sorry, not blocked. It would show
  4    A. No, I was never moved out of               4   up unknown on the caller ID screen from my
  5    homicide, no.                                 5   desk phone. And then sometimes it would
  6    Q. Do you have call logs or any               6   be a number show up, so.
  7    records of these constant phone calls as      7             MS. BOLGER: J. T., would
  8    you said?                                     8   you show Investigator Jones AZ, which is
  9    A. I don't.                                   9   Jones Hastings 434 through 441.
 10    Q. Is there any way to get them at           10             And, Nancy, if you would
 11    the Homicide Unit?                           11   mark that this time actually as Exhibit
 12    A. I don't think so. I'm not sure on         12   35.
 13    that though. Probably be through their IT    13        (Whereupon, a document was marked
 14    department.                                  14        as Defendant's Exhibit No. 35 and
 15    Q. Did any of the callers identify           15        is attached to the original
 16    themselves to you?                           16        transcript.)
 17    A. No.                                       17   Q. For the record, the witness is
 18    Q. How do you know it wasn't just one        18   looking at a document that bears the Bates
 19    person calling you over and over?            19   number 434 through 441, which was produced
 20    A. I don't. It was either blocked            20   by Jones-Hastings in this litigation.
 21    numbers or the number did appear to change   21        You're welcome to take a look,
 22    so.                                          22   Investigator Jones, but my question is
 23    Q. It was blocked numbers?                   23   going to be what is this?


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  1    A. It looks like comments. I don't            1   Investigator Hastings tomorrow.
  2    know if this is Facebook or on the            2        When you looked at Facebook
  3    BuzzFeed article itself.                      3   comments that your wife drew your
  4    Q. You told me that you didn't have a         4   attention to, did you -- what did you see?
  5    Facebook page?                                5   A. Well, there were some people that
  6    A. Yes, I don't.                              6   we knew that, you know, would share the
  7    Q. So did you ever look at Facebook           7   article and there would be some to make
  8    comments for the article?                     8   comments, and, you know, the way I see it
  9    A. Usually when my wife would tell me         9   if they're sharing it, they believe it,
 10    about it, you know, I would look, just       10   so, you know, one person in particular
 11    more than anything I wanted to make sure     11   shared it and made the comment to the
 12    that, you know, if I knew somebody, just     12   effect of heads should roll.
 13    the type people that we deal with, make      13   Q. What is the basis for your belief
 14    sure that it was nobody that would cause,    14   that if people are sharing the article,
 15    you know, any physical harm obviously to     15   they believe it?
 16    my family.                                   16   A. Well, I mean there are people out
 17    Q. Okay. Is this printed out of              17   there that like to spread lies, so I guess
 18    these comments from you?                     18   I just assume that if they share it, I
 19    A. No, I didn't do that.                     19   mean, I'm not -- I'm not up to speed on
 20    Q. Okay. So you've never seen these          20   Facebook so I just assume that if people
 21    before?                                      21   share a story, that, you know, to their
 22    A. No.                                       22   knowledge, to their good faith that it's
 23    Q. Okay, I'll have to ask                    23   true, they think it's true.

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  1    Q. Don't people sometimes just                1   know, you just get sick of looking at
  2    forward things along to other people that     2   it and --
  3    have shared common experiences and common     3   Q. You said -- sorry.
  4    people? So in other words, if you're in       4   A. My main concern was just for my
  5    your school and there's an article about      5   family anyway, the safety of my family.
  6    someone else in the school, don't people      6   Q. Did anybody threaten the safety of
  7    just forward it along?                        7   your family?
  8              MR. COCKRELL: Object to the         8   A. Yeah, there were threats on
  9    form.                                         9   Facebook, you know, that --
 10              Go ahead.                          10   Q. There were no threats in the
 11    A. I guess they could.                       11   BuzzFeed article; right?
 12    Q. (By Ms. Bolger) Sure. So you              12   A. Not the written article, no.
 13    don't actually have a reason to believe      13   Q. Who said heads should roll?
 14    that sharing it meant believing it other     14   A. His name is Jimmy Adams. He is my
 15    than your own personal belief; right?        15   -- let's see if I can describe it to you.
 16              MR. COCKRELL: Object to the        16   My wife's sister is married to his son.
 17    form.                                        17   Q. Have you ever spoken to Mr. Adams
 18    A. Right, other than, you know, like         18   about it?
 19    I was mentioning, you know, people saying    19   A. I didn't.
 20    heads should roll. You know, the guy that    20   Q. Did anybody you know speak to
 21    I'm talking about saying that, and, you      21   Mr. Adams about it?
 22    know, it's friends of friends that share     22   A. Not to my knowledge.
 23    it and, you know, it got to the point, you   23   Q. Do you have -- did you keep in any


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  1    way records of the threats on Facebook?       1   was wanting us to go to prison. You know,
  2    Did you print them, write down names, do      2   I know Josh had some that something to the
  3    anything like that?                           3   effect they should burn in hell.
  4    A. I haven't. The threats I've never          4   Q. Those aren't -- those aren't
  5    screen shot or anything like that, just --    5   threats, right? Those are people saying
  6    I don't know if it's ever -- I don't          6   bad things, but no one was threatening to
  7    remember ever saving any.                     7   kill you or hurt you or hurt your family;
  8    Q. Do you know the names of anybody           8   right?
  9    who made these threats?                       9   A. Well, I perceived it that way as a
 10    A. No. For the most part, the                10   threat.
 11    threats came from people that I didn't       11   Q. Are these still available on
 12    know.                                        12   Facebook somewhere?
 13    Q. Any of them come from people you          13   A. I don't know.
 14    did know?                                    14   Q. Where are they on Facebook if I
 15    A. Not that I'm aware of.                    15   want to go look at them?
 16    Q. Do you know any of the threats,           16   A. I don't know if they're still
 17    people who made them threats were, for       17   attached to the story. I don't know.
 18    example, real people?                        18   Q. Sorry. You're saying they were
 19    A. I don't know.                             19   attached to the story on Facebook?
 20    Q. What kind of threats were they?           20   A. That's -- I believe. There again,
 21    A. Well, it was mainly just, you             21   I'm not -- I'm not up to speed on social
 22    know, there were some that they wished       22   media, but I believe it was underneath
 23    that we were dead, you know. The majority    23   where the article was -- and it could be

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  1    the article was shared to somebody and        1   they -- I believe if they share it, they
  2    there were threats underneath somebody        2   believe it. I mean, my aunt was one of
  3    that shared it, I don't know if it was        3   them that shared it, you know, to my
  4    under the actual -- if BuzzFeed has got a     4   knowledge --
  5    Facebook page, I don't know that, but if      5   Q. I'm sorry, did you say your aunt
  6    do, I don't know if the comments were         6   shared it?
  7    under their Facebook page under that          7   A. Yes.
  8    article, I don't know. I couldn't say         8   Q. I couldn't hear you. Okay. Have
  9    where it's at.                                9   you ever talked to your aunt about it?
 10    Q. Have you seen them recently?              10   A. No.
 11    A. I haven't looked.                         11   Q. What's your aunt's name?
 12    Q. Can you name anybody who made a           12   A. Susan Jones.
 13    threat on the Facebook page?                 13   Q. Do you know if Ms. Jones believes
 14    A. It's nobody that I know.                  14   the article is true?
 15    Q. Other than threats on the Facebook        15   A. There again, if she shared it, I
 16    page, have you heard other -- have you had   16   believe that she thinks that it's true.
 17    other communications or read anything else   17   Q. Is the only basis you have for her
 18    about the article?                           18   thinking it's true that she shared the
 19    A. Not that I remember.                      19   article?
 20    Q. Do you personally know anybody who        20   A. Yes.
 21    believed what you allege to be falsities     21   Q. But you never talked to her about
 22    in the article?                              22   it?
 23    A. Well, there again, I believe if           23   A. No.


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Adam Jones                                                                           12/7/2020
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  1    Q. Anybody else that you know                 1   the article?
  2    personally who believes the article is        2   A. My wife's aunt shared it. I don't
  3    true you think?                               3   believe she made any comments about it but
  4    A. Well, Jimmy Adams, you know, just          4   she shared it.
  5    specifics.                                    5   Q. Who is that?
  6    Q. Jimmy Adams who is your wife's             6   A. Cynthia Booth.
  7    sister's son's husband -- no --               7   Q. And what basis do you have for
  8    A. It would be my brother-in-law's            8   believing that she believed the article
  9    dad.                                          9   rather than just shared the article?
 10    Q. Brother-in-law's dad. Okay. Have          10   A. That's all I have.
 11    you ever spoken to him about it?             11   Q. Anything else?
 12    A. No.                                       12   A. I think she made comments, but I
 13    Q. And how do you know he believes           13   don't know them to say it because I would
 14    it?                                          14   be speculating if I said it, so I don't
 15    A. Well, you know, he makes the              15   remember exactly what she said. She did
 16    comment heads should roll, you know, and I   16   make comments about the article.
 17    don't know how else to take that other       17   Q. To who?
 18    than he believes it.                         18   A. On Facebook.
 19    Q. Have you ever talked to your              19   Q. But you just said she didn't make
 20    brother-in-law about it?                     20   a comment.
 21    A. No.                                       21   A. Well, I'm sorry. As far as
 22    Q. Anybody else that you personally          22   when --
 23    know who believes the alleged falsities in   23             MR. COCKRELL: Object to the

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  1    form.                                         1   A.     I'm not for sure on that. I'm
  2              Go ahead.                           2   assuming that's her Facebook page also is
  3    A. As far as when she shared it there         3   where my wife saw it because she was
  4    was no -- there was no heading or whatever    4   friends with her on Facebook when this
  5    you want to call it with the article that     5   happened.
  6    it was shared. It was under comments of       6   Q.     So you know about Cynthia Booth
  7    what she had shared. I don't know if she      7   sharing the article and maybe making
  8    got into it with somebody.                    8   comments because your wife told you that
  9          There again, I don't remember but       9   she had seen it?
 10    according to my wife the way she was         10   A.     Yes, she showed it to me. I just
 11    responding to these people she believed      11   don't remember the exact comments, but my
 12    the article.                                 12   wife was telling me that based on the way
 13    Q. (By Ms. Bolger) Where is the heads        13   she was responding and commenting on that,
 14    should roll comment? Where would I find      14   that she believed it.
 15    that if I wanted to find it?                 15   Q.     Not that your wife believed it --
 16    A. I guess it would probably be on           16   A.     Yes.
 17    his Facebook page, Jimmy Adams' Facebook     17             COURT REPORTER: I'm sorry,
 18    page.                                        18   say that again, Kate.
 19    Q. So it's not on the BuzzFeed page?         19             MS. BOLGER: I was just
 20    It's on the Jimmy Adams Facebook page?       20   clarifying who the she was. So I said not
 21    A. When he shared the article, yes.          21   that his wife believed it but that Cynthia
 22    Q. How about Cynthia Booth's comments        22   Booth believed it.
 23    where would I find those?                    23   Q.     Anybody else?


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  1    A. Not anybody right -- well, hang            1   A. Well, was never you know --
  2    on. Trying to think. I know there were        2   everybody would just sort of sit in groups
  3    some more -- I know there was a -- my         3   up until this, and then after this came
  4    son's football coach, his wife was on         4   out they just sort of went their own way.
  5    Facebook and she was making comments.         5   Q. So you're just making the
  6    There again, I don't know if it was on her    6   assumption?
  7    page, somebody that shared the article's      7   A. Yes.
  8    page, but the comments that she was           8   Q. Anybody else you know that
  9    making, there again, according to my wife,    9   believed the -- what you claim are the
 10    she believed it.                             10   false allegations in the article?
 11         And then he was my son's coach,         11   A. It would be my cousin, Jill
 12    you know, in baseball and football, and,     12   Slayton, I don't know -- I can't think of
 13    you know, they just sort of -- after this    13   any comments that she made, but she was
 14    came out they just sort of separated         14   another one that -- comments on Facebook
 15    theirselves from us, didn't speak or         15   that she made.
 16    anything.                                    16        She approached my daughter at her
 17    Q. Did you have a social relationship        17   job and was confronting her about it
 18    with them before the article came out?       18   saying, you know, something to the effect
 19    A. Nothing other than just with our          19   of what did your dad do, this girl didn't
 20    children.                                    20   commit suicide for no reason, and what do
 21    Q. Okay. Do you know that they               21   you think about it, so it upset my
 22    separated themselves because of the          22   daughter and she walked off to the back
 23    article or are you making assumptions?       23   and, you know, just to try to avoid it.

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  1    Q. Did she say she believed that              1   either share it or comment, we've just
  2    article or was just asking your daughter      2   distanced ourselves from it, because I
  3    questions about the article?                  3   mean it's not going to do any good to
  4    A. She didn't make the statement I            4   confront anybody about it. It's, you
  5    believe the article, no.                      5   know, they're going to believe what
  6    Q. Okay. I was just wondering what            6   they're going to believe anyway, so.
  7    she said to your daughter. I'm truly          7   Q. Anybody else you know who believed
  8    trying to know as much as I can,              8   the article personally?
  9    Investigator Jones. I'm absolutely            9   A. Not -- not right now. I can't
 10    asking. My point was was she asking your     10   think of anything.
 11    daughter questions about the article or      11   Q. Did you lose any personal
 12    saying I can't believe your father did XY    12   relationships as a result of the article?
 13    and Z?                                       13   A. Well, as far as, you know, just
 14    A. To my knowledge the way my                14   these people that were making comments, it
 15    daughter explained it to me, that's the      15   wasn't close personal relationships, but,
 16    way it was. You know, your dad -- they       16   you know, we would see them from time to
 17    must have done something, I believe is the   17   time and, you know, we just sort of
 18    way she put it. That girl wouldn't have      18   separated ourselves and just didn't want
 19    committed suicide for no reason. The gist    19   to -- didn't want to have to rehash it
 20    is what she told me.                         20   again.
 21    Q. And have you ever spoken to her,          21   Q. Do you know anybody who thinks
 22    to Jill Slayton about that?                  22   less of you because of the article?
 23    A. No, we've just -- the people that         23   A. No.


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  1    Q. Did you ever talk about the                1         But, you know, seeing these
  2    article with Chief Waid?                      2   comments on Facebook, and there again,
  3    A. No.                                        3   it's the unknown that's out there. There
  4    Q. Did you ever talk about the                4   are a bunch of radical people that's out
  5    Rondini investigation with Chief Waid?        5   there that, you know, they'll, you know,
  6    A. No.                                        6   do whatever to, you know, if they think
  7    Q. What about Chief Baker?                    7   they're avenging somebody in some way.
  8    A. No.                                        8         I had a lady come in, her daughter
  9    Q. I think I've asked you this                9   had filed a sexual assault report, and
 10    already and I apologize if I did. Did you    10   this is more on a professional or work
 11    ever talk to Sheriff Abernathy about it?     11   related, but she was worried that her
 12    A. No.                                       12   daughter was going to end up committing
 13    Q. Other than what we've talked              13   suicide because of the way that this
 14    about, how would you say you were damaged    14   article portrayed our office and Josh and
 15    by the publication of these articles?        15   I.
 16    A. It's just the way you have to             16         And I let her know, she didn't
 17    change your life and it shouldn't have to    17   even realize it at that time, or I won't
 18    happen that way because I mean being in      18   say that she didn't realize it. I told
 19    police work you're dealing with dangerous    19   her that I was the lead investigator in
 20    people anyway, and you always tell your      20   the case that she's talking about.
 21    kids to just look out, you know, watch       21         And, you know, you just feel like
 22    your surroundings, you know, stuff like      22   when you're getting questioned like that
 23    that.                                        23   from victims or their family that come in

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  1    you've lost the trust of the public.          1   like I was cast in a negative light and --
  2    That, you know, I don't know the victims.     2   Q. Just so I understand, the lady who
  3    You know, they know me, you know, because     3   came to talk to you worried that her
  4    we're in a small department and they can      4   daughter would commit suicide, she had
  5    look my name up online at the sheriff's       5   read the article but she didn't know you
  6    office or could look it up online at the      6   were involved in the Rondini
  7    sheriff's office, see that I worked there     7   investigation, you told her that?
  8    and it was more of how I was perceived by     8             MR. COCKRELL: Object to the
  9    victims and, you know, possible               9   form.
 10    prosecution of cases in the future because   10             Go ahead.
 11    of the way I was portrayed, you know,        11   A. Yeah, I didn't know --
 12    victims, at least two that I know of, I      12   Q. (By Ms. Bolger) -- sorry, say that
 13    don't know that there was ever anybody       13   again.
 14    else that may have contacted a supervisor.   14   A. I just didn't know if she realized
 15          They didn't tell me if they had,       15   that it was me. She just said something
 16    but that was on two occasions that they      16   to the effect of I don't want my daughter
 17    asked me or insinuated that they didn't      17   to end up committing suicide like that
 18    want me to work their case.                  18   girl did from that article.
 19         And, you know, yes, I love the job      19        And I just told her that I was the
 20    that I did, but at the end of the day it     20   lead investigator in that case and I'm
 21    is providing for my family, and, you know,   21   going to do everything I can to take care
 22    I felt like it was going to affect me,       22   of your daughter.
 23    because there again, I was just -- I felt    23   Q. And did you investigate that case?


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  1    A. Her daughter never came in again           1   having issues sleeping. She just I think
  2    after her mother came up there.               2   she was -- she got so involved in just
  3    Q. Are there any other ways you feel          3   reading all these comments, comment after
  4    that you've been damaged by the               4   comment, and I finally just had to tell
  5    publication of the article?                   5   her to stop. She was just -- she couldn't
  6    A. Just, you know, my family just             6   sleep and, you know, ultimately she has
  7    having to change the way we do things.        7   some anxiety from it, you know, because
  8    You know, from that -- the time that that     8   she's worried about what it's going to do
  9    article came out, you know, you just sort     9   to me and then I'm worried about how it's
 10    of go into defense mode and we called our    10   affecting her, and, you know, we don't --
 11    kids in there to let them know, you know,    11   I didn't go out and lamblast anybody that
 12    what was going on, and, you know, of         12   was making comments about it and I didn't
 13    course, they were on social media and they   13   confront anybody about it because, you
 14    were reading these comments.                 14   know, it's not going to do any good, so we
 15         And, you know, my son he's              15   just stayed to ourself and I mean just
 16    12 years old and, you know, he's reading     16   sort of withdrew from everything.
 17    this stuff and thinking that I'm going to    17   Q.     What was the name of the woman who
 18    lose my job and so he's looking on, you      18   came to talk to you about her daughter and
 19    know, on the internet or trying to find      19   said she was afraid her daughter was going
 20    some way that me and him could work, you     20   to commit suicide?
 21    know, to make money if I end up -- if I      21   A.     I don't remember her name. I just
 22    end up getting fired.                        22   remember, you know, that specifically,
 23         And, you know, my daughter she was      23   that she was worried that that was going

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  1    to happen to her daughter.                    1   right? She was reading comments on
  2    Q.     Do you remember the name of the        2   Facebook?
  3    person who Captain Hart told you didn't       3   A. Yes.
  4    want you investigating the case?              4   Q. Any other damages you claim to
  5    A.     I don't remember that either.          5   have suffered as a result of the
  6    Like I say, I didn't have anything, of        6   publication of the article?
  7    course, I wouldn't have wrote it down, but    7   A. Just, you know, physically I never
  8    I was sitting on the beach. You know, he      8   had any kind of physical issues health
  9    just called and was telling me that and I     9   related at all and when that came out it
 10    don't remember a name.                       10   was just -- it was a couple of weeks I was
 11    Q.     Did any victim or any family of a     11   having headaches, chest pain, dizziness,
 12    victim tell you they didn't trust you?       12   reflux.
 13    A.     No.                                   13        I was having all of these symptoms
 14    Q.     Anyone in your department tell you    14   and it wasn't going away. I had never had
 15    hey, you've lost the trust of the public?    15   anything like that before. I was telling
 16    A.     No.                                   16   my wife. She works at a doctor's office.
 17    Q.     How many Facebook comments would      17   She does billing. She's not in the, you
 18    you say there were about this?               18   know, health care -- hands-on health care
 19    A.     I would say hundreds. I don't         19   but she does the billing.
 20    have a -- I would say hundreds.              20        And she got me an appointment with
 21    Q.     When you say your daughter was        21   Dr. McEntyre. She does work with him.
 22    sitting around reading comments, she         22   And he diagnosed me with high blood
 23    wasn't reading the BuzzFeed article;         23   pressure, and I had to go on two different


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  1    kinds of medication for blood pressure,       1        as Defendant's Exhibit No. 36 and
  2    for acid reflux, and I actually had to        2        is attached to the original
  3    start taking some, which it was just like     3        transcript.)
  4    a supplement, melatonin to try to help me     4   Q. Investigator Jones, for the record
  5    sleep.                                        5   these are medical records which were
  6          That never worked as far as the         6   produced to us actually just last week
  7    sleeping goes, so I started drinking, and     7   from your lawyers and they appear to be
  8    I've never been one to drink at all, but,     8   medical records of some fairly recent
  9    you know, I was just trying to find a way     9   trips to the doctor.
 10    to sleep and so I started drinking.          10        You're welcome to check me on this
 11    Q.      Are you still drinking?              11   but none of these pre-date 2017. Had you
 12    A.      Not daily.                           12   not been to the doctor before 2017?
 13    Q.      I'm sorry, I didn't hear you.        13   A. I really had no reason to go to
 14    A.      Not daily.                           14   the doctor. I never had any health
 15    Q.      So do you feel like you're doing     15   issues.
 16    better?                                      16   Q. So you weren't under the regular
 17    A.      Yes.                                 17   care of a doctor that you went to like
 18               MS. BOLGER: J. T., would          18   annual checkups with before 2017?
 19    you mind handing the witness AX, which are   19   A. No.
 20    the medical records that were produced?      20   Q. So you're telling me there's no
 21    It's kind on a thick packet.                 21   baseline I can compare these medical
 22               (Off the record.)                 22   records to; right?
 23          (Whereupon, a document was marked      23   A. No.

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  1    Q. Are you still going to the doctor?         1   you know, we assist victims or obtain
  2    A. Just for, you know, yearly                 2   warrants and, you know, we swear officers
  3    checkups right now.                           3   in to the traffic citations or any arrest
  4    Q. Has your high blood pressure               4   that they make.
  5    gotten better?                                5        And the lady that was over the
  6    A. It's under control with                    6   court system, and I don't remember her
  7    medication.                                   7   name, but she made the comment of, you
  8    Q. Any other form of damages that you         8   know, we typically believe our victims
  9    suffered as a result of the article?          9   here, something to that effect, and, you
 10    A. When I -- excuse me. I know there         10   know, I automatically thought that this
 11    was an occasion when I was, you know, I      11   is, you know, still due to this article,
 12    just -- I felt like I had lost the public    12   you know, three years later and ultimately
 13    trust, you know, and I knew as soon as my    13   didn't get the job.
 14    20-year mark came I was going to look at     14   Q. Did she tell you it was because of
 15    going ahead to retire, and I had applied     15   the article?
 16    for a position in Northport and that's in    16   A. She didn't tell me that. That's
 17    Tuscaloosa County.                           17   just what -- that's what came to my mind.
 18         It was a magistrate position.           18   Q. Did the doctor tell you that the
 19    It's my understanding that I was in the      19   hypertension and the sleep problems were
 20    top four candidates for the position.        20   caused by the article or by stress?
 21    When I did go for the interview, you know,   21   A. I believe it was stress that he
 22    they asked me what I thought the role of a   22   said that it was related to.
 23    magistrate was and I explained to them,      23   Q. Did he mention anything about the


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  1    article?                                      1   Q. This is your moment, Investigator
  2    A. I did mention it to him.                   2   Jones. In good faith I want to know how
  3    Q. Did he tell you he thought that            3   you feel you were damaged by the article,
  4    was the cause of your illness?                4   so feel free to tell me anything that you
  5    A. He said it was a factor. It was            5   feel.
  6    definitely a factor in it.                    6   A. You know, I just -- I really feel
  7    Q. Were there other factors?                  7   like it was my name more than anything.
  8    A. Not that I remember him                    8   You know, my family has been in law
  9    mentioning.                                   9   enforcement for -- since the 1940s, and
 10    Q. Did anyone anywhere ever tell you         10   it's been my granddad, my uncle, and then
 11    that you lost the public's trust as a        11   it was me and we all sort of overlapped
 12    result of the article?                       12   each other. We all worked for the
 13    A. No.                                       13   Tuscaloosa Police Department.
 14    Q. And when you didn't get the job as        14         You know, I've always took pride
 15    a magistrate, did anyone ever tell you       15   in my job. It's all I've ever wanted to
 16    that was because of the article?             16   do. I just feel like my name has been
 17    A. No.                                       17   tarnished because of this article, you
 18    Q. Who did get that job?                     18   know.
 19    A. I don't know.                             19         You know, that's the only case out
 20    Q. Were there any other damages you          20   of my career that's going to be
 21    suffered as a result of the publication of   21   remembered. You know, out of 20 years
 22    the article?                                 22   that's going to be it. And it's not -- I
 23    A. Not to speak of right now.                23   am not a vain person. I'm as unpolitical,

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  1    anti-spotlight as anybody.                    1        I mean, I think I said it at the
  2         We have these perp walks is what         2   beginning that I've got a good family
  3    they would call them. When we would have      3   name. It was given to me in good standing
  4    a suspect they would walk them down the       4   and I want to carry it -- carry it on that
  5    steps there at the homicide office. I         5   way, but I feel like it was tarnished
  6    didn't care anything about even if it was     6   because of this, and I just -- I don't
  7    my case, I would let some of them other       7   want my son primarily since he will carry
  8    guys do that. As long as, you know, as        8   our name on, that I don't want him to have
  9    long as the job was done, that's all that     9   to suffer for the way that I was portrayed
 10    mattered to me. You know, I'm not a bad      10   in this. I just -- I don't think it was
 11    guy. You know, I feel like that's the way    11   right.
 12    we were portrayed. I care about people.      12   Q. Anything else?
 13          You know, I hate that it happened      13   A. No, ma'am.
 14    to that family. You know, I hate she took    14   Q. Okay. Did you ever consult with a
 15    her life, but, you know, I'm just -- you     15   lawyer name Leila Watson?
 16    know, after I die, you know, eventually      16   A. No.
 17    one day I will, but my name is going to      17   Q. In your document production you
 18    live on and it's one of those things that,   18   produced a web page for Leila Watson with
 19    you know, you can't put a price tag on it    19   a handwritten note that says this attorney
 20    and you don't ever want to have anybody      20   was given the original file. Do you
 21    even assume that you would compromise your   21   understand what that means?
 22    integrity or your name, your family name,    22   A. I don't know if that attorney may
 23    just because somebody's got some money.      23   have subpoenaed the file. I don't know.


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  1    I don't remember that name.                  1   Tuscaloosa Police Department?
  2    Q. Are you aware that Tuscaloosa News        2   A. No, I was gone when she came.
  3    published an article about the Rondini       3   Q. Do you know how she got the files
  4    investigation?                               4   from the Rondini case to write about?
  5    A. Yes.                                      5   A. I believe she subpoenaed it.
  6    Q. Was that -- who was it written by?        6   Q. Are you aware that T. J. Bunn and
  7    A. Who was it written by?                    7   his counsel took out a full page ad in the
  8    Q. Yes.                                      8   Tuscaloosa News about Megan Rondini?
  9    A. Stephanie Taylor.                         9   A. I vaguely remember it. I couldn't
 10    Q. Do you know Stephanie Taylor?            10   tell you what it said.
 11    A. Just in passing, nothing on a            11   Q. What did you think about it, do
 12    personal level.                             12   you remember?
 13    Q. Did you at any point talk to             13   A. I don't remember the specifics of
 14    Stephanie Taylor in her drafting of that    14   what was said.
 15    article?                                    15   Q. I know you don't remember the
 16    A. No.                                      16   specifics of what was said. I'm asking
 17    Q. Not even off the record?                 17   what your reaction to it was.
 18    A. No.                                      18   A. I didn't really have any reaction
 19    Q. Do you know that Ms. Taylor              19   to it one way or another, I mean.
 20    currently works for the Tuscaloosa Police   20   Q. Well, you've been telling me how
 21    Department?                                 21   upsetting this article was, so I'm
 22    A. I had heard that, yes.                   22   assuming you react pretty strongly to
 23    Q. Did you two overlap at the               23   things related to the Rondini

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  1    investigation. You're telling me you had     1   Q. And it starts out a civil lawsuit
  2    no real reaction to this full page ad        2   has been filed by a group of trial lawyers
  3    taken out --                                 3   seeking financial compensation for the
  4    A. Well, I'm just saying that I don't        4   suicide of a young woman from Texas. The
  5    remember what it was concerning, I mean,     5   lawsuit names representatives of the
  6    as far as what was written on that page,     6   University of Alabama, deputies of the
  7    you know.                                    7   Tuscaloosa County Sheriff's Office, the
  8    Q. Okay.                                     8   sheriff of Tuscaloosa County, and
  9              MS. BOLGER: J. T., can you         9   T. J. Bunn as defendants. Do you see
 10    show the witness AH? And this was marked    10   that?
 11    already.                                    11   A. Yes.
 12              (Off the record.)                 12   Q. And then it goes on. Was a
 13         (Whereupon, a document that was        13   lawsuit filed by trial lawyers or was the
 14         previously marked as Defendant's       14   lawsuit filed by Megan's parents?
 15         Exhibit No. 17 was referenced and      15   A. It was my understanding it was her
 16         is attached to the original            16   parents.
 17         transcript.)                           17   Q. And it goes on, and you can feel
 18    Q. For the record, this is an               18   free to read it, but it goes on to say
 19    advertisement that was taken out in the     19   some disparaging things about Megan. Do
 20    Tuscaloosa News dated July 27th, 2017.      20   you -- did you have any reaction to this?
 21    This is after Megan Rondini was dead;       21   A. I'm just reading it. Sorry.
 22    right?                                      22   Okay.
 23    A. Yes.                                     23             (Off the record.)


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  1    Q. Do you remember reading this              1   take literally five minutes? In that time
  2    article?                                     2   could you guys -- why don't we go off the
  3    A. I don't know that I even read it          3   record and take a five-minute break.
  4    all the way through when it came out.        4             VIDEOGRAPHER: We're off the
  5    Q. But Megan was dead, right, when           5   record at 5:26 p m.
  6    they wrote this article?                     6             (Recess was taken.)
  7    A. Yes.                                      7             VIDEOGRAPHER: We're back on
  8    Q. But they're still about talking           8   the record at 5:35 p m.
  9    her private photos and her text messages     9   Q. Investigator Jones, generally, and
 10    --                                          10   I'm not asking you specifically in this
 11    A. You know, I do remember -- it's          11   case. Generally, I think you testified
 12    not doing anybody any good to print         12   earlier that generally felony packets as
 13    something like this. I mean, she died in    13   in the piece of paper, the felony packet,
 14    a tragic way. Her parents are, you know,    14   does not get handed to grand juries for
 15    missing their daughter obviously and I      15   them to review; is that correct?
 16    mean there's no -- I mean I don't think     16   A. That is my understanding of it.
 17    there's any sense in printing it.           17   It's given to the assistant district
 18         I mean that's my personal opinion      18   attorney that's over the grand jury. I
 19    about it. You know, I'm more of a person    19   don't know if they make copies for each
 20    that withholds a lot of stuff. I wouldn't   20   grand juror, but it's my understanding
 21    go out and just attack, that's just me.     21   that they do not because there's -- it
 22    Q. All right.                               22   would be a mass volume of paper if they
 23             MS. BOLGER: Why don't we           23   did that.

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  1    Q. Okay. And that's based on your            1             CERTIFICATE
  2    understanding as someone who's testified     2   STATE OF ALABAMA )
  3    generally in grand juries; right?            3   TUSCALOOSA COUNTY )
  4    A. Yes, yes.                                 4       I hereby certify that the above and
  5    Q. Okay.                                     5   foregoing proceedings were taken down by
  6              MS. BOLGER: Subject to the         6   me in stenotype, and the questions and
  7    fact that we have to leave open further      7   answers thereto were reduced in transcript
  8    discussions about the grand jury for         8   form by computer-aided transcript under my
  9    another day, I have no further questions     9   supervision, and that the foregoing
 10    for the day.                                10   represents a true and correct transcript
 11              MR. COCKRELL: Okay. Start         11   of the proceedings occurring on said date
 12    tomorrow at 9:00?                           12   at said time.
 13              MR. THOMPSON: Tomorrow            13       I further certify that I am neither
 14    morning at 9:00, Kate?                      14   of counsel nor of kin to the parties to
 15              MS. BOLGER: Yes, if that's        15   the action, nor am I anywise interested in
 16    all right with you guys.                    16   the results of said cause.
 17              VIDEOGRAPHER: Off the             17   Signed December 7, 2020.
 18    record at 5:36 p.m.                         18
 19                                                19   /s/ Nancy Pannell, CCR
 20          [The deposition was concluded at      20   NANCY PANNELL, CCR
 21    5:36 p m., and further deponent saith       21   Alabama CCR No. 30, Expires 9/30/2021
 22    not.]                                       22   Commissioner for the State of Alabama at
 23                                                23   Large, Commission expires 07/17/2021


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